Case 2:20-cv-03887-JAK-KS Document 1-1 Filed 04/28/20 Page 1 of 105 Page ID #:7




                        EXHIBIT A


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Electronically FILED by Superior Court of California, County of Los Angeles on 04/03/2020 05:25 PM Sherri R. Carter, Executive Officer/Clerk of Court, by C. Monroe,Deputy CM-010
                                                                                       20STCV13294                                                                         Clerk
                    Case 2:20-cv-03887-JAK-KS Document 1-1 Filed 04/28/20 Page 2 of 105 Page ID #:8
           ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                          FOR COURT USE ONLY
             Gabriel G. Green, Esq. (SBN 222445) Gordon C. Stuart, Esq. (SBN 294321)
             BUCHALTER, APC
             1000 Wilshire Boulevard, Suite 1500
             Los Angeles, CA 90017
                 TELEPHONE NO.: (213) 891-0700           FAX NO.: (213) 896-0400

           ATTORNEY FOR (Name): Plantiff, PACIFIC COLLECTIVE, LLC

          SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
               STREET ADDRESS: 111 North Hill Street

              MAILING ADDRESS: (same)

              CITY AND ZIP CODE: Los Angeles, CA 90012

                  BRANCH NAME: Central (Stanley Mosk)

            CASE NAME: PACIFIC COLLECTIVE, LLC v. EXXONMOBIL OIL CORPORATION

                                                                                                   CASE NUMBER:
                   CIVIL CASE COVER SHEET                      Complex Case Designation
                   Unlimited         Limited
                                                                 Counter             Joinder
                   (Amount           (Amount                                                        JUDGE:
                   demanded          demanded is          Filed with first appearance by defendant
                   exceeds $25,000)  $25,000 or less)         (Cal. Rules of Court, rule 3.402)      DEPT:

                                           Items 1–6 below must be completed (see instructions on page 2).
          1. Check one box below for the case type that best describes this case:
              Auto Tort                                              Contract                                       Provisionally Complex Civil Litigation
                    Auto (22)                                              Breach of contract/warranty (06)         (Cal. Rules of Court, rules 3.400–3.403)
                    Uninsured motorist (46)                                Rule 3.740 collections (09)                     Antitrust/Trade regulation (03)
              Other PI/PD/WD (Personal Injury/Property                     Other collections (09)                          Construction defect (10)
              Damage/Wrongful Death) Tort                                  Insurance coverage (18)                         Mass tort (40)
                    Asbestos (04)                                          Other contract (37)                            Securities litigation (28)
                    Product liability (24)                           Real Property                                        Environmental/Toxic tort (30)
                    Medical malpractice (45)                               Eminent domain/Inverse                         Insurance coverage claims arising from the
                    Other PI/PD/WD (23)                                    condemnation (14)                              above listed provisionally complex case
              Non-PI/PD/WD (Other) Tort                                    Wrongful eviction (33)                         types (41)
                    Business tort/unfair business practice (07)                                                     Enforcement of Judgment
                                                                           Other real property (26)
                                                                     Unlawful Detainer                                    Enforcement of judgment (20)
                    Civil rights (08)
                                                                           Commercial (31)                          Miscellaneous Civil Complaint
                    Defamation (13)
                                                                           Residential (32)                               RICO (27)
                    Fraud (16)
                                                                           Drugs (38)                                     Other complaint (not specified above) (42)
                    Intellectual property (19)
                                                                     Judicial Review                                Miscellaneous Civil Petition
                    Professional negligence (25)
                                                                           Asset forfeiture (05)                          Partnership and corporate governance (21)
                    Other non-PI/PD/WD tort (35)
                                                                           Petition re: arbitration award (11)            Other petition (not specified above) (43)
              Employment
                    wrongful termination (36)                              Writ of mandate (02)
                    Other employment (15)                                  Other judicial review (39)
          2. This case         is        is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
             factors requiring exceptional judicial management:
             a.        Large number of separately represented parties d.           Large number of witnesses
             b.        Extensive motion practice raising difficult or novel e.     Coordination with related actions pending in one or more courts
                       issues that will be time-consuming to resolve               in other counties, states, or countries, or in a federal court
             c.        Substantial amount of documentary evidence           f.     Substantial postjudgment judicial supervision
          3. Remedies sought (check all that apply): a.        monetary b.     nonmonetary; declaratory or injunctive relief       c.    punitive
          4. Number of causes of action (specify): 3 (1-Breach of Written Contract; 2-Special Performance; 3-Declaratory Relief)
          5. This case         is      is not a class action suit.
          6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
          Date: April 3, 2020
          Gabriel G. Green                                                                         
                                             (TYPE OR PRINT NAME)                                                 (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)

                                                                                NOTICE
             Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
              under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
              in sanctions.
             File this cover sheet in addition to any cover sheet required by local court rule.
             If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
              other parties to the action or proceeding.
             Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                                Page 1 of 2

          Form Adopted for Mandatory Use
            Judicial Council of California                            CIVIL CASE COVER SHEET                                      Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
                                                                                                                                          Cal. Standards of Judicial Administration, std. 3.10
             CM-010 [Rev. July 1, 2007]                                                                                                                                 www.courtinfo.ca.gov

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                                                                                        CM-010
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                                      INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must complete
and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile statistics
about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check one box for
the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1, check the
more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action. To assist you
in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover sheet must be
filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party, its counsel, or
both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of attachment.
The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections case
will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the case
is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by completing
the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the complaint
on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the plaintiff's
designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that the case
is complex.
                                                           CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)–Personal Injury/Property             Breach of Contract/Warranty (06)                Rules of Court Rules 3.400–3.403)
           Damage/Wrongful Death                          Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                          Contract (not unlawful detainer            Construction Defect (10)
           case involves an uninsured                             or wrongful eviction)                  Claims Involving Mass Tort (40)
           motorist claim subject to                     Contract/Warranty Breach–Seller                 Securities Litigation (28)
           arbitration, check this item                       Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
           instead of Auto)                              Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                              Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                   case type listed above) (41)
Tort                                                Collections (e.g., money owed, open              Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09)                             Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case–Seller Plaintiff                    Abstract of Judgment (Out of
          Asbestos Personal Injury/                      Other Promissory Note/Collections                        County)
                Wrongful Death                               Case                                            Confession of Judgment (non-
     Product Liability (not asbestos or             Insurance Coverage (not provisionally                         domestic relations)
            toxic/environmental) (24)                    complex) (18)                                       Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice–                           Other Coverage                                           (not unpaid taxes)
                 Physicians & Surgeons              Other Contract (37)                                      Petition/Certification of Entry of
          Other Professional Health Care                 Contractual Fraud                                        Judgment on Unpaid Taxes
                Malpractice                              Other Contract Dispute                              Other Enforcement of Judgment
     Other PI/PD/WD (23)                         Real Property                                                    Case
          Premises Liability (e.g., slip            Eminent Domain/Inverse                           Miscellaneous Civil Complaint
          and fall)                                      Condemnation (14)                               RICO (27)
          Intentional Bodily Injury/PD/WD           Wrongful Eviction (33)                               Other Complaint (not specified
                (e.g., assault, vandalism)          Other Real Property (e.g., quiet title) (26)             above) (42)
          Intentional Infliction of                      Writ of Possession of Real Property                 Declaratory Relief Only
                Emotional Distress                       Mortgage Foreclosure                                Injunctive Relief Only (non-
          Negligent Infliction of                        Quiet Title                                              harassment)
                Emotional Distress                       Other Real Property (not eminent                    Mechanics Lien
          Other PI/PD/WD                                 domain, landlord/tenant, or                         Other Commercial Complaint
Non-PI/PD/WD (Other) Tort                                foreclosure)                                             Case (non-tort/non-complex)
     Business Tort/Unfair Business               Unlawful Detainer                                           Other Civil Complaint
        Practice (07)                               Commercial (31)                                               (non-tort/non-complex)
     Civil Rights (e.g., discrimination,            Residential (32)                                 Miscellaneous Civil Petition
        false arrest) (not civil                    Drugs (38) (if the case involves illegal             Partnership and Corporate
        harassment) (08)                                 drugs, check this item; otherwise,                   Governance (21)
     Defamation (e.g., slander, libel)                   report as Commercial or Residential)            Other Petition (not specified
        (13)                                     Judicial Review                                             above) (43)
     Fraud (16)                                     Asset Forfeiture (05)                                    Civil Harassment
     Intellectual Property (19)                     Petition Re: Arbitration Award (11)                      Workplace Violence
     Professional Negligence (25)                   Writ of Mandate (02)                                     Elder/Dependent Adult
        Legal Malpractice                                Writ–Administrative Mandamus                             Abuse
        Other Professional Malpractice                   Writ–Mandamus on Limited Court                      Election Contest
             (not medical or legal)                          Case Matter                                     Petition for Name Change
      Other Non-PI/PD/WD Tort (35)                       Writ–Other Limited Court Case                       Petition for Relief From Late
Employment                                                   Review                                               Claim
     Wrongful Termination (36) Other                Other Judicial Review (39)                               Other Civil Petition
        Employment (15)                                  Review of Health Officer Order
                                                         Notice of Appeal–Labor
                                                             Commissioner Appeals
CM-010 [Rev. July 1, 2007]                         CIVIL CASE COVER SHEET                                                                  Page 2 of 2



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                                                                                                                              www.FormsWorkflow.com
                                                                   Case 2:20-cv-03887-JAK-KS Document 1-1 Filed 04/28/20 Page 4 of 105 Page ID #:10
 SHORT TITLE:                                                                                                                                             CASE NUMBER
 PACIFIC COLLECTIVE, LLC v. EXXONMOBIL OIL CORPORATION


                                                                                    CIVIL CASE COVER SHEET ADDENDUM AND
                                                                                            STATEMENT OF LOCATION
                                                                     (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                                                                    This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




                            Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                                                                        Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


                            Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

                            Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                                                                        chosen.

                                                                                             Applicable Reasons for Choosing Court Filing Location (Column C)

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.                                                         7. Location where petitioner resides.
2. Permissive filing in central district.                                                                                                8. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                                                                                 9. Location where one or more of the parties reside.

4. Mandatory personal injury filing in North District.                                                                                  10. Location of Labor Commissioner Office.
                                                                                                                                        11. Mandatory filing location (Hub Cases – unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                                                                        non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                                                                   A                                                           B                                                            C
                                                                         Civil Case Cover Sheet                                         Type of Action                                            Applicable Reasons -
                                                                               Category No.                                            (Check only one)                                            See Step 3 Above

                                                                                Auto (22)               A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death                     1, 4, 11
   Auto
   Tort




                                                                         Uninsured Motorist (46)        A7110 Personal Injury/Property Damage/Wrongful Death - Uninsured Motorist                1, 4, 11


                                                                                                        A6070 Asbestos Property Damage                                                           1, 11
                                                                             Asbestos (04)
                                                                                                        A7221 Asbestos - Personal Injury/Wrongful Death
                                     Damage/ Wrongful Death Tort




                                                                                                                                                                                                 1, 11
   Other Personal Injury/ Property




                                                                          Product Liability (24)        A7260 Product Liability (not asbestos or toxic/environmental)                            1, 4, 11

                                                                                                                                                                                                 1, 4, 11
                                                                                                        A7210 Medical Malpractice - Physicians & Surgeons
                                                                        Medical Malpractice (45)
                                                                                                        A7240 Other Professional Health Care Malpractice                                         1, 4, 11


                                                                                                        A7250 Premises Liability (e.g., slip and fall)
                                                                                                                                                                                                 1, 4, 11
                                                                            Other Personal
                                                                            Injury Property             A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,                    1, 4, 11
                                                                           Damage Wrongful                     assault, vandalism, etc.)
                                                                                                                                                                                                 1, 4, 11
                                                                              Death (23)                A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                                                                 1, 4, 11
                                                                                                        A7220 Other Personal Injury/Property Damage/Wrongful Death



   LASC CIV 109 Rev. 12/18                                                                         CIVIL CASE COVER SHEET ADDENDUM                                                           Local Rule 2.3
   For Mandatory Use                                                                                                                                                                           Page 1 of 4
                                                                                                      AND STATEMENT OF LOCATION
                                                                                                                                                                                 American LegalNet, Inc.

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SHORT TITLE:                                                                                                      CASE NUMBER
PACIFIC COLLECTIVE, LLC v. EXXONMOBIL OIL CORPORATION

                                                A                                                        B                                                    C Applicable
                                      Civil Case Cover Sheet                                       Type of Action                                          Reasons - See Step 3
                                            Category No.                                          (Check only one)                                               Above

                                        Business Tort (07)          A6029 Other Commercial/Business Tort (not fraud/breach of contract)                    1, 2, 3
   Non-Personal Injury/ Property
   Damage/ Wrongful Death Tort




                                         Civil Rights (08)          A6005 Civil Rights/Discrimination                                                      1, 2, 3

                                         Defamation (13)            A6010 Defamation (slander/libel)                                                       1, 2, 3

                                            Fraud (16)              A6013 Fraud (no contract)                                                              1, 2, 3


                                                                    A6017 Legal Malpractice                                                                1, 2, 3
                                   Professional Negligence (25)
                                                                    A6050 Other Professional Malpractice (not medical or legal)                            1, 2, 3

                                            Other (35)              A6025 Other Non-Personal Injury/Property Damage tort                                   1, 2, 3


                                     Wrongful Termination (36)      A6037 Wrongful Termination                                                             1, 2, 3
          Employment




                                                                    A6024 Other Employment Complaint Case                                                  1, 2, 3
                                      Other Employment (15)
                                                                    A6109 Labor Commissioner Appeals                                                       10


                                                                    A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful               2, 5
                                                                           eviction)
                                   Breach of Contract/ Warranty                                                                                            2, 5
                                               (06)                 A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                                         (not insurance)                                                                                                   1, 2, 5
                                                                    A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                                           1, 2, 5
                                                                    A6028 Other Breach of Contract/Warranty (not fraud or negligence)

                                                                    A6002 Collections Case-Seller Plaintiff                                                5, 6, 11
        Contract




                                          Collections (09)
                                                                    A6012 Other Promissory Note/Collections Case                                           5, 11
                                                                    A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                       5, 6, 11
                                                                          Purchased on or after January 1, 2014)
                                     Insurance Coverage (18)        A6015 Insurance Coverage (not complex)                                                 1, 2, 5, 8

                                                                    A6009 Contractual Fraud                                                                1, 2, 3, 5
                                        Other Contract (37)         A6031 Tortious Interference                                                            1, 2, 3, 5
                                                                    A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)                    1, 2, 3, 8, 9

                                     Eminent Domain/Inverse
                                                                    A7300 Eminent Domain/Condemnation                Number of parcels                     2, 6
                                       Condemnation (14)
        Real Property




                                      Wrongful Eviction (33)        A6023 Wrongful Eviction Case                                                           2, 6

                                                                    A6018 Mortgage Foreclosure                                                             2, 6
                                     Other Real Property (26)       A6032 Quiet Title                                                                      2, 6
                                                                    A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)           2, 6

                                   Unlawful Detainer-Commercial
        Unlawful Detainer




                                                                    A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)                    6, 11
                                               (31)
                                   Unlawful Detainer-Residential
                                                                    A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)                   6, 11
                                               (32)
                                      Unlawful Detainer-Post-
                                                                    A6020F Unlawful Detainer-Post-Foreclosure                                              2, 6, 11
                                         Foreclosure (34)
                                   Unlawful Detainer-Drugs (38)     A6022 Unlawful Detainer-Drugs                                                         2, 6, 11

 LASC CIV 109 Rev. 12/18                                        CIVIL CASE COVER SHEET ADDENDUM                                                        Local Rule 2.3
 For Mandatory Use                                                                                                                                       Page 2 of 4
                                                                   AND STATEMENT OF LOCATION
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SHORT TITLE:                                                                                                                         CASE NUMBER
PACIFIC COLLECTIVE, LLC v. EXXONMOBIL OIL CORPORATION

                                                             A                                                          B                                              C Applicable
                                                  Civil Case Cover Sheet                                           Type of Action                                   Reasons - See Step 3
                                                        Category No.                                              (Check only one)                                        Above

                                                    Asset Forfeiture (05)           A6108 Asset Forfeiture Case                                                      2, 3, 6
        Judicial Review




                                                 Petition re Arbitration (11)       A6115 Petition to Compel/Confirm/Vacate Arbitration                              2, 5

                                                                                    A6151 Writ - Administrative Mandamus                                             2, 8

                                                    Writ of Mandate (02)            A6152 Writ - Mandamus on Limited Court Case Matter                               2

                                                                                    A6153 Writ - Other Limited Court Case Review                                     2

                                                 Other Judicial Review (39)         A6150 Other Writ /Judicial Review                                                2, 8


                                               Antitrust/Trade Regulation (03)      A6003 Antitrust/Trade Regulation                                                 1, 2, 8
         Provisionally Complex Litigation




                                                  Construction Defect (10)          A6007 Construction Defect                                                        1, 2, 3

                                                Claims Involving Mass Tort
                                                                                    A6006 Claims Involving Mass Tort                                                 1, 2, 8
                                                           (40)

                                                  Securities Litigation (28)        A6035 Securities Litigation Case                                                 1, 2, 8

                                                        Toxic Tort
                                                                                    A6036 Toxic Tort/Environmental                                                   1, 2, 3, 8
                                                    Environmental (30)

                                                Insurance Coverage Claims
                                                                                    A6014 Insurance Coverage/Subrogation (complex case only)                         1, 2, 5, 8
                                                  from Complex Case (41)

                                                                                    A6141 Sister State Judgment                                                      2, 5, 11
  Enforcement




                                                                                    A6160 Abstract of Judgment                                                       2, 6
                            of Judgment




                                                                                    A6107 Confession of Judgment (non-domestic relations)                            2, 9
                                                       Enforcement
                                                     of Judgment (20)               A6140 Administrative Agency Award (not unpaid taxes)                             2, 8
                                                                                    A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax                   2, 8

                                                                                    A6112 Other Enforcement of Judgment Case                                         2, 8, 9
  Miscellaneous
                            Civil Complaints




                                                         RICO (27)                  A6033 Racketeering (RICO) Case                                                   1, 2, 8

                                                                                    A6030 Declaratory Relief Only                                                    1, 2, 8

                                                                                    A6040 Injunctive Relief Only (not domestic/harassment)                           2, 8
                                                     Other Complaints
                                                 (Not Specified Above) (42)         A6011 Other Commercial Complaint Case (non-tort/non-complex)                     1, 2, 8

                                                                                    A6000 Other Civil Complaint (non-tort/non-complex)                               1, 2, 8

                                                  Partnership Corporation
                                                                                    A6113 Partnership and Corporate Governance Case                                  2, 8
                                                     Governance (21)
                                                                                    A6121 Civil Harassment With Damages                                              2, 3, 9
  Miscellaneous
  Civil Petitions




                                                                                    A6123 Workplace Harassment With Damages                                          2, 3, 9

                                                                                    A6124 Elder/Dependent Adult Abuse Case With Damages                              2, 3, 9
                                                    Other Petitions (Not                                                                                             2
                                                                                    A6190 Election Contest
                                                   Specified Above) (43)
                                                                                    A6110 Petition for Change of Name/Change of Gender                               2, 7

                                                                                    A6170 Petition for Relief from Late Claim Law                                    2, 3, 8

                                                                                    A6100 Other Civil Petition                                                       2, 9



  LASC CIV 109 Rev. 12/18                                                       CIVIL CASE COVER SHEET ADDENDUM                                                  Local Rule 2.3
  For Mandatory Use                                                                                                                                                Page 3 of 4
                                                                                   AND STATEMENT OF LOCATION
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SHORT TITLE:                                                                                 CASE NUMBER
PACIFIC COLLECTIVE, LLC v. EXXONMOBIL OIL CORPORATION


Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
            type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
            (No address required for class action cases).

                                                                             ADDRESS:

  REASON:                                                                    3800 Sepulveda Boulevard

      1.       2.   3.   4.   5.   6.   7.      8.    9.      10.      11.




  CITY:                                      STATE:        ZIP CODE:
  Culver City                                CA            90230


Step 5: Certification of Assignment: I certify that this case is properly filed in the Central - Stanley Mosk                               District of
            the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule
            2.3(a)(1)(E)].




  Dated: April 3, 2020
                                                                                          (SIGNATURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

      1. Original Complaint or Petition.
      2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
      3. Civil Case Cover Sheet, Judicial Council form CM-010.

      4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
         02/16).
      5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
      6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
         minor under 18 years of age will be required by Court in order to issue a summons.
      7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
         must be served along with the summons and complaint, or other initiating pleading in the case.




  LASC CIV 109 Rev. 12/18                    CIVIL CASE COVER SHEET ADDENDUM                                                  Local Rule 2.3
  For Mandatory Use                                                                                                             Page 4 of 4
                                                AND STATEMENT OF LOCATION
                                                                                                                  American LegalNet, Inc.

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                     Case 2:20-cv-03887-JAK-KS Document20STCV13294
                                                         1-1 Filed 04/28/20 Page 8 of 105 Page ID #:14
                                                                                                   SUM-100
                                                         SUMMONS                                                                               FOR COURT USE ONLY
                                                                                                                                           (SOLO PARA USO DE LA CORTE)
                                               (CITACION JUDICIAL)
           NOTICE TO DEFENDANT:
           (AVISO AL DEMANDADO):
           EXXONMOBIL OIL CORPORATION, a New York Corporation, formerly known
           as Mobile Oil Corporation; and DOES 1-100, inclusive

           YOU ARE BEING SUED BY PLAINTIFF:
           (LO ESTÁ DEMANDANDO EL DEMANDANTE):
           PACIFIC COLLECTIVE, LLC, a Delaware Limited Liability Company


            NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
            below.
               You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
            served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
            case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
            Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
            the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
            may be taken without further warning from the court.
               There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
            referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
            these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
            (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
            costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
            ¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
            continuación.
               Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
            corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
            en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
            Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
            biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte
            que le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
            podrá quitar su sueldo, dinero y bienes sin más advertencia.
               Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
            remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
            programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
            (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
            colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
            cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
            pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
          The name and address of the court is:                                                                               CASE NUMBER:
                                                                                                                              (Número del Caso):
          (El nombre y dirección de la corte es):
          LOS ANGELES SUPERIOR COURT, CENTRAL DISTRICT
          Stanley Mosk Courthouse
          111 North Hill Street
          Los Angeles, CA 90012

          The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
          (El nombre, la dirección y el número de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
          Gabriel G. Green, Esq. (SBN 222445) Gordon C. Stuart, Esq. (SBN 294321)                                               (213) 891-0700
          BUCHALTER, APC
          1000 Wilshire Boulevard, Suite 1500, Los Angeles, CA 90017
          DATE:                                                                                 Clerk, by                                                                   , Deputy
          (Fecha)                                                                               (Secretario)                                                                (Adjunto)
          (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
          (Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
            [SEAL]                                  NOTICE TO THE PERSON SERVED: You are served
                                                    1.     as an individual defendant.
                                                    2.     as the person sued under the fictitious name of (specify):

                                                    3.        on behalf of (specify):
                                                         under:       CCP 416.10 (corporation)                                          CCP 416.60 (minor)
                                                                      CCP 416.20 (defunct corporation)                                  CCP 416.70 (conservatee)
                                                                      CCP 416.40 (association or partnership)                           CCP 416.90 (authorized person)
                                                                      other (specify):
                                                    4.         by personal delivery on (date):
                                                                                                                                                                               Page 1 of 1
            Form Adopted for Mandatory Use                                                                                                           Code of Civil Procedure §§ 412.20, 465
              Judicial Council of California
                                                                                        SUMMONS                            American LegalNet, Inc.                     www.courtinfo.ca.gov
                                                                                                                           www.FormsWorkflow.com
              SUM-100 [Rev. July 1, 2009]
                                                                                              14
Electronically FILED by Superior Court of California, County of Los Angeles on 04/03/2020 05:25 PM Sherri R. Carter, Executive Officer/Clerk of Court, by C. Monroe,Deputy Clerk
                     Case 2:20-cv-03887-JAK-KS Document20STCV13294
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                                            Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Terry Green




                                  1   BUCHALTER
                                      A Professional Corporation
                                  2   GABRIEL G. GREEN (SBN: 222445)
                                      GORDON C. STUART (SBN 294321)
                                  3   1000 Wilshire Boulevard, Suite 1500
                                      Los Angeles, CA 90017-2457
                                  4   Telephone: 213.891.0700
                                      Fax: 213.896.0400
                                  5   Email: ggreen@buchalter.com; gstuart@buchalter.com
                                  6   Attorneys for plaintiff PACIFIC COLLECTIVE, LLC, a Delaware
                                      Limited Liability Company
                                  7

                                  8                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                  9                           COUNTY OF LOS ANGELES – CENTRAL DISTRICT
                             10

                             11       PACIFIC COLLECTIVE, LLC, a Delaware                                     Case No.:
                                      Limited Liability Company;                                              Assigned to:
                             12
                                                         Plaintiff,                                           COMPLAINT FOR DAMAGES FOR:
                             13
                                              vs.                                    1. BREACH OF WRITTEN CONTRACT;
                             14                                                      2. SPECIAL PERFORMANCE; and
                                      EXXONMOBIL OIL CORPORATION, a New 3. DECLARATORY RELIEF, WITH
                             15       York Corporation, formerly known as Mobile Oil    REQUEST FOR TEMPORARY
                                      Corporation; and DOES 1-100, inclusive,           PRELIMINARY AND PERMANENT
                             16                                                         INJUNCTIVE RELIEF.
                                                    Defendants.
                             17
                                                                                                                DEMAND FOR JURY TRIAL
                             18

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          BUCHALTER
     A PROFESSIONAL CORPORATION                                                                           1
            LOS ANGELES
                                                                                     COMPLAINT FOR DAMAGES
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                             1           COMES NOW Plaintiff PACIFIC COLLECTIVE, LLC, a Delaware Limited Liability
                             2   Company (“Plaintiff”), against Defendants EXXONMOBIL OIL CORPORATION, a New York
                             3   Corporation, formerly known as Mobil Oil Corporation (“Defendant”), and DOES 1 – 100,
                             4   inclusive.
                             5                                      SUMMARY OF ACTION
                             6           1.      In March 2020, citizens of the State of California were facing an unprecedented
                             7   global pandemic known as COVID-19, which brought with it the deaths of thousands of
                             8   Americans, and prompted City, County, and State officials to execute orders and directives for all
                             9   persons residing in California to stay at home for an indefinite period. The orders, which were all
                        10       directed at preserving and protecting the safety of human life, rendered it impossible for Plaintiff
                        11       to perform the acts of closing under a land purchase agreement entered with Defendant. Said
                        12       orders and directives also made it impossible for Plaintiff to redevelop the real property upon
                        13       closing, which redevelopment Defendant acknowledged was Plaintiff’s intended use. Despite the
                        14       global pandemic and the City, County, and State Orders, Defendant, in material breach of the
                        15       agreement, rejected Plaintiff’s rightful invocation of the force majeure clause in their agreement
                        16       to merely extend the closing date, as expressly provided for in their agreement, while the force
                        17       majeure persisted. Making matters worse, Defendant also attempted to unilaterally terminate the
                        18       transaction in further material breach of their agreement, all because Plaintiff was unwilling to
                        19       violate law and jeopardize human life.
                        20               2.      By way of this Complaint, Plaintiff seeks to hold Defendant accountable for its
                        21       unexcused and callous breach of the land purchase agreement, which results in Plaintiff suffering
                        22       monetary damages of no less than $7,950,000. Plaintiff also seeks a judgment compelling
                        23       Defendant to perform under the terms of the land purchase agreement by transferring the unique
                        24       property to Plaintiff in exchange for the bargained-for purchase price of $4.2 million.
                        25                                                THE PARTIES
                        26               3.      Plaintiff PACIFIC COLLECTIVE, LLC is a Delaware Limited Liability Company
                        27       that is duly registered to conduct business in the State of California and which is doing business
                        28       in the County of Los Angeles, State of California.
     BUCHALTER
A PROFESSIONAL CORPORATION                                                        2
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                             1           4.      Plaintiff is informed and believes and thereon alleges that Defendant
                             2   EXXONMOBIL OIL CORPORATION is a New York Corporation formerly known as Mobile
                             3   Oil Corporation, which is and was at all relevant times, conducting business in the County of Los
                             4   Angeles, State of California.
                             5           5.      Plaintiff is ignorant of the true names and capacities of the Defendants sued herein
                             6   as DOES 1 through 100 and, therefore, sues these Defendants by such fictitious names. Plaintiff
                             7   will amend this Complaint pursuant to Code of Civil Procedure Section 474 to allege the true
                             8   names and capacities of these Defendants when ascertained. Plaintiff is informed and believes,
                             9   and thereon alleges, that each of the fictitiously named Defendants DOES 1 through 100,
                        10       inclusive, have caused and participated in each of the acts and omissions of each of the named
                        11       Defendants herein alleged, and in doing so, acted as the agent, employee, and/or co-conspirator of
                        12       said Defendants, and acted within the scope and in furtherance of said agency, employment, or
                        13       conspiracy.
                        14               6.      At all times mentioned herein, Defendants, including Defendant EXXONMOBIL
                        15       OIL CORPORATION, and each of them, were the agents, servants and employees of the
                        16       remaining Defendants, and of each other and that at all times mentioned herein, Defendants and
                        17       each of them were acting with the knowledge of each other and within the course and scope of
                        18       their agency or employment, as applicable.
                        19                                        JURISDICTION AND VENUE
                        20               7.      Jurisdiction in this Court is proper because each of the causes of action set forth in
                        21       this Complaint arises under California law, because the amount of damages in controversy is
                        22       within the jurisdiction of the Superior Court, because the contract was entered in the County of
                        23       Los Angeles, because Defendant is conducting business in the County of Los Angeles, and
                        24       because this action concerns the right to possesses and occupy real property situated in the
                        25       County of Los Angeles.
                        26               8.      Venue is proper is Los Angeles County under California Code of Civil Procedure
                        27       sections 393, 395, and 395.5 because: (i) one or more of the acts, omissions, breaches, and
                        28       wrongs giving rise to the causes of action asserted herein occurred or were to be performed in Los
     BUCHALTER
A PROFESSIONAL CORPORATION                                                         3
       LOS ANGELES
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                             1   Angeles       County;    (ii)    on   information   and      belief,   Defendant   EXXONMOBIL    OIL
                             2   CORPORATION is conducting business in the County of Los Angeles; and (iii) this action
                             3   concerns the right to possesses and occupy real property situated in the County of Los Angeles.
                             4                                          GENERAL ALLEGATIONS
                             5           9.        In or about late 2019 and early 2020, Plaintiff, as the Purchaser, and Defendant, as
                             6   the Seller, entered into an agreement entitled “SALE AND PURCHASE AGREEMENT
                             7   (FORMER MOBIL SERVICE STATION, CULVER CITY, COUNTY OF LOS ANGELES,
                             8   STATE OF CALIFORNIA” (the “Purchase Agreement”). The Purchase Agreement was signed
                             9   by Plaintiff on November 5, 2019, but it was not signed by Defendant until February 3, 2020,
                        10       with the latter date becoming the “Effective Date” of the Purchase Agreement. A true and correct
                        11       copy of the Purchase Agreement is marked and attached hereto as “Exhibit 1.”
                        12               10.       During the negotiation process leading up to the Purchase Agreement, and
                        13       thereafter, Defendant was repeatedly made aware that it was Plaintiff’s intention to immediately
                        14       redevelop the Property for a use other than its current use. Defendant had actual knowledge that
                        15       Plaintiff intended to imminently develop the Property, and Defendant was provided with
                        16       Plaintiff’s     plans   for     redevelopment   (the       “Redevelopment    Plans”), which Defendant
                        17       acknowledged in Article 10, subdivision (c)(iv) of the Purchase Agreement.
                        18               11.       Having provided Defendant with actual knowledge of Plaintiff’s plans to
                        19       redevelop the Property, Defendant was aware that upon Closing, Plaintiff’s use of the Property
                        20       would include imminently utilizing construction crews, architects, inspectors, planners, and other
                        21       persons necessary to accomplish the purposes for which Plaintiff was purchasing the Property.
                        22               12.       Pursuant to the Purchase Agreement, Plaintiff agreed to purchase from Defendant
                        23       that certain parcel of land located in Culver City, County of Los Angeles, State of California, with
                        24       an address of 3800 Sepulveda Boulevard, Culver City, California, together will all improvements,
                        25       fixtures, and personal property situated on or under the real property (the “Property”), for the total
                        26       purchase price of four million two hundred thousand dollars ($4,200,000.00) (the “Total Purchase
                        27       Price”). The Property is more specifically described as:
                        28
     BUCHALTER
A PROFESSIONAL CORPORATION                                                              4
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                             1           That portion of Lot 15 as shown on map of the 120.71 acre tract, belonging to the
                                         Estate of Pedro Talamantes, deceased, in he Rancho La Ballona, in the City of
                             2           Culver City, County of Los Angeles, State of California, filed in Case NO. 7078
                                         of the Superior Court, described below as follows:
                             3
                                         Beginning at the Point of Intersection of the Southwesterly line of said Lot 15,
                             4           with the Southeasterly line of the thirty (30) foot strip conveyed to the County of
                                         Los Angeles by deed recorded in Book 4224, Page 208 of Deeds, Records of said
                             5           county; thence South 33⸰13’ Eat along said Southwesterly line, a distance of One
                                         Hundred Thirty (130) feet; Thence North 55⸰48’30” East, parallel with the
                             6           Southeasterly line of the Thirty (30) foot strip conveyed to said County of Los
                                         Angeles by deed hereinbefore referred to, a distance of One Hundred Fifty (150)
                             7           feet; Thence North 33⸰13’ West parallel with the Southwesterly line of said Lot
                                         15, a distance of One Hundred Thirty (130) feet to a point in the Southwesterly
                             8           line of said Lot 15, a distance of One Hundred Thirty (130) feet to a point in the
                                         Southwesterly line of said Thirty (30) foot strip; Thence South 55⸰48’30” West
                             9           along said Southwesterly line One Hundred Fifty (150) feet to the Point of
                                         Beginning.
                        10
                                         Excepting therefrom the Southwesterly Fifty (50) feet thereof included within the
                        11               line of Sepulveda Boulevard.
                        12               13.        The Purchase Agreement included provisions for payment of a nonrefundable,

                        13       earnest money deposit of $50,000.00 (the “Option Deposit”), followed by an additional deposit in

                        14       escrow of $70,000.00 (the “Earnest Money”) due and payable within three (3) days after the

                        15       “Effective Date.” After the Effective Date, Plaintiff had a period of ninety (90) days to inspect

                        16       the Property (the “Inspection Period”).

                        17               14.        Upon the expiration of the ninety (90) day Inspection Period, and all other

                        18       contingencies and conditions being satisfied, the transaction would close (the “Closing”). At

                        19       Closing, Plaintiff would be obligated to present its agent along with evidence “reasonably

                        20       satisfactory to [Defendant] and the Title Company that the person executing the documents on

                        21       behalf of [Plaintiff] has the full power and authority to do so.” Under the terms of the Purchase

                        22       Agreement, and with respect to Closing, Plaintiff would also have to present its agent before a

                        23       notary public to have the documents necessary for Closing notarized. Plaintiff would also

                        24       become obligated to the tender remaining balance due on the $4.2 million Total Purchase Price.

                        25               15.        Section 38 to the Purchase Agreement, entitled “FORCE MAJEURE,” provides

                        26       as follows:

                        27                       The deadline for performance of any obligation of a party hereunder shall be
                                                 automatically extended one day such performance is delayed on account of
                        28
     BUCHALTER
A PROFESSIONAL CORPORATION                                                          5
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                             1                   force majeure, which as used herein means acts of God, strikes, lockouts, sit-
                                                 downs, material or labor restrictions by any governmental authority, civil riot,
                             2                   floods, wash-outs, explosions, earthquakes, fires, storms, acts of the public
                             3                   enemy, acts of terrorism, wars, insurrections, defaults by the other party and
                                                 any other cause not reasonably within the control of the party who
                             4                   performance is delayed by force majeure and which, by the exercise of due
                                                 diligence, the claiming party is unable, wholly or in part, to prevent or
                             5                   overcome.
                             6           16.        After Plaintiff signed the Purchase Agreement on November 5, 2019, Plaintiff and
                             7   Defendant negotiated over certain terms, such that Defendant did not sign the Purchase
                             8   Agreement until February 3, 2020. The delay between Plaintiff and Defendant signing the
                             9   Purchase Agreement was consistent with Defendant’s behavior throughout the entire negotiation
                        10       process, whereby Defendant often delayed for months on end by failing to respond to
                        11       correspondence or due to “personnel changes” within Defendant.
                        12               17.        Due to the delay between Plaintiff and Defendant signing the Purchase Agreement,
                        13       and for other good and legitimate reasons, Plaintiff and Defendant entered into a First
                        14       Amendment of Sale and Purchase Agreement (the “Amendment”) dated February 7, 2020.                 A
                        15       true and correct copy of the Amendment is marked and attached hereto as “Exhibit 2.”
                        16               18.        Pursuant to the Amendment, Plaintiff and Defendant agreed that Plaintiff was not
                        17       obligated to pay into escrow the $70,000.00 Earnest Money payment until February 7, 2020, that
                        18       Plaintiff waived its ninety (90) day period to inspect the Property after the Effective Date, and
                        19       that Closing would be set for March 31, 2020, at which time Plaintiff would be obligated to remit
                        20       the balance owing to the $4.2 million Total Purchase Price, and Defendant would be obligated to
                        21       execute all necessary documents to transfer good title to the Property to Plaintiff.
                        22               COVID-19 INTERNATIONAL PANDEMIC – FORCE MAJEURE EXCUSES
                        23                                           PLAINTIFF’S PERFORMANCE
                        24               19.        Beginning in or about December 2019, an international pandemic of
                        25 unprecedented scale spread across the globe, whereby inhabitants of all nations were affected by

                        26 the virus referred to as “COVID-19, “which was a lethal and highly contagious virus that affected

                        27 all people, and particularly the elderly and immunocompromised.

                        28
     BUCHALTER
A PROFESSIONAL CORPORATION                                                            6
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                             1           20.     As data relating to the transmission and lethality of COVID-19 became more
                             2 readily available, the consensus in both the scientific and political spheres was that reduced

                             3 interaction in and amongst people was the surest safeguard to preventing the disease from

                             4 spreading.

                             5           21.     On March 4, 2020, California Governor Gavin Newsom (“Governor Newsom”)
                             6 proclaimed a state of emergency to exist in California as a result of the threat of COVID-19.

                             7           22.     On March 11, 2020, the World Health Organization announced that the outbreak
                             8 of COVID-19 was properly characterized as a pandemic.

                             9           23.     On March 13, 2020, United States President Donald J. Trump declared a national
                        10 emergency recognizing the threat that the novel COVID-19 virus posed to the United States’

                        11 national security.

                        12               24.     On March 18, 2020, United States President Donald J. Trump executed an
                        13 executive order prioritizing and allocating health and medical resources to respond to the spread of

                        14 COVID-19.

                        15               25.     On March 19, 2020, City of Los Angeles Mayor Eric Garcetti (“Mayor Garcetti”)
                        16 issued an executive order which, among other things, ordered “all persons living within the City of

                        17 Los Angeles . . . to remain in their homes.” (Referred to herein as the “LA Stay-at-Home Order.”)

                        18 The LA Stay-at-Home Order further ordered that “all business within the City of Los Angeles are

                        19 ordered to cease operations that require in-person attendance by workers at a workplace . . .”      The
                        20 LA Stay-at-Home Order was made effective until April 19, 2020.

                        21               26.     March 19, 2020, i.e., 12 days before the March 31, 2020, Closing date, Governor
                        22 Newsom executed Executive Order N-33-20 (the “California Stay-at-Home Order”), which,

                        23 among other things, ordered “all individuals living in the State of California to stay at home or at

                        24 their place of residence except as needed to maintain continuity of operations of the federal critical

                        25 infrastructure sectors . . .” [Emphasis added.] The California Stay-at-Home Order provided that a

                        26 “[v]iolation of or failure to comply with this Order is a misdemeanor punishable by fine,

                        27 imprisonment, or both. (California Health and Safety Code 120295 et seq.)” The California Stay-

                        28 at-Home order was made effective through April 19, 2020.
     BUCHALTER
A PROFESSIONAL CORPORATION                                                      7
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                             1           27.      On March 20, 2020, the City of Culver City issued a “Safer at Home” Order
                             2 stopping all non-essential activities outside of residences in response to COVID-19 (the “Culver

                             3 City Safer-at-Home Order”). Pursuant to the Culver City Safer-at-Home Order, all residents of the

                             4 City of Culver City were called upon to stay in their residences and to limit all activities outside of

                             5 their homes beyond what was absolutely necessary for essential tasks. The “Safer at Home” Order

                             6 further specified that to the extent residents were required to leave their homes for necessary tasks,

                             7 they were instructed to stay at least six (6) feet away from others.

                             8           28.      On March 21, 2020, the County of Los Angeles issued a Revised Order to comply
                             9 with the California Stay-at-Home Order (the “County of LA Stay-at-Home Order”), which was

                        10 also made effective through April 19, 2020. Pursuant to the County of LA Stay-at-Home Order:

                        11               Effective immediately on March 21, 2020 and continuing through April 19, 2020,
                        12               all public and private group events and gatherings are prohibited anywhere within
                                         the Los Angeles County Public Health Jurisdiction. All persons are to remain in
                        13               their homes or at their place of residence, except to travel to and from Essential
                                         Businesses, to work at or provide service to a Healthcare Operation or Essential
                        14               Infrastructure, to engage in Essential Activities, or to participate in an individual
                                         or family outdoor activity, while practicing social distancing.
                        15
                                         29.      The County of LA Stay-at-Home Order, like the California Stay-at-Home Order,
                        16
                                 provided that “[v]iolation or failure to comply with this Order is a crime punishment by fine,
                        17
                                 imprisonment, or both. (California Health and Safety Code § 120295; Los Angeles County Code
                        18
                                 § 11.02.080.)”
                        19
                                         30.      As a result of the aforementioned events, including, but not limited to, the
                        20
                                 California Stay-at-Home Order, the County of LA Stay-at-Home Order, the LA Stay-at-Home
                        21
                                 Order, and the Culver City Safer-at-Home Order, it became not reasonably feasible and
                        22
                                 logistically impractical for Closing to proceed on March 31, 2020. Indeed, it became illegal for
                        23
                                 Plaintiff to direct its agent to present himself or herself in person to execute the documents on
                        24
                                 behalf of Plaintiff as required by Section 4 of the Purchase Agreement, and it also became illegal
                        25
                                 for Plaintiff to direct its agent to go out in public to a notary public to have the documents
                        26
                                 necessary for closing notarized.
                        27

                        28
     BUCHALTER
A PROFESSIONAL CORPORATION                                                        8
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                             1           31.     Additionally, it became commercially unfeasible, impractical, and illegal for
                             2 Plaintiff to use the Property for its stated and acknowledge purposes upon Closing, i.e., its

                             3 redevelopment. Under the force majeure conditions, including the several Stay-at-Home Orders,

                             4 Plaintiff could not immediately bring in construction workers, architects, inspectors, and other

                             5 persons necessary to redevelop the Property for its intended use. Not only would doing so pose a

                             6 danger to human life, it would subject Plaintiff and those involved to criminal prosecution.

                             7           32.     In addition to the above-referenced acts, the force majeure made it impractical and
                             8 unfeasible to accomplish other events necessary and attendant to Closing. The force majeure

                             9 resulting from the COVID-19 pandemic and the recent Orders from the various governmental

                        10 bodies required the delay of the Closing while the force majeure remained.

                        11               33.     On March 30, 2020, Plaintiff, by and through her attorneys, sent a letter by
                        12 electronic mail to Defendant and its counsel to provide formal notice that the COVID-19

                        13 pandemic, as well as the California Stay-at-Home Order, the County of LA Stay-at-Home Order,

                        14 the LA Stay-at-Home Order, and the Culver City Safer-at-Home Order, constituted a force

                        15 majeure that prevented Plaintiff from meeting its obligations under the Purchase Agreement by the

                        16 date of Closing (the “Notice of Force Majeure Leter”). A true and correct copy of the March 30,

                        17 2020, letter is marked and attached hereto as “Exhibit 3.” The correspondence further stated:

                        18               While our client fully intends to proceed with its purchase of the Property, the
                        19               aforementioned orders and restrictions inhibit our client’s ability to close escrow
                                         while the governmental orders and restrictions remain in force. The “Safer at
                        20               Home” orders will be in effect until at least April 19, 2020, a minimum of thirty-
                                         one days, unless further extended. Unfortunately, the “Safer at Home” orders are
                        21               expected to remain in effect for an unknown additional period of time.
                        22
                                         Because [Plaintiff] is unable to proceed with the Closing while the “Safer at
                        23               Home” orders remain in effect, we are hereby providing notice on behalf of Buyer
                                         that, pursuant to Section 38 of the Agreement, Buyer extends the Closing one day
                        24               for each day any applicable “Safer at Home” order remains in effect.
                                         Accordingly, as of the date of this letter, the Closing can occur no sooner than
                        25               May 1, 2020.
                        26               34.     On March 31, 2020, after the close of business, Defendant, by and through its
                        27       attorneys, responded to Plaintiff’ Force Majeure Letter, in which Defendant conceded that
                        28
     BUCHALTER
A PROFESSIONAL CORPORATION                                                        9
       LOS ANGELES
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                             1   Plaintiff’s business was not an “Essential Business” as defined by the operative orders. A true
                             2   and correct copy of the March 31, 2020, letter is marked and attached hereto as “Exhibit 4.”
                             3   Defendant also effectively conceded that there was in fact an event constituting a force majeure.
                             4           35.     Defendant’s concessions notwithstanding, Defendant purported to reject Plaintiff’s
                             5   notification that Plaintiff was unable and excused from performing under the Purchase Agreement
                             6   due to the undeniable force majeure in effect. Defendant, through its counsel, further indicated
                             7   that if Plaintiff “cannot close on the transaction as provided in the [Amendment], [Defendant]
                             8   will terminate the Agreement as it is right pursuant to the agreement.”
                             9           36.     Plaintiff’s counsel responded to Defendant’s counsel after-hours March 31, 2020
                        10       letter, with a letter reaffirming Plaintiff’s exercise of its rights under the Purchase Agreement to
                        11       extend the Closing due to the force majeure and invited a discussion among counsel to attempt to
                        12       work through the issues created by the force majeure. A true and correct copy of Plaintiff’s
                        13       counsel’s April 2, 2020 letter is attached hereto as “Exhibit 5.”
                        14               37.     On April 3, 2020, Defendant, by and through its attorneys, transmitted a letter by
                        15       electronic mail to Plaintiff’s counsel, which stated: “This Notice serves as Seller’s termination of
                        16       the Agreement pursuant to Section 16 of the Agreement. Purchaser failed to meet the obligations
                        17       of the Agreement and close the transaction on March 31, 2020. Therefore, as is Seller’s right
                        18       under the Agreement, it is terminating the Agreement and retaining the Earnest Money.” A true
                        19       and correct copy of the April 3, 2020, letter is marked and attached hereto as “Exhibit 6.”
                        20               38.     Defendant’s termination notice is invalid and in breach of the Purchase
                        21       Agreement. Plaintiff is not yet obligated to close on the transaction because the Closing has been
                        22       delayed on account of the on-going force majeure resulting from the COVID-19 outbreak and the
                        23       various governmental Orders as identified herein.
                        24               39.     The Purchase Agreement alleged herein contains an attorney’s fees provision that
                        25       provides that if either party institutes an action or proceeding against the other arising out of or
                        26       relating to the terms and conditions of the Purchase Agreement, the non-prevailing party to such
                        27       action or proceeding will reimburse the prevailing party therein for its reasonable expenses and
                        28       attorney’s fees. The Purchase Agreement also contains a venue clause, by which Plaintiff and
     BUCHALTER
A PROFESSIONAL CORPORATION                                                       10
       LOS ANGELES
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                             1   Defendant agreed and consented to the exclusive venue and jurisdiction of any federal or state
                             2   court sitting in the County of Los Angeles, State of California, for any action arising out of or in
                             3   any way related to the Purchase Agreement.
                             4                                     FIRST CAUSE OF ACTION
                             5                               BREACH OF WRITTEN CONTRACT
                             6     (By Plaintiff, PACIFIC COLLECTIVE, LLC, and against Defendants, EXXON MOBIL
                             7          CORPORATION, formerly known as Exxon Oil Corporation, and DOES 1-100)
                             8           40.     Plaintiff incorporates the above allegations in paragraphs 1 through 39 and
                             9   incorporates them as though set forth fully herein.
                        10               41.     On February 3, 2020, Plaintiff and Defendant entered the Purchase Agreement,
                        11       which was subsequently amended on February 7, 2020, pursuant to the Amendment. Under the
                        12       Purchase Agreement, it provides in section 38, entitled FORCE MAJEURE, that the “deadline
                        13       for performance of any obligation of a party hereunder shall be automatically extended” in the
                        14       event of a force majeure.
                        15               42.     In light of the global pandemic of COVID-19, as well as the California Stay-at-
                        16       Home Order, the County of LA Stay-at-Home Order, the LA Stay-at-Home Order, the Culver
                        17       City Safer-at-Home Order, and the threat of criminal violation of said Orders, Plaintiff notified
                        18       that Defendant in writing that Closing pursuant to the Purchase Agreement could not go forward
                        19       on March 31, 2020, due to the undeniable force majeure. In response to Plaintiff’s notification,
                        20       Defendant responded in writing by indicating that if Plaintiff did not perform the acts required at
                        21       Closing by March 31, 2020, it would terminate the Purchase Agreement.
                        22               43.     Plaintiff, having provided due notice, did not perform the acts of Closing on March
                        23       31, 2020, and Defendant purported to terminate the Purchase Agreement. Defendant then advised
                        24       that it would retain all $120,000.00 of Plaintiff’s Option Deposit and Earnest Money, and
                        25       Defendant refused to proceed under the Purchase Agreement.
                        26               44.     By its acts and omissions, Defendant is in breach of the Purchase Agreement and
                        27       Amendment.
                        28
     BUCHALTER
A PROFESSIONAL CORPORATION                                                       11
       LOS ANGELES
                                                                    COMPLAINT FOR DAMAGES
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                             1             45.   Plaintiff performed all of its obligations and covenants under the Purchase
                             2   Agreement and Amendment, except for those obligations and covenants for which performance
                             3   was excused.
                             4             46.   Defendant has materially breached the Purchase Agreement.
                             5             47.   As a direct and proximate result of Defendants’ breach of the Purchase Agreement
                             6   and Amendment, Plaintiffs suffered damages.
                             7             48.   Defendant’s breach of the Purchase Agreement and Amendment was a substantial
                             8   factor in causing Plaintiffs’ damages.
                             9             49.   Plaintiff is entitled to an award of compensatory damages including, but not
                        10       limited to, a sum of no less than $7,950,000, as well as costs of suit and attorney’s fees incurred
                        11       herein.
                        12                                       SECOND CAUSE OF ACTION
                        13                                        SPECIFIC PERFORMANCE
                        14         (By Plaintiff, PACIFIC COLLECTIVE, LLC, and against Defendants, EXXON MOBIL
                        15              CORPORATION, formerly known as Exxon Oil Corporation, and DOES 1-100)
                        16                 50.   Plaintiff incorporates the above allegations in paragraphs 1 through 49 and
                        17       incorporates them as though set forth fully herein.
                        18                 51.   Plaintiff and Defendant entered a specifically enforceable contract that is
                        19       sufficiently certain in its terms; namely, Plaintiff and Defendant entered the Purchase Agreement
                        20       and Amendment by which Plaintiff agreed to purchase Defendant’s Property for the total sum of
                        21       $4.2 million, and that parties specifically agreed that each other’s performance was excused in the
                        22       event of force majeure for each day that the force majeure prevented performance.
                        23                 52.   Plaintiff and Defendant both provided adequate consideration under the Purchase
                        24       Agreement and Amendment.
                        25                 53.   Plaintiff has performed all of its obligations and covenants under the Purchase
                        26       Agreement and Amendment, other than those obligations and covenants that are excused by force
                        27       majeure, and Plaintiff has notified Defendant that once the force majeure ends, Plaintiff will
                        28       perform its remaining obligations.
     BUCHALTER
A PROFESSIONAL CORPORATION                                                       12
       LOS ANGELES
                                                                      COMPLAINT FOR DAMAGES
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                             1           54.     Defendant has breached the Purchase Agreement and Amendment by indicating it
                             2   will terminate the Purchase Agreement if Plaintiff will not perform the acts required at closing,
                             3   including acts that would qualify as crimes under the current California and County of LA Stay-
                             4   at-Home Orders.
                             5           55.     Plaintiff has no adequate remedy at law as the Property that is the subject of the
                             6   Purchase Agreement and Amendment is unique. (See, e.g., Abadjian v. Superior Court (1985)
                             7   168 Cal.App.3d 363, 374.)
                             8           56.     Plaintiff prays the court order and adjudge that Defendant must specifically
                             9   perform under the Purchase Agreement by transferring the Property to Plaintiff once the force
                        10       majeure ends and Closing may occur.
                        11                                          THIRD CAUSE OF ACTION
                        12          DECLARATORY RELIEF, WITH REQUEST FOR TEMPORARY, PRELIMINARY
                        13                                 AND PERMANENT INJUNCTIVE RELIEF
                        14         (By Plaintiff, PACIFIC COLLECTIVE, LLC, and against Defendants, EXXON MOBIL
                        15              CORPORATION, formerly known as Exxon Oil Corporation, and DOES 1-100)
                        16               57.     Plaintiff incorporates the above allegations in paragraphs 1 through 56 and
                        17       incorporates them as though set forth fully herein.
                        18               58.     Plaintiff is informed and believes and thereon alleges that an actual controversy
                        19       exists between Plaintiff and Defendant relative to the Purchase Agreement and Amendment.
                        20               59.     Plaintiff prays that the Court adjudicate the rights, interests, duties, and obligations
                        21       of Plaintiff and Defendant under the Purchase Agreement and Amendment, and Plaintiff
                        22       specifically prays that the Court determine that Plaintiff was excused from performance under the
                        23       Purchase Agreement while such performance was rendered impossible and, or in the alternative,
                        24       impractical due to the force majeure, and that the Purchase Agreement remained in full force and
                        25       effect and binding upon the parties pending resolution of the force majeure.
                        26               60.     In conjunction therewith, Plaintiff requests that this Court issue temporary,
                        27       preliminary and permanent injunctive relief, which prohibits Defendants from taking any action
                        28       to transfer right, title, interest, or possession to the Property during the pendency of these
     BUCHALTER
A PROFESSIONAL CORPORATION                                                         13
       LOS ANGELES
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                             1   proceedings, including but not limited to hypothecating, encumbering, transferring, selling, or
                             2   otherwise dissipating the Property.
                             3           WHEREFORE, Plaintiffs pray for judgment against Defendants, and each of them, as
                             4   follows:
                             5                                         PRAYER FOR RELIEF
                             6                   a. For general and special damages in the amount of at least $7,950,000;
                             7                   b. For the issuance of temporary, preliminary and permanent injunctive relief,
                             8                      which prohibits Defendants from taking any action to transfer right, title,
                             9                      interest, or possession to the Property during the pendency of these
                        10                          proceedings, including but not limited to hypothecating, encumbering,
                        11                          transferring, selling, or otherwise dissipating the Property.
                        12                       c. For an order awarding Plaintiffs their costs and attorneys’ fees incurred
                        13                          in this action;
                        14                       d. For on order compelling Defendant to specifically perform under the
                        15                          Purchase Agreement and Amendment;
                        16                       e. For a declaration of Plaintiff’s and Defendant’s respective rights, duties,
                        17                          interests, and obligations; and
                        18                       f. For such other and further relief as the Court may deem proper.
                        19       DATED: April 3, 2020                          BUCHALTER
                                                                               A Professional Corporation
                        20

                        21
                                                                               By:
                        22                                                                         GABRIEL G. GREEN
                                                                                                  GORDON C. STUART
                        23                                                            Attorneys for Plaintiff PACIFIC COLLECTIVE,
                                                                                       LLC, a Delaware Limited Liability Company
                        24

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     BUCHALTER
A PROFESSIONAL CORPORATION                                                        14
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                     EXHIBIT 1




                     EXHIBIT 1

                                       29
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                               SALE AND PURCHASE AGREEMENT
       [FORMER MOBIL SERVICE STATION, CULVER CITY, COUNTY OF LOS ANGELES, STATE OF CALIFORNIA)



              This SALE AND PURCHASE AGREEMENT ("Agreement") is made as of the
      Effective Date (as defined below in the last paragraph of this Agreement) by and
      between EXXONMOBIL OIL CORPORATION, a New York corporation, formerly
      known as Mobil Oil Corporation ("Seller"), duly authorized to do business in the State
      of California, and PC VENICE AND SEPULVEDA LLC, a Delaware limited liability
      company, duly authorized to do business in the State of California ("Purchaser"), upon
      the following terms and conditions:                                         ·

             1.     PROPERTY.

                    Seller will sell and convey, and Purchaser will purchase and pay for the
      surface estate of that certain tract or parcel of land located in Culver City, county of Los
      Angeles, state of California, with an address of 3800 Sepulveda Boulevard, Culver City,
      California, being more particularly described on Exhibit "A" attached hereto (the
      "Land"), together with all improvements, fixtures and personal property, if any, located
      on or under the Land (collectively, the "Property"). Seller reserves the right to revise the
      legal description attached as Exhibit "A" upon receipt of a Survey (as defined below)
      acceptable to Seller and the Title Commitment (as defined below), provided, however,
      such revision may only be to reflect the actual legal description of the Property intended.
      to be sold and conveyed hereby.

             2.     PURCHASE PRICE.

                 The total purchase price for the Property is Four Million Two Hundred
      Thousand and 00/100 Dollars ($4,200,000.00) ("Culver City Purchase Price").

             3.     EARNEST MONEY/DEPOSIT.

                   A      As of September 28, 2018, pursuant to the Limited Option to
      Purchase between Seller and Purchaser, dated September 24, 2018, Purchaser
      deposited with the Title Company (as defined below) the amount $50,000.00 ("Option
      Deposit"), which is nonrefundable, but will be applied towards the Purchase Price at
      Closing.

                     B.     Within three (3) business days after the Effective Date, Purchaser
      will deposit with the Title Company (as defined below) an earnest money deposit in the
      amount of Seventy Thousand and 00/100 Dollars ($70,000.00) ("Earnest Money").
      Earnest Money will be held by the Title Company in an interest-bearing account
      reasonably acceptable to both Purchaser and Seller, subject to Purchaser's compliance
      with the Title Company's requirements for investment of funds. Interest, if any, earned
      on the Earnest Money deposit will become part of the Earnest Money. The Earnest
      Money will be disposed of by the Title Company pursuant to this Agreement.



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              4.     CLOSING.

                      The closing of the transaction contemplated herein will be held at the
       offices of the Title Company, at the time and date agreed upon by Seller and Purchaser,
       but Closing must occur within thirty (30) days after the earlier of (1) issuance of the NFA
       Letter (as defined below}; or (2) expiration of the Review Period (as defined below),
       unless Seller and Purchaser mutually agree in writing otherwise (the "Closing").
       However, notwithstanding the above, Closing will occur no later than November 18,
       2019. The date of the Closing as determined is the ''Closing Date."

                    A       Seller's Deliverables. At Closing, Seller, at Seller's sole cost and
       expense, will deliver or cause to be delivered to Purchaser and the Title Company the
       following:

                           (1)    A     duly     executed       and     acknowledged      Grant
       Deed/Environmental Restrictions in the form and substance attached hereto as Exhibit
       "B" (the "Deed") subject to those matters set forth in the Deed and in this Agreement.
                            (2)    A Non-Foreign Affidavit substantially in the form of Exhibit
       "C" attached hereto.

                           (3)    Such affidavits and certificates as the Title Company may
       reasonably require, including certificates necessary to delete standard title insurance
       exceptions and to protect Purchaser against claims that may give rise to any
       mechanic's, material man's or other liens against the Property arising by, through or
       under Seller.

                            (4)    A duly executed final closing statement as provided by the
       Title Company.

                            (5) Evidence reasonably satisfactory to Purchaser and the Title
       Company that the person executing documents on behalf of Seller has the full power
       and authority to do so.

                           (6)   Such other instruments as are customarily executed in the
       state and county in which the Property is situated to effectuate the conveyance of the
       Property.

                    B.    Purchaser's Deliverables. At Closing, Purchaser, at Purchaser's
       sole cost and expense, will deliver or cause to be delivered to Seller and the Title
       Company the following:

                             (1)   Certified funds or United States bank cashier's check made
       payable in United States dollars to the Title Company or funds delivered by federal
       funds wire transfer to the Title Company in the amount of the Purchase Price, due credit
       being given for the Earnest Money and other adjustments and prorations as provided
       herein.



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                           (2)     The Deed duly executed and acknowledged by Purchaser.

                           (3)     A duly executed final closing statement as provided by the
      Title Company.

                          (4)    Evidence reasonably satisfactory to Seller and the Title
      Company that the person executing documents on behalf of Purchaser has the full
      power and authority to do so.

                          (5)   Such other instruments as are customarily executed in the
      state and county in which the Property is situated to effectuate the conveyance of the
      Property.

                    C.     Conditions Precedent to Closing. Seller and Purchaser have
      entered into a Letter Agreement for the sale and purchase of certain property located in
      Akron, Summit County, Ohio, attached hereto as Exhibit "E" ("Akron Transaction"). The
      Parties agree closing on the Akron Transaction is a condition precedent to Closing on
      this Agreement.

                    D.     Prorations and Adjustments.       In accordance with Section 12,
      current real estate taxes, assessments and charges will be prorated as of the Closing
      Date for the tax year of the applicable taxing authority, without regard to when said
      taxes are payable, so that the portion of current taxes allocable to the period from the
      beginning of such tax y,ear to the Closing Date will be the responsibility of Seller, and
      the portion of the current taxes allocable to the period from and including the Closing
      Date to the end of such tax year will be the responsibility of Purchaser.

                    E.      Closing Costs.     Closing costs will be apportioned and paid as
      follows:

                              Seller will pay the cost of i) the Owner's Title Policy (as defined
      below), except Purchaser will pay for (A) any endorsements not required for Seller to
      deliver title in the condition required under this Agreement and (B) the lender's policy of
      title insurance, ii) the cost of any title examination fees, iii) the cost for bringing forward
      the title abstract, iv) one-half the escrow fee charged by the Title Company, v) the cost
      of the Survey, vi) Seller's attorneys' fees, and vii) recordation and transfer taxes
      imposed by the county and by the city, if any, in connection with the recordation of the
      Deed (including without limitation any documentary transfer tax) and viii) all costs of
      recording the instruments to release all liens to be released at Closing and to cure title
      objections that Seller has agreed or is obligated pursuant to the terms hereof to cure.
      Purchaser will pay the costs of i) recording all instruments other than those to be
      recorded at Seller's expense, ii) all recording charges payable in connection with the
      recording of the Deed, iii) one-half the escrow fee charged by the Title Company, iv) all
      costs for title endorsements not the responsibility of Seller, v) the lender's policy of title
      insurance, and vi) Purchaser's attorneys' fees.

                   F.     Possession of the Property will be delivered to Purchaser at
      Closing and funding of the transaction contemplated herein.

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            5.      CONVEYANCE AND TITLE INSURANCE.

                      Conveyance will be by the Deed, and Seller will furnish Purchaser at
      Seller's expense an Owner's Policy of Title Insurance, insuring good and indefeasible
      fee simple title to the Property in the standard form promulgated by the applicable state
      insurance authority, issued by First American Title Company, Attn: Ms. Sharon Mork,
      whose address is 1790 Hughes Landing Boulevard, Suite 110, The Woodlands, Texas
      77380 (the "Title Company"), and in the amount of the Purchase Price (the "Owner's
      Title Policy"), subject to no exceptions or reservations other than the following:

                   A.     Standard Exceptions.     The customary and standard printed
      exceptions contained in the form of title policy promulgated by the California State
      Board of Insurance, including the standard exception regarding discrepancies, conflicts
      or shortages in area or boundary lines, or any encroachments or protrusions, or any
      overlapping of improvements. This exception may be amended at Purchaser's
      expense.

                   B.     Permitted Encumbrances.             The Permitted Encumbrances (as
      defined below) as set forth in Section 6 below.

                     C.     Taxes and Special Assessments. Ad valorem taxes and special
      assessments, if any, against the Property for the current year are prorated between
      Seller and Purchaser as of the Closing Date, as set forth in Sections 4.C. and 11. Seller
      shall be liable for payment of all such taxes and assessments for al! prior years. From
      and after the Closing Date Purchaser will pay all such ad valorem and special
      assessments, as well as any subsequent assessments for prior years due to a change
      in ownership or change in land usage.

                   D.     Survey. Any and all other matters as shown on the Survey (as
      defined below) or as would be shown on a current, accurate survey of the Property.

                   E.    Matters in the Deed. All other restrictions, reservations, notices,
      consents, covenants, exceptions and other matters stated in the Deed.

             6.   PERMITTED ENCUMBRANCES, TITLE COMMITMENT, AND TITLE
             EXAMINATION.

                   At Seller's cost, Seller will furnish within three (3) days from the Effective
      Date to Purchaser and the surveyor a current Commitment for Title Insurance issued by
      the Title Company, setting forth the state of title of the Property and all defects,
      objections and exceptions which the Title Company determines are of record or which
      may appear on the Survey or prior survey of the Property; if any, including easements,
      licenses, exceptions, conditions, reservations, rights-of-way, restrictions, covenants,
      and other encumbrances, if any, affecting the Property, along with copies of the
      documents that constitute the title exceptions (the "Title Commitment'').             Upon
      Purchaser's receipt of the Survey, the Title Commitment and copies of the instruments

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      affecting title, Purchaser will have thirty (30) days within which to review such
      documents and advise Seller in writing of Purchaser's objections to title or other
      objections to the Property (the "Objections"). Objections that Purchaser waives or to
      which Purchaser does not object within the 30-day period will be deemed approved by
      Purchaser (the "Permitted Encumbrances").            If Purchaser notifies Seller of any
      Objections, Seller shall, within ten (10) days from the date Seller receives Purchaser's
      notice of Objections, give written notice to Purchaser whether or not Seller will cure the
      Objections. If Seller fails to give such notice, Seller shall be deemed to have elected
      not to cure such Objections. If Seller elects to cure the Objections, Seller shall
      complete such cure prior to Closing. If, for any reason, Seller does not timely commit to
      cure or remove the Objections to the satisfaction of the Title Company and Purchaser,
      then Purchaser may, within the next twenty (20} days, as Purchaser's sole and
      exclusive remedy, either i) terminate this Agreement by notifying Seller of the
      termination, whereupon the Earnest Money will be returned to Purchaser, and the
      parties will be fully and finally released from all further obligations and liabilities
      under this Agreement, except as otherwise provided in this Agreement, or ii) waive the
      uncured Objections and close the transaction contemplated by this Agreement in
      accordance with its remaining terms and conditions, whereupon the Objections, or part
      thereof, waived will become Permitted Encumbrances, to be treated in the manner
      provided in this Agreement for Permitted Encumbrances. If Purchaser does not
      exercise its right to terminate under this section within the stated time period, Purchaser
      will be deemed to have waived its right to terminate this Agreement on the basis of
      Objections and to have elected to have waived the uncured Objections.

             7.     SURVEY.

                    At Seller's expense, Seller furnished to Purchaser and the Title Company,
      prior the Effective Date, a certified on-the-ground staked plat of survey of the Property
      (the "Survey"), dated November 16, 2017 prepared by a land surveyor selected by
      Seller and who is duly licensed in the State of California and satisfactory to the Title
      Company and the Purchaser. The Survey conforms to the current standards set out by
      the American Land Title Association (ALTA) classified as Minimum Standard Detail
      Requirements for ALTA/ACSM Land Title Surveys.

            8.  MUTUAL RELEASE                AND        PURCHASER'S       ASSUMPTION        OF
            RESPONSIBILITY.

                A.    IF THE CLOSING OCCURS,          EXCEPT FOR THOSE
      OBLIGATIONS OF SELLER SET FORTH IN THIS AGREEMENT, PURCHASER, FOR
      ITSELF AND ITS SUCCESSORS AND ASSIGNS, I) AGREES AND COVENANTS
      NOT TO SUE SELLER RELATED PARTIES (AS DEFINED BELOW) FOR ANY AND
      ALL CLAIMS (AS DEFINED BELOW), AND II) AGREES TO ACQUIT, RELEASE AND
      FOREVER DISCHARGE SELLER RELATED PARTIES FROM ANY AND ALL CLAIMS,
      IN BOTH CASES, THAT ARISE OUT OF OR RELATE TO, IN ANY WAY, THE
      CONDITION, OWNERSHIP, USE, MAINTENANCE OR OPERATION OF THE
      PROPERTY AT ANY TIME, WHETHER BEFORE, ON OR AFTER THE CLOSING
      DATE, NO MATTER HOW OR WHEN CAUSED, WHETHER KNOWN OR UNKNOWN,

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      THAT ARE ASSERTED OR MADE BY ANY PERSON OR ENTITY, WHETHER
      PUBLIC OR PRIVATE, UNDER ANY LAW, EXCEPT TO THE EXTENT ANY CLAIM
      ARISES OUT OF OR RELATES TO SELLER'S NEGLIGENCE OR WILLFUL
      MISCONDUCT. AS USED HEREIN, THE TERM "LAW' MEANS ANY STATUTE, LAW,
      RULE, REGULATION OR ORDINANCE, WHETHER FEDERAL, STATE OR LOCAL,
      WHETHER AT LAW OR EQUITY, WHETHER BY STATUTE, COMMON LAW,
      ADMINISTRATIVE OR REGULATORY PROCEEDING OR OTHERWISE, WHETHER
      BASED ON THI= NEGLIGENCE, STRICT LIABILITY, OR OTHER CONDUCT OF ANY
      PARTY HERETO OR OTHERWISE, TO INCLUDE WITHOUT LIMITATION AND BY
      WAY OF EXAMPLE ONLY, THE COMPREHENSIVE ENVIRONMENTAL RESPONSE,
      COMPENSATION, AND LIABILITY ACT, THE RESOURCE CONSERVATION AND
      RECOVERY ACT, THE CLEAN AIR ACT, THE SAFE DRINKING WATER ACT, AND
      THE CLEAN WATER ACT, OR SIMILAR OR COUNTERPART STATE STATUTES. AS
      USED HEREIN, THE TERM "CLAIMS" MEANS ANY AND ALL LOSSES, DAMAGES,
      CLAIMS, DEMANDS, LIABILITIES, SUITS, CAUSES OF ACTION, CROSS-CLAIMS
      OR COUNTERCLAIMS; ANY AND ALL RIGHTS OF CONTRIBUTION,
      SUBROGATION, INDEMNITY OR REIMBURSEMENT; ANY AND ALL LIENS,
      PAYMENTS, PENAL TIES OR FINES (CIVIL OR CRIMINAL) OR TAXES; AND ANY
      AND ALL EXPENSES, COSTS OR FEES, TO INCLUDE WITHOUT LIMITATION AND
      BY WAY OF EXAMPLE ONLY, ATTORNEYS' AND EXPERT WITNESS FEES AND
      COURT COSTS, AND ANY OTHER CHARGES OF ANY KIND OR NATURE
      WHATSOEVER. THE TERM "SELLER RELATED PARTIES" INCLUDES SELLER, ITS
      PARENT, AFFILIATES, SUBSIDIARIES, EMPLOYEES, OFFICERS, DIRECTORS AND
      AGENTS AND ALL THEIR RESPECTIVE REPRESENTATIVES, SUCCESSORS AND
      ASSIGNS. PURCHASER WAIVES ALL RIGHTS OR BENEFITS WHICH IT NOW
      HAS OR IN .THE FUTURE MAY HAVE UNDER THE TERMS OF SECTION 1542 OF
      THE CIVIL CODE OF THE STATE OF CALIFORNIA, WHICH READS:

                 "A GENERAL RELEASE DOES NOT EXTEND TO
                 CLAIMS WHICH THE CREDITOR DOES NOT KNOW OR
                 SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE
                 TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN
                 BY HIM OR HER MUST HAVE MATERIALLY AFFECTED
                 HIS OR HER SETTLEMENT WITH THE DEBTOR."

                 8.    IF THE CLOSING      OCCURS,    EXCEPT FOR THOSE
      OBLIGATIONS OF PURCHASER SET FORTH IN THIS AGREEMENT, SELLER, FOR
      ITSELF AND ITS SUCCESSORS AND ASSIGNS, I) AGREES AND COVENANTS
      NOT TO SUE PURCHASER RELATED PARTIES (AS DEFINED BELOW) FOR ANY
      AND ALL CLAIMS (AS DEFINED BELOW), AND II) AGREES TO ACQUIT, RELEASE
      AND FOREVER DISCHARGE PURCHASER RELATED PARTIES FROM ANY AND
      ALL CLAIMS, IN BOTH CASES, THAT ARISE OUT OF OR RELATE TO, IN ANY WAY,
      THE CONDITION, OWNERSHIP, USE, MAINTENANCE OR OPERATION OF THE
      PROPERTY AT ANY TIME, WHETHER BEFORE, ON OR AFTER THE CLOSING
      DATE, NO MATTER HOW OR WHEN CAUSED, WHETHER KNOWN OR UNKNOWN,
      THAT ARE ASSERTED OR MADE BY ANY PERSON OR ENTITY, WHETHER
      PUBLIC OR PRIVATE, UNDER ANY LAW, EXCEPT TO THE EXTENT ANY CLAIM

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       ARISES OUT OF OR RELATES TO PURCHASER'S NEGLIGENCE OR WILLFUL
       MISCONDUCT. AS USED HEREIN, THE TERM "LAW" MEANS ANY STATUTE, LAW,
       RULE, REGULATION OR ORDINANCE, WHETHER FEDERAL, STATE OR LOCAL,
       WHETHER AT LAW OR EQUITY, WHETHER BY STATUTE, COMMON LAW,
       ADMINISTRATIVE OR REGULATORY PROCEEDING OR OTHERWISE, WHETHER
       BASED ON THE NEGLIGENCE, STRICT LIABILITY, OR OTHER CONDUCT OF ANY
       PARTY HERETO OR OTHERWISE, TO INCLUDE WITHOUT LIMITATION AND BY
       WAY OF EXAMPLE ONLY, THE COMPREHENSIVE ENVIRONMENTAL RESPONSE,
       COMPENSATION, AND LIABILITY ACT, THE RESOURCE CONSERVATION AND
       RECOVERY ACT, THE CLEAN AIR ACT, THE SAFE DRINKING WATER ACT, AND
       THE CLEAN WATER ACT, OR SIMILAR OR COUNTERPART STATE STATUTES. AS
       USED HEREIN, THE TERM "CLAIMS" MEANS ANY AND ALL LOSSES, DAMAGES,
       CLAIMS, DEMANDS, LIABILITIES, SUITS, CAUSES OF ACTION, CROSS-CLAIMS
       OR COUNTERCLAIMS; ANY AND ALL RIGHTS OF CONTRIBUTION,
       SUBROGATION, INDEMNITY OR REIMBURSEMENT; ANY AND ALL LIENS,
       PAYMENTS, PENAL TIES OR FINES (CIVIL OR CRIMINAL) OR TAXES; AND ANY
       AND ALL EXPENSES, COSTS OR FEES, TO INCLUDE WITHOUT LIMITATION AND
       BY WAY OF EXAMPLE ONLY, ATTORNEYS' AND EXPERT WITNESS FEES AND
       COURT COSTS, AND ANY OTHER CHARGES OF ANY KIND OR NATURE
       WHATSOEVER.     THE TERM "PURCHASER RELATED PARTIES" INCLUDES
       PURCHASER,    ITS PARENT, AFFILIATES,     SUBSIDIARIES, EMPLOYEES,
       OFFICERS, DIRECTORS AND AGENTS AND ALL THEIR RESPECTIVE
       REPRESENTATIVES, SUCCESSORS AND ASSIGNS.        SELLER WAIVES ALL
       RIGHTS OR BENEFITS WHICH IT NOW HAS OR IN THE FUTURE MAY HAVE
       UNDER THE TERMS OF SECTION 1542 OF THE CIVIL CODE OF THE STATE OF
       CALIFORNIA, WHICH READS:

                  "A GENERAL RELEASE DOES NOT EXTEND TO
                  CLAIMS WHICH THE CREDITOR DOES NOT KNOW OR
                  SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE
                  TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN
                  BY HIM OR HER MUST HAVE MATERIALLY AFFECTED
                  HIS OR HER SETTLEMENT WITH THE DEBTOR."

                 C.  IF THE CLOSING OCCtJRS, EXCEPT FOR THE OBLIGATIONS
       OF SELLER UNDER THIS AGREEMENT, PURCHASER, FOR ITSELF AND ITS
       SUCCESSORS AND ASSIGNS, ASSUMES, UNDERTAKES AND ACCEPTS ANY
       AND ALL RESPONSIBILITIES, OBLIGATIONS, RISKS AND LIABILITIES, IF ANY,
       FOR I) THE ENVIRONMENTAL AND/OR PHYSICAL CONDITION OF THE
       PROPERTY, WHETHER EXISTING, CREATED OR SET IN PLACE BEFORE, ON OR
       AFTER THE CLOSING DATE, WHETHER KNOWN OR UNKNOWN, NO MATTER
       HOW OR WHEN CAUSED, WHETHER BASED ON PAST, PRESENT OR FUTURE
       CONDITIONS, OPERATIONS, ACTIVITIES OR EVENTS, ARISING UNDER OR
       RELATED TO ANY LAW, AND 11) THE ASSESSMENT, REMEDIATION, REMOVAL,
       TRANSPORTATION, DISPOSAL, TREATMENT OR OTHER DISPOSITION OF ANY
       AND ALL WASTES, MATERIALS AND SUBSTANCES IN, ON OR UNDER THE
       PROPERTY OR WHICH ARE RELATED TO OR ARISING FROM THE PROPERTY AT

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      ANY TIME, WHETHER HAZARDOUS OR NOT, THAT IS OR MAY BE REQUIRED
      UNDER ANY LAW.

                D.   THE TERMS AND CONDITIONS OF THIS SECTION 8 WILL
      SURVIVE THE CLOSING.

            9.   CONDITION OF PROPERTY.

                A.   PURCHASER ACKNOWLEDGES THAT (1) THE PROPERTY
      HAS BEEN USED AS AN AUTOMOBILE SERVICE STATION FOR THE STORAGE,
      SALE, TRANSFER AND DISTRIBUTION OF MOTOR VEHICLE FUEL, PETROLEUM
      PRODUCTS AND/OR DERIVATIVES CONTAINING HYDROCARBONS AND THAT
      SUCH FUEL, PETROLEUM PRODUCTS AND/OR DERIVATIVES AND/OR OTHER
      RELATED HAZARDOUS MATERIALS MAY HAVE BEEN SPILLED, LEAKED OR
      OTHERWISE DISCHARGED ONTO, INTO OR UNDER THE PROPERTY CAUSING
      CONTAMINATION TO THE SOIL AND/OR GROUNDWATER ON, IN OR UNDER THE
      PROPERTY; AND (2) THE AUTOMOBILE SERVICE STATION WAS CLOSED,
      DEMOLISHED AND UNDERGROUND STORAGE TANKS REMOVED IN
      APPROXIMATELY 2000;     (3)  SELLER    IS  CURRENTLY CONDUCTING
      REMEDIATION ACTIVITIES ON THE PROPERTY PURSUANT TO THE OVERSIGHT
      OF THE REGIONAL WATER QUALITY CONTROL BOARD ("RWQCBlf) AND THE
      CITY OF SANTA MONICA ("CITY"); AND (4) SELLER IS IN THE PROCESS OF
      SEEKING REMEDIATION CASE CLOSURE FROM THE RWQCB AND THE CITY.

                 B.    EXCEPT FOR THE EXPRESS LIMITED REPRESENTATIONS
      AND WARRANTIES, IF ANY, SET FORTH HEREIN AND IN THE DEED
      (COLLECTIVELY, THE      "SELLER'S    LIMITED  REPRESENTATIONS  AND
      WARRANTIES"), PURCHASER ACKNOWLEDGES AND AGREES THAT SELLER
      HAS NOT MADE, DOES NOT MAKE AND SPECIFICALLY DISCLAIMS ANY AND
      ALL     REPRESENTATIONS,      WARRANTIES,    PROMISES,   COVENANTS,
      AGREEMENTS OR GUARANTIES OF ANY KIND OR CHARACTER 'WHATSOEVER,
      WHETHER EXPRESS OR IMPLIED, ORAL OR WRITTEN, PAST, PRESENT OR
      FUTURE, OF, AS TO, CONCERNING OR WITH RESPECT TO i) THE NATURE,
      QUALITY OR CONDITION OF THE PROPERTY, INCLUDING, WITHOUT              0



      LIMITATION, THE WATER, SOIL, GEOLOGY, AND ENVIRONMENTAL CONDITION
      OF THE PROPERTY, ii) THE INCOME THAT MAY BE DERIVED FROM THE
      PROPERTY, iii) THE SUITABILITY OF THE PROPERTY FOR ANY AND ALL
      DEVELOPMENT, CONSTRUCTION, ACTIVITIES AND USES WHICH PURCHASER
      MAY CONDUCT THEREON, iv) THE COMPLIANCE OF OR BY THE PROPERTY OR
      ITS OPERATION (WHETHER EXISTING OR CONTEMPLATED) WITH ANY LAW, v)
      THE HABITABILITY, MERCHANTABILITY OR FITNESS OF THE PROPERTY FOR
      ANY PARTICULAR PURPOSE, vi) ANY COSTS OR FEES REQUIRED TO EXTEND,
      TIE, OR TAP INTO ANY UTILITIES SERVING THE PROPERTY OR TO OTHERWISE
      DEVELOP THE PROPERTY, OR vii) ANY OTHER MATTER WITH RESPECT TO
      THE PROPERTY. PURCHASER FURTHER ACKNOWLEDGES AND AGREES THAT
      PURCHASER HAS BEEN OR WILL BE GIVEN THE OPPORTUNITY TO INSPECT
      THE PROPERTY AND THAT PURCHASER IS RELYING OR WILL RELY SOLELY

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      ON ITS OWN INVESTIGATION OF THE PROPERTY AND NOT ON ANY
      INFORMATION PROVIDED OR TO BE PROVIDED BY SELLER OR ANY AGENT OR
      EMPLOYEE OF SELLER OR ON ANY REPRESENTATION, WARRANTY, PROMISE,
      COVENANT, AGREEMENT OR GUARANTEE FROM SELLER (NONE OF WHICH
      HAVE BEEN GIVEN EXCEPT AS EXPRESSLY PROVIDED ABOVE) OR ANY
      AGENT OR PURPORTED AGENT OF SELLER.           PURCHASER FURTHER
      ACKNOWLEDGES AND AGREES THAT ANY AND ALL INFORMATION PROVIDED
      OR TO BE PROVIDED BY SELLER WITH RESPECT TO THE PROPERTY WAS
      OBTAINED FROM A VARIETY OF SOURCES, AND THAT SELLER HAS NOT MADE
      ANY INDEPENDENT INVESTIGATION OR VERIFICATION OF SUCH INFORMATION
      AND MAKES NO REPRESENTATIONS AS TO THE ACCURACY OR
      COMPLETENESS OF SUCH INFORMATION.            PURCHASER FURTHER
      ACKNOWLEDGES AND AGREES THAT THE SALE OF THE PROPERTY AS
      PROVIDED FOR HEREIN IS MADE ON AN "AS-IS, WHERE-IS" AND "WITH ALL
      FAULTS" BASIS AND CONDITION SUBJECT ONLY TO SELLER'S LIMITED
      REPRESENTATIONS AND WARRANTIES, IF ANY.

            10.    REMEDIATION AND NO FURTHER ACTION REQUIREMENTS.

                   A.     Purchaser acknowledges that, as disclosed in Section 9 above,
      Seller is conducting certain monitoring, characterization and remediation activities on
      the Property (collectively, the "Remediation Activities").     Seller agrees to keep
      Purchaser reasonably informed of progress of the Remediation Activities and progress
      towards obtaining a "No Further Action" letter from the RWOCB and any other
      applicable agencies ("NFA").

                     B.    Notwithstanding anything to the contrary in this Agreement, Seller
      shall expeditiously perform all Remediation Activities necessary to obtain the NFA, at
      Seller's sole cost and expense, and shall obtain the NFA. Seller will use commercially
      reasonably efforts to obtain the NFA prior to Closing. However, Purchaser and Seller
      agree that receipt of the NFA is not a condition precedent to Closing. Seller and
      Purchaser agree that the NFA will not include any deed restrictions, engineering
      controls or other use limitations other than restrictions on residential use, ground water
      extraction for potable purposes and a passive vapor barrier under the foundation of any
      building.

                  C.      If Seller does not obtain an NFA prior to Closing, Seller and
      Purchaser agree to the following:

                         i.     Seller agrees that it will conduct the Remediation Activities in
      such a manner so as to not unreasonably interfere with redevelopment activities or
      occupancy of the Property by the Purchaser. Purchaser agrees to allow Seller
      reasonable access to the Property, at no cost, to conduct remediation activities.

                          ii.    Seller will continue to control the manner and methodology
      of the remediation of the Property, provided it is a form of active remediation or other
      remediation approved by the RWQCB, and will continue to lead communications with


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      the RWQCB regarding the Remediation Activities and obtaining NFA. Purchaser
      agrees that it will not initiate contact or communicate with the RWQCB regarding the
      Remediation Activities by Seller; provided, however, Purchaser may discuss
      redevelopment-related issues with the RWQCB. Seller shall give Purchaser written
      progress reports regarding the Remediation Activities and obtaining the NFA at least
      once each month and shall give Purchaser copies of all correspondence and other
      documents prepared or received by on or behalf of Seller in connection with the
      Remediation Activities and obtaining the NFA.

                           iii.   Seller shall be listed as the generator of all wastes caused
      by or originating from any Remediation Activities including, without limitation, any
      contaminated soil, sediment, groundwater, surface water, piping, buried structures or
      other substance or materials that Seller or any of Seller's Representatives encounter,
      excavate, dredge or remove. Seller must sign all manifests for transportation and
      disposal of any such wastes without reference to Purchaser or any of its affiliated
      companies on the manifests. Copies of all such manifests must be provided to the
      Purchaser. Within twenty (20) days of completing any phase of Remediation Activities,
      Seller must remove from the Property all such wastes generated by Seller's activities
      and properly dispose of such wastes at an appropriately licensed solid waste disposal
      facility. Seller and Seller's Representatives must ensure waste materials are properly
      contained and managed until they are properly disposed of.

                           iv.   Purchaser has provided Seller with its redevelopment plans,
      attached hereto as Exhibit "D". Seller agrees to remove or relocate such wells and
      below ground infrastructure identified above as reasonably requiring removal or
      relocation due to Purchaser's redevelopment, at Seller's sole cost and expense.
      Purchaser acknowledges and agrees that the RWQCB's approval may be required for
      any monitoring well or subsurface infrastructure removal. In the event Purchaser's
      redevelopment plans change in the future, Purchaser and Seller agree to cooperate in
      good faith to determine whether any existing monitoring wells and below ground
      infrastructure reasonably require removal or relocation prior to redevelopment of the
      Property; however, Seller will not be responsible for the costs associated with such
      removal or relocation.

                           V.    Seller agrees to provide Purchaser with a copy of the NFA
      promptly after receipt.

                    D.      Post-NFA Well Abandonment. Parties agree to cooperate in good
      faith regarding well abandonment.

                         i.    Seller will propose a well abandonment plan to RWQCB in
      accordance with the NFA and procure all necessary permits in a manner consistent with
      Purchaser's redevelopment plans.

                           ii.   Seller will promptly abandon all wells and other subsurface
      infrastructure according to regulation and RWQCB requirements, at Seller's sole cost
      and expense.


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                         iii. Seller will provide Purchaser             with   copies   of   all
      correspondence with RWOCB relating to well abandonment.

                           iv.     Purchaser agrees to provide Seller reasonable access, at no
      cost, to the Property for the purposes of well abandonment activities.

             11.    REVIEW PERIOD.

                     A.     Purchaser's Inspection Rights. For a period of ninety (90) days
      after the Effective Date (the "Review Period"), Purchaser, and Purchaser's employees,
      contractors, c;1gents and representatives (collectively "Purchaser's Representatives") at
      Purchaser's sole risk, cost and expense, may enter the Property to generally inspect
      and survey the Property and to conduct non-invasive tests and studies including a
      Phase I environmental assessment of the Property, if desired by Purchaser. If the
      findings of a Phase I environmental assessment recommend further environmental
      testing of the subsurface soil or groundwater, or Purchaser desires to conduct any
      invasive test, assessment (for example, a Phase II environmental assessment), survey,
      investigation, or other study of the soil and/or groundwater at the Property (collectively
      "Environmental Testing") during the Review Period, Purchaser must receive Seller's
      prior written consent before undertaking any such Environmental Testing, which
      consent shall not be unreasonably withheld, conditioned or delayed. Any request for
      Seller's consent must include a description of the specific assessment work to be
      performed including the manner and scope of such work. Purchaser's proposal should
      also include a health and safety plan for the proposed work scope. If Seller consents to
      such assessment, Purchaser must give Seller seven (7) business days' notice prior to
      performing such Environmental Testing so that Seller may have the opportunity to be
      present and to split or take its own test samples. Any Environmental Testing must be
      conducted in a manner so as not to permanently or materially damage the Property or
      interfere with current remediation efforts· at the Property. Purchaser must provide to
      Seller copies of all data and reports generated by such Environmental Testing within
      fourteen (14) days of data or report completion covering the field and laboratory data.
      Purchaser must not submit a copy of any such data or report to any governmental
      authority unless specifically required to do so by applicable law; and, if so required,
      Purchaser must first provide to Seller a copy of any such data or report and related
      information and make reasonable efforts to allow Seller to suggest corrections or
      modifications thereto, prior to submitting such data or report to such governmental
      authority.

                    B.     Seller's Documents. As of the Effective Date, Seller has made
      available to Purchaser or Purchaser's Representatives certain documents, reports and
      other records related to the Property and will provide additional documents to Purchaser
      after the Effective Date ("Due Diligence Documents"). A final list of Due Diligence
      Documents will be prepared at least two days before Closing. SELLER DOES NOT
      AND WILL NOT MAKE ANY REPRESENTATION OR WARRANTY AS TO THE
      ACCURACY OR COMPLETENESS OF ANY SUCH DOCUMENT, REPORT OR
      RECORD, ITS PREPARATION OR ANY INFORMATION UPON WHICH IT IS BASED;
      HOWEVER, SELLER DOES REPRESENT AND WARRANT TO PURCHASER THAT

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      THE COPIES OF SUCH DOCUMENTS FURNISHED TO PURCHASER ARE
      ACCURATE AND COMPLETE COPIES OF THE DOCUMENTS IN SELLER'S
      POSSESSION. Any reliance on any such document, report or record or any information
      contained therein provided by Seller will be at Purchaser's sole risk. Seller hereby
      advises Purchaser to conduct its own investigation to determine the accuracy of any
      document, report or record delivered to Purchaser and to determine the condition of the
      Property.

                    C.      Purchaser's Indemnification for Damage from Inspections. If any
      injury or damage to the Property is caused by the activities or operations of Purchaser
      or Purchaser's Representatives during the Review Period, Purchaser must immediately
      repair and restore, at its sole cost and expense, the Property to its former condition to
      the extent reasonably practical. Notwithstanding anything to the contrary herein, the
      Title Company may not release the Earnest Money until Purchaser has notified Seller
      that the Property has been repaired and restored to the required condition and Seller
      has verified the condition of the Property as repaired or restored. Purchaser is
      responsible for, and must acquit, release, and forever discharge and defend, indemnify
      and hold harmless Seller Related Parties from and against, any and all Claims that arise
      out of. or relate to, in any way, Purchaser's or Purchaser's Representatives' entry,
      activities or operations on, or use or occupancy of, the Property during the Review
      Period. The terms and conditions of this Section 11 survive, as applicable, the
      termination of this Agreement or the Closing and delivery of the Deed. Notwithstanding
      the foregoing, Purchaser shall have no liability or obligation to Seller whatsoever for any
      loss of damage suffered by Seller on account of Purchaser's discovery of conditions
      that existed prior to Purchaser's inspections, investigations or tests .

                     . D.    Insurance. Purchaser or Purchaser's Representatives accessing
      the Property must carry, commercial general liability coverage of not less than Two
      Million Dollars ($2,000,000.00) [combined single limit per occurrence] automobile
      liability insurance in amounts of not less than One Million Dollars {$1,000,000.00), and
      workers compensation and employer's liability insurance as required by the law of the
      state of California, covering liabilities arising out of Purchaser's activities on the
      Property. Purchaser's insurance policy(ies) must: i) cover Seller and its affiliates as
      additional insureds for liabilities arising from or assumed under this Agreement; and ii)
      be primary as to all other policies (including any deductibles or self-insured retentions).
      It is further agreed that Purchaser and its insurer(s) providing coverage must waive all
      rights of subrogation and/or contribution against Seller and its affiliates. Prior to
      commencement of any activities on the Property, Purchaser will deliver a true and
      correct copy of a certificate of insurance to Seller evidencing the required coverage and
      providing that should any of the policies above be cancelled before the expiration date
      thereof, notice will be delivered in accordance with the policy provisions. Purchaser
      must ensure that Purchaser's Representatives are adequately insured without necessity
      of duplicating Purchaser's required insurance.

                   E.     Contaminated Media. To the extent permitted by law, Purchaser
       will be deemed to be the generator of all wastes caused by or originating from any
     · Environmental Testing including, without limitation; any contaminated soil, sediment,

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     groundwater, surface water, piping, buried structures or other substance or materials
     that Purchaser or any of Purchaser's Representatives encounter, excavate, dredge or
     remove. Purchaser must sign all manifests for transportation and disposal of any such
     wastes without reference to Seller or any of its affiliated companies on the manifests.
     Copies of all such manifests must be provided to the Seller. Within twenty (20) days of
     completing any Environmental Testing, Purchaser must remove from the Property all
     such wastes generated by Purchaser's activities and properly dispose of such wastes at
     an appropriately licensed solid waste disposal facility.     Purchaser and Purchaser's
     Representatives must ensure waste materials are properly contained and managed until
     they are properly disposed of.

                    F.     Purchaser's Right to Terminate. Purchaser may terminate this
     Agreement at its sole option and discretion by giving notice to Seller on any day prior to
     and including the final day of the Review Period. Following such notice by Purchaser,
     Seller will return, or cause to be returned, to Purchaser any amount of the Earnest
     Money that is refundable. Upon such termination, neither party will have any further
     rights, obligations or liability under this Agreement, except as otherwise provided
     herein. If Purchaser fails to give notice of intent to terminate by the end of the Review
     Period, Purchaser will be conclusively presumed to have waived such right of
     termination. If Purchaser fails to give its termination notice on or before 5:00 p.m.
     Central Time on the last day of the Review Period then the Earnest Money will be
     nonrefundable except, as otherwise provided in this Agreement.

                     G.      Drugs, Alcohol, and Firearms. While on the Property during the
      Review Period, neither Purchaser nor Purchaser's Representatives may be in
      possession of a firearm, or use, possess, sell, distribute, or be under the influence of
      alcohol or illicit or non-prescribed cohtrolled drugs or substances at any time. Upon
      non-compliance with the preceding sentence, or upon reasonable cause for suspicion,
      Seller may immediately remove Purchaser or Purchaser's Representatives.              ·

            12.    TAXES.

                   Ad valorem taxes and special assessments, if any, will be prorated as of
     the Closing Date in accordance with Section 4.C, above, and Purchaser will assume
     and pay such taxes. Purchaser will be solely responsible for any and all subsequent
     assessments for prior years arising as a result of any change in ownership or change in
     land usage from and after the Closing Date. If tax statements or assessment
     statements are not available for the tax year of Closing, then the proration will be
     estimated and made on the basis of the tax or assessment statements for the preceding
     tax year; however, when actual tax statements and assessment statements for the year
     of Closing are available, a corrected proration of taxes and assessments will be made.
     In the event such taxes and assessments increase, Seller will pay to Purchaser Seller's
     pro rata share of such increase. In the event such taxes and assessments decrease,
     Purchaser will pay to Seller Seller's pro rata share of such decrease, computed to the
     Closing Date. Any such amounts due will be paid within thirty (30) days of the owing
     party's receipt of the request for payment from the other party.          The terms and
     conditions of this Section 12 survive the Closing and delivery of the Deed.

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             13. REPRESENTATIONS,                WARRANTIES,          COVENANTS           AND
             AGREEMENTS.

                    A.     Representations and Warranties of Purchaser.             Purchaser
      represents and warrants to Seller as of the Effective Date as follows, and covenants
      that such representations and warranties will continue to be true and correct as of the
      Closing Date, and the truth of which is a condition precedent to Seller's obligations to
      close the transaction contemplated herein:

                          (1)    Purchaser has, and will have, full power and authority to
      perform the terms and conditions of this Agreement and execute all documents which
      are contemplated by this Agreement. All actions necessary to confer such authority on
      the individuals executing this Agreement and all documents that are contemplated by
      this Agreement have been taken.

                          (2)   The execution by Purchaser of this Agreement and the
      consummation by Purchaser of the transactions contemplated hereby do not i) result in
      a breach of any of the terms or conditions of, or ii) constitute a default or a condition
      which upon notice or lapse of time or both would ripen into a default under, in both
      cases, any indenture, agreement, instrument or obligation to which Purchaser is a party.

                          (3)    Purchaser is not regarded as a "blocked person" on the
      Treasury Department's Office of Foreign Asset Control's list, issued under 31 Code of
      Federal Regulations, Section 594.

                           (4)  Purchaser is solvent, in good standing, is not in the hands of
      a receiver, nor is any application of receivership pending and no proceedings are
      pending by or against Purchaser for bankruptcy or reorganization in any state or federal
      court. Purchaser will have sufficient funds to deliver the Purchase Price at Closing as
      contemplated in this Agreement.

                           (5)    In the event Purchaser closes this transaction, Purchaser will
      be deemed to represent that (i) it has performed sufficient review and investigation,
      including, without limitation, review and investigation concerning the Property, to
      evaluate the Property to its satisfaction and to enable it. to make an informed decision,
      as a prudent and knowledgeable purchaser, to acquire the Property; (ii) it has evaluated
      the merits and risks of purchasing the Property and has formed an opinion based solely
      upon its knowledge, experience and investigations, and not upon any statements or
      actions by Seller Related Parties; and (c) other than Seller's Limited Representations
      and Warranties, it has not relied on statements or actions by Seller, its agents or
      assigns, in making its decision to acquire the Property.

                    B.     Representations and Warranties of Seller. Seller represents and
      warrants to Purchaser as of the Effective Date as follows, and covenants that such
      representations and warranties will continue to be true and correct as of the Closing
      Date, and the truth of which is a condition precedent to Purchaser's obligations to close
      the transaction contemplated herein:


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                           (1)    Seller has, and will have, full power and authority to perform
      the terms and conditions of this Agreement and execute all documents which are
      contemplated by this Agreement. All actions necessary to confer such authority on the
      individuals executing this Agreement and all documents that are contemplated by this
      Agreement have been taken.

                           (2)   The execution by Seller of this Agreement and the
      consummation by Seller of the transactions contemplated hereby do not i) result in a
      breach of any of the terms or conditions of, or ii) constitute a default or a condition which
      upon notice or lapse of time or both would ripen into a default under, in both cases, any
      indenture, agreement, instrument or obligation to which Seller is a party or by which the
      Property or any portion thereof is bound.

                          (3)   Seller is not regarded as a "blocked person" on the Treasury
      Department's Office of Foreign Asset Control's list, issued under 31 Code of Federal
      Regulations, Section 594.

                         (4)    Seller is not a "foreign person" as defined in Section 1445 of
      the United States Internal Revenue Code of 1986, as amended, and the regulations
      promulgated thereunder.

                    C.     The representations, warranties, covenants and agreements of
      Seller and Purchaser contained in this Section 12 will terminate eighteen (18) months
      following the Closing Date unless specifically stated otherwise.

             14.    INSURANCE

                    A.     Notice of No Right's to ExxonMobil's Insurance.

                               (1)     Seller and Purchaser acknowledge that Exxon Mobil
      Corporation maintains a worldwide program of property and liability insurance coverage
      for itself and its affiliates, including Seller. This program has been designed to achieve
      a co-coordinated risk management package for the entire Exxon Mobil Corporation
      corporate group. The program consists principally of three types of policies:
                                       (a)   Policies issued to Exxon Mobil Corporation or its
      predecessors {"ExxonMobil");

                                (b)    Policies issued directly to affiliates by one of
      ExxonMobil's wholly-owned insurance companies, i.e., Ancon Insurance Company, Inc.,
      Bluefield International Insurance Inc., et al, (herein referred to collectively as
      "ExxonMobil Captive Insurers"); and

                                  (c)    Policies issued to affiliates by locally admitted
      insurers which are re insured by one of the ExxonMobil Captive Insurers.

                              (d)    All of the insurance policies through which the
      worldwide program of coverage is presently or has previously been provided by or to


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      Exxon Mobil Corporation, its predecessors or affiliates are herein referred to collectively
      as the "ExxonMobil Policies."

                           (2)    It is understood and agreed by Purchaser that from and after
      the Closing Date:
                                 (a)    No insurance coverage will be provided under the
      ExxonMobil Policies to Purchaser;

                                 (b)   Any and all policies insured or reinsured by any of the
      ExxonMobil Captive Insurers which, but for this provision, would have insured the
      Property will be deemed terminated, commuted and cancelled ab initio; and

                                (c)    No Claims regarding any matter whatsoever, whether
      or not arising from events occurring prior to the Closing, will be made by Purchaser
      against or with respect to any of the ExxonMobil Policies regardless of their date of
      issuance.

                           (3)   Purchaser will acquit, release and forever discharge,
      defend, indemnify and hold harmless Seller Related Parties from any and all Claims
      made after the Closing against any of the ExxonMobil Policies by Purchaser or any
      company or person claiming to be subrogated to Purchaser's rights, including all costs
      and expenses (including attorney's fees) related thereto. Such indemnity will cover,
      without limitation, any Claim by an insurer for reinsurance, retrospective premium
      payments or prospective premium increases attributable to any such Claim.

                    B.    Purchaser's Insurance. Purchaser agrees to obtain and maintain or
      cause to be obtained and maintained Pollution Legal Liability (PLL) insurance coverage
      written by an insurer reasonably acceptable to Seller and rated not lower than "A" or
      better by AM Best & Company for a five (5) year period post-closing, naming Seller as
      an additional named insured.

                     C.    The terms and conditions of this Section 14 survive the Closing and
      delivery of the Deed.

             15.    REAL ESTATE COMMISSION / BROKER.

                    Seller represents and warrants that it has employed no real estate broker,
      agent, finder or intermediary other than Jones Lang LaSalle Americas, Inc. ("Seller's
      Agent"), and Purchaser represents and warrants that it has employed no real estate
      broker, agent, finder or intermediary ("Purchaser's Agent") in both cases in connection
      with the purchase and sale contemplated by this Agreement. Seller is responsible for
      payment of a brokerage commission to Seller's Agent upon the Closing and funding of
      the sale of the Property in accordance with terms set out in Seller's written listing
      agreement with Seller's Agent. Seller will pay no other commission or finder's fee in
      connection with this transaction. Any payment to Purchaser's Agent will be made
      pursuant to a separate agreement between Purchaser's Agent and Seller's Agent or
      Purchaser's Agent and Purchaser.


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                     Except as stated above, Seller and Purchaser each represent to the other
      that it has had no dealings or contacts of any kind with any real estate broker, agent,
      finder or intermediary with respect to i) this Agreement, ii) the negotiation of this
      Agreement, or iii) any transaction related to or incidental to this Agreement. Each party
      will forever defend, indemnify, and hold harmless the other party with respect to any
      and all Claims in connection with any claim for a finder's or broker's fee or commission
      asserted by a person or entity claiming to have acted as agent for or to have been
      engaged by the indemnifying party. The terms and conditions of this section
      survive, as applicable, the termination of this Agreement or the Closing and
      delivery of the Deed.

             16.    TERMINATION; DEFAULT; AND REMEDIES.

                       A.     If Purchaser delivers its Approval Notice and does not close the
      transaction contemplated by this Agreement or fails to perform any of Purchaser's other
      obligations either before or at Closing for any reason other than i) the termination of this
      Agreement by Purchaser pursuant to a right to terminate provided by this Agreement, or
      ii) Seller's failure to perform Seller's obligations under this Agreement, then Seller, as
      Seller's sole and exclusive remedy, except as otherwise provided in this Agreement,
      will have the right to terminate this Agreement by notice to Purchaser at or before
      Closing, whereupon neither party will have any further rights, obligations or
      liability under this Agreement, except as otherwise provided herein, and Seller will
      retain the otherwise refundable Earnest Money as liquidated damages, free of any
      claims by Purchaser or any other person. The Earnest Money to which the Seller is
      entitled under this section is a reasonable forecast of just compensation for the harm
      that would be caused by Purchaser's breach of this Agreement. Furthermore, the harm
      that would be caused by Purchaser's breach is one that is incapable of or very difficult
      to accurately estimate and the payment of the Earnest Money upon Purchaser's breach
      will constitute full satisfaction of Purchaser's obligations under this Agreement. If
      Purchaser disputes Seller's termination of the Agreement and its retention of the
      Earnest Money and either Seller or Purchaser files an action seeking a declaratory
      judgment with respect to the disposition of the Earnest Money, the prevailing party in
      such proceeding shall be entitled to recover its reasonable legal fees and
      disbursements actually incurred in connection with such proceeding, as well as any
      damages, losses, costs or expenses incurred by such prevailing party.

                    B.     If Seller does not close the transaction contemplated by this
      Agreement or fails to perform any of Seller's other obligations either before or at Closing
      for any reason other than i) the termination of this Agreement by Seller pursuant to a
      right to terminate provided by this Agreement, or ii) Purchaser's failure to perform
      Purchaser's obligations under this Agreement, then Purchaser, as Purchaser's sole
      and exclusive remedy, except as otherwise provided in this Agreement, will have the
      right to either a} enforce specific performance of Seller's obligations under this
      Agreement or b) terminate this Agreement by notice to Seller at or before Closing,
      whereupon neither party will have any further rights, obligations or liability under
      this Agreement, except as otherwise provided herein, and the Title Company, except as
      otherwise provided, will deliver the Earnest Money to Purchaser, free of any claims by

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      Seller or any other person. Notwithstanding the foregoing, if the remedy of specific
      performance is not feasible (e.g., because Seller has transferred the Property or any
      portion thereof or because a judgment lien or other defect of title has arisen which
      cannot be satisfied out of Seller's proceeds from Closing), Purchase shall be entitled to
      pursue whatever remedies are available to Purchaser under this Agreement at law or in
      equity.

             17.    CONDEMNATION; CASUALTY.

                    A.      If, before Closing, the Property or any part of the Property is
      condemned or taken by eminent domain, or if Seller has received notice of a proposed
      taking, Seller will promptly give notice to Purchaser, together with copies of all writings
      received by Seller in this regard and will promptly deliver to Purchaser all notices and
      other writings thereafter received by Seller pertaining to the taking. If such taking or
      condemnation would materially and adversely interfere with Purchaser's use of the
      Property in Purchaser's reasonable opinion, then Purchaser, at its option, may
      terminate by notice delivered to Seller by the earlier of i) the Closing Date, or ii) within
      twenty (20) days after Purchaser has received notice of such taking or condemnation,
      and the Earnest Money will be returned to Purchaser, and both parties will be released
      from any further liability and obligations hereunder, except as otherwise provided. If
      the Purchaser does not so elect to terminate this Agreement, then the Closing will take
      place as provided herein, and Seller will assign to Purchaser at Closing all interest of
      the Seller in and to any condemnation awards that may be payable to the Seller on
      account of such taking or condemnation.

                    B.    If prior to the Closing, any taking or condemnation of a portion of
      the Property occurs or is threatened, that in Purchaser's reasonable opinion, is not
      material to Purchaser's use of the Property, then Purchaser will have no right to
      terminate this Agreement, and Seller will assign to Purchaser at Closing all interest of
      the Seller in and to any condemnation awards that may be payable to the Seller on
      account of such taking or condemnation.

                      C.     Prior to Closing, risk of loss with regard to the Property by reason of
      casualty (except as provided below) is borne by Seller, and after Closing wlll be borne
      by Purchaser. If, prior to Closing, all or a substantial portion of the Property is materially
      damaged by fire or other casualty, then Purchaser has the option, which must be
      exercised by Purchaser within fifteen (15) days after receipt of notice from Seller
      advising of such casualty, to terminate this Agreement (in which case Purchaser shall
      receive a refund of the Earnest Money and Seller shall reimburse Purchaser for
      reasonable out-of-pocket third party costs incurred by Purchaser in connection with the
      inspections and investigations of the Property including without limitation any
      Environmental testing) in an amount not to exceed $20,000.00. In the case of a
      casualty, if Purchaser elects to proceed to Closing, there will be no adjustment of the
      Purchase Price and no assignment of any insurance proceeds. In the event Purchaser
      fails to notify Seller within such fifteen (15) day period, as provided in this paragraph,
      Purcha.ser will have waived the right to terminate and be deemed to have elected to
      proceed to Closing

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             18.   TIME OF ESSENCE.

                     Time is of the essence to both Seller and Purchaser in connection with
      this Agreement and the performance of obligations under it. The parties have agreed
      that strict compliance by both of them is required as to all dates and time periods set out
      herein.

             19.    TIME PERIODS.

                    Any and all time periods given in this Agreement which are specified by a
      certain number of days refers to calendar days, unless "business days" is otherwise
      expressly provided. If the final day of any time period set out in this Agreement falls on
      a Saturday, Sunday or Legal Holiday, then such time period will be extended to the next
      business day which is not a Saturday, Sunday or Legal Holiday. As used herein, the
      term "Legal Holiday" includes any national bank holiday and will include the extra days
      that Seller's offices are closed which are the Friday after Thanksgiving and one day
      before or after Christmas or two days before or after Christmas if Christmas falls on a
      Saturday or Sunday, in which event, Seller will advise Purchaser which day(s) before or
      after Christmas Seller's offices will be closed.

             20.    ENTIRE AGREEMENT; FURTHER WARRANTIES.

                     This Agreement and all of its attachments and exhibits constitute the
      entire agreement between Seller and Purchaser with regard to the subject matter
      hereof, and all prior agreements and undertakings, both written and oral, are merged in
      it. Neither party is bound by any prior representations, warranties, covenants,
      agreements, promises, or assurances whatsoever and by whomsoever made
      other than those representations, warranties, covenants, agreements, promises,
      or assurances specifically set forth in this Agreement, if any. Furthermore, except
      for Seller's Limited Representations and Warranties, if any, NO OTHER WARRANTIES,
      EXPRESS OR IMPLIED, ARE MADE OR EXTENDED BY SELLER.

             21.    NO RECORDING.

                    This Agreement may not be recorded in the real property records of Los
      Angeles County or any other county or with any public agency. If either party records
      this Agreement or any memorandum of it without the prior written consent of the .other
      party, which consent may be withheld at that party's sole option and discretion, the non-
      recording party may, among other remedies available to it at law or equity, terminate
      this Agreement by filing an affidavit of termination in the real property records where the
      Agreement was recorded.

             22.    ATTORNEYS' FEES.

                   If either party institutes an action or proceeding against the other arising
      out of or relating to the terms and conditions of this Agreement or any default
      hereunder, the non-prevailing party to such action or proceeding will reimburse the
      prevailing party therein for the reasonable expenses and attorneys' fees, including,

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      without limitation, expert witness fees and costs, all disbursements and litigation
      expenses incurred by the prevailing party.

             23.    BINDING EFFECT AND ASSIGNMENT.

                     This Agreement binds and inures to the benefit of the parties and their
      respective successors and permitted assigns; however, this Agreement must not be
      assigned by Purchaser without Seller's prior written consent, except that Purchaser may
      assign this Agreement without Seller's consent to any person or entity which controls
      Purchaser, is controlled by Purchaser or which is under common control with
      Purchaser. Any assignment without Seller's written consent will be void and without
      effect. Consent by Seller to any assignment of this Agreement will not operate as a
      waiver of Seller's right to approve any subsequent requests for assignment. In no event
      will any consent to assignment by Seller or any such assumption by any assignee
      release or relieve Purchaser from its obligations under this Agreement.

             24.    TERMINOLOGY.

                      The captions beside the numbered paragraphs of this Agreement are for
      convenience only and do not limit, enlarge, modify, or otherwise affect this Agreement.
      Wherever required by the context, any one gender includes all other genders, the
      singular includes the plural, and the plural includes the singular. As used herein, the
      word "includes" and its derivatives means "includes, but is not limited to" and
      corresponding derivative expressions and the word "or" is not intended to be exclusive.
      Examples will not be construed to limit, expressly or by implication, the matter they
      illustrate. All references in this Agreement to a "Section" or an "Exhibit" are to a section
      or exhibit of this Agreement, unless the context otherwise requires. Unless the context
      otherwise requires, the words "this Agreement," "hereof," "hereunder," ''herein," or words
      of similar import refer to this Agreement as a whole and not to a particular section,
      paragraph, clause or other subdivision.

             25.    CONSTRUCTION.

                     The terms and conditions of this Agreement will be construed as a whole
      according to their common meaning to achieve the objectives and purposes of this
      Agreement. Each of the parties represents and acknowledges that i) it and its
      respective counsel have reviewed this Agreement, and ii) this Agreement has been
      freely negotiated between the parties. The rule of construction that any ambiguities are
      to be resolved against the drafting party will not be employed in interpreting or
      construing this Agreement as both Seller and Purchaser acknowledge and agree they
      have equal bargaining power for purposes of this Agreement. Except as otherwise
      specifically provided herein, whenever a party's consent or approval is required in this
      Agreement, such party's consent or approval will not be unreasonably withheld,
      conditioned or delayed.

             26.    GOVERNING LAW; VENUE; COMPLIANCE WITH LAWS.



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                    A       This Agreement is being executed and delivered, and is intended to
      be performed, in the state of California, and the laws of the state of California govern
      the validity, construction, enforcement, and interpretation of this Agreement, without
      regard to, or effect of, any choice or conflict of law principles or rules, unless otherwise
      specified herein.

                  B.     By executing this Agreement, the parties consent to the exclusive
      venue and jurisdiction of any federal or state court sitting in the county of Los Angeles
      and state of California in any action arising out of or in any way related to this
      Agreement. The parties irrevocably and unconditionally submit to the jurisdiction
      (both subject matter and personal) of any such court and irrevocably and
      unconditionally waive: i) any objection any party might now or hereafter have to
      the venue in any such court; ii) any claim that any action or proceeding brought
      in any such court has been brought in an inconvenient forum.

                     C.     Each party covenants and agrees that it will, at all times, comply
      with all applicable laws in its performance under this Agreement.

             27.    NOWAIVER.

                    Except as otherwise specifically provided in this Agreement, failure by
      Purchaser or Seller to insist upon or enforce any rights herein will not constitute a
      waiver thereof or of any other provision herein. No waiver by either party of a breach by
      the other party will be deemed to be a waiver of any subsequent breach by the same
      party of the same or any other provision. Neither this Agreement nor any of its terms
      and conditions can be waived, discharged or terminated, except by an instrument in
      writing signed by the party against whom enforcement of the waiver, discharge or
      termination is sought.

             28.    WAIVER OF JURY TRIAL.

                SELLER AND PURCHASER WAIVE TRIAL BY JURY IN ANY ACTION,
      PROCEEDING OR COUNTERCLAIM BROUGHT BY EITHER OF THEM AGAINST
      THE OTHER ON ANY MATTER ARISING OUT OF OR IN ANY WAY RELATED TO
      THIS AGREEMENT.

             29.    SEVERABILITY.

                  The terms and conditions of this Agreement are severable. If a court of
      competent jurisdiction finds that any term or condition of this Agreement is
      unenforceable, the remaining terms and conditions will remain in effect without the
      unenforceable parts.

             30.    MODIFICATION.

                   Any amendment, change, supplement or modification of this Agreement
      must be in writing and executed by the parties.


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            31.    FURTHER ASSURANCES.

                     Purchaser and Seller will execute and deliver   to the other, whether prior to
      or after Closing, such further documents or instruments        as may be reasonable and
      necessary in furtherance of the performance of the terms,      covenants and conditions of
      this Agreement. The terms and conditions of this section        survive the Closing and the
      delivery of the Deed.

            32.    NOTICES.

                     Any notices or other communications required or permitted under this
      Agreement must be in writing and made by electronic mail, facsimile (with confirmation
      of receipt), nationally recognized overnight delivery service by a carrier such as Federal
      Express or UPS that requires receipt of delivery, personal delivery, or registered or
      certified mail, postage prepaid, return receipt requested. Said notice or communication
      will be deemed received on the earlier of: i) the date of actual receipt (or rejection of
      delivery) of the notice or communication by the intended recipient, or ii) the third day
      after the date mailed. Notices or communications received or delivered after 5:00 p.m.
      Central Time on a given day will be deemed received on the next following day. In
      order for any notice or communication sent by electronic mail or facsimile to be
      effective, said notice or communication must also be provided concurrently by one of
      the other methods described in this section. Notices or communications must be
      addressed as provided below, but each party may change its address by written notice
      in accordance with this section.

                   To Seller:           Exxon Mobil Corporation
                                        Attention: Brian Steelman
                                                   Commercial Portfolio Manager
                                        22777 Springwoods Village Parkway, W3.2B.481
                                        Spring, Texas 77389
                                        Phone:        (832) 625-3055
                                        Email: brian.steelman@exxonmobil.com

                   With a copy to:      Exxon Mobil Corporation
                                        Attention: Annette Moore
                                                   Counsel
                                        P. 0. Box 812
                                        Kittredge, Colorado 80457
                                        Phone:        (303) 670-3683
                                        Email: annette@mooreenvirolaw.com

                   To Purchaser:        PC Venice and Sepulveda LLC
                                        Attention: Rahul Paliwal
                                        1507 7th Street #201
                                        Santa Monica, California 90401
                                        Phone:       (855) 955-1041 x701
                                        Ema ii: rp@pacificcollective.com


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                    With a copy to:       Dzida, Carey & Steinman
                                          Attention: Steven J. Dzida
                                          3 Park Plaza, Suite 750
                                          Phone:       (949) 399-0363
                                          Facsimile:   (949) 399-0361
                                          Email: sdzida@dcslaw.com

                    To Title Company: First American Title Company
                                      Attention: Ms. Sharon Mork
                                      1790 Hughes Landing Boulevard, Suite 110
                                      The Woodlands, Texas
                                      Phone:       (832) 246-5342
                                      Fax:         (888) 581-0730
                                      Email: smork@firstam.com

             33. CONFIDENTIALITY AND                PUBLIC      STATEMENT OR RELEASES;
             TRADEMARKS.

                     A.      Except as may be reasonably required in connection with the
       consummation of the transaction contemplated hereby, Purchaser and Seller, before
       Closing must keep confidential i) the existence of this Agreement and the terms and
       conditions hereof, ii) all documents and other information provided by Seller to
       Purchaser and by Purchaser to Seller, and iii) any information contained in any
       environmental assessment, data or other study or test concerning the Property, whether
       performed pursuant to Section 11 or otherwise (collectively "Confidential Information").
       Purchaser and Seller must not disclose any Confidential Information to any person other
       than i) its employees, ii) consultants who are engaged to assist Purchaser in deciding
       whether to acquire the Property, including, without limitation, legal counsel iii) lenders
       for financial purposes, and iv) Seller or Purchaser, as applicable.                 The term
       "Confidential Information" does not include any such information that is in the public
       domain through a source other than the other party hereto. Prior to disclosing
       information to any person, including those listed, Purchaser, or Seller, as applicable,
       must require that the person (other than Seller) agree in writing to keep the information
       confidential. If Purchaser, or Seller, as applicable, is compelled by applicable legal
       process to disclose any Confidential Information, Purchaser, or Seller, as applicable,
       must not disclose the information until after first notifying the other party of the proposed
       disclosure, giving the other party a reasonable opportunity to seek injunctive relief
       against such disclosure and providing the other party with a complete copy of all
       transmittals of the information to be provided to the applicable governmental body. If
       the Closing does not occur within the time required by this Agreement, or upon earlier
       termination of this Agreement, Purchaser, or Seller, as applicable, must promptly deliver
     · to the other party all originals and copies of all Confidential Information in such party's
       or its employees', consultants', lenders', or other agents' or representatives' possession.
       Purchaser, or Seller, as applicable, must cause any third parties to whom it has
       disclosed all Confidential Information to return such Confidential Information promptly to
       the other party, or to provide a written certificate that such Confidential Information has
       been permanently destroyed without retaining any copies.

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                    B.      Prior to the Closing, neither the Seller nor Purchaser (including their
      respective employees, agents or representatives) may issue any press releases
      whether to any periodicals, newspapers, radio, television, or other media, concerning
      the transaction contemplated in this Agreement or with respect to any of the terms or
      conditions herein contained, without the prior written approval of the other, which
      approval is at the sole option and discretion of said other party.

                    C.      Notwithstanding Section 16 above, in the event the confidentiality
     terms and conditions of this Section 33 are violated, the parties to this Agreement
     acknowledge and agree that injunctive relief is an appropriate and necessary remedy
     for such violation, that no adequate remedy at law exists, and that the requirement for a
     bond to be posted for the issuance of such injunctive relief will be waived. In the event
     of any such violation, the non-violating party will be entitled to seek equitable relief in
     addition to all remedies and damages to which it might be entitled under common law or
     at equity for a violation of this Section 33.

                  D.    The rights in or rights to use any name, trade name or trademark
     (including any former name, trade name or trademark) of Seller or its affiliates are
     excluded from this transaction and are not a part of the sale and conveyance of the
     Property.

             34.    SURVIVAL.

                   The terms, conditions and obligations of this Agreement that cannot be
      performed before termination or Closing or that either expressly or by their nature
      survive termination or the Closing and the delivery of the Deed, as applicable, will
      survive termination or the Closing and delivery of the Deed, and the legal doctrine of
      merger will not apply to these matters.

             35.    TAX DEFERRED EXCHANGE

                   Seller and Purchaser may elect by notice to the other before the Closing
     Date to effect a tax-deferred exchange under Section 1.031 of the Internal Revenue
     Code of all or part of the Property, provided that no such exchange may delay. the
     Closing. If a party so elects, the other party will cooperate with and accommodate the
     electing party and will execute escrow instructions, documents, agreements, or other
     instruments, as reasonably requested by the electing party, to effect the exchange,
     provided that the cooperating party shall not be obliged to take title to any property other
     than the Property and shall incur no cost or liability on account such cooperation. The
     electing party may assign its rights and delegate its duties under this Agreement to an
     exchange intermediary that it selects, as may be necessary to effect a tax-deferred
     exchange.

             36.    STANDARDS OF BUSINESS CONDUCT.

                    The parties (and their employees, agents and contractors), in performing
     their obligations under this Agreement, must exercise reasonable care and diligence to
     prevent any action or condition which may result in a conflict of interest with those of the

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      other party. Each party's compliance with this requirement includes but is not limited to,
      establishing precautions to prevent that party's employees or agents from making,
      receiving, providing or offering substantial gifts, entertainment, payments, loans or other
      considerations for the purpose of influencing individuals to act contrary to the other
      party's best interest Each party must promptly notify the other party of the identity of its
      representatives or employees who are known in any way to have a substantial interest
      in the other party's business or the financing thereof.

             37.    INDEPENDENT CONTRACTOR.

                    Nothing herein creates anything other than a purchaser-seller relationship
      between Seller and Purchaser. The parties affirm and acknowledge they are each
      independent and separate business entities, and nothing in this relationship creates a
      joint venture, partnership, agency, fiduciary, franchise or employer-employee
      relationship between the parties.

             38.    FORCE MAJEURE.

                    The deadline for performance of any obligation of a party hereunder shall
      be automatically extended one day such performance is delayed on account of force
      majeure, which as used herein means acts of God, strikes, lockouts, sit-downs, material
      or labor restrictions by any governmental authority, civil riot, floods, wash-outs,
      explosions, earthquakes, fires, storms, acts of the public enemy, acts of terrorism, wars,
      insurrections, defaults by the other party and any other cause not reasonably within the
      control of the party whose performance is delayed by force majeure and which, by the
      exercise of due diligence, the claiming party is unable, wholly or in part, to prevent or
      overcome.

             39.    NO THIRD-PARTY BENEFICIARIES.

                     The terms and conditions of this Agreement do not impart or confer any
      right, interest, remedy or claim enforceable by any person, firm or organization not a
      party hereto or not a successor or assignee of a party to this Agreement.
      Notwithstanding the preceding sentence, Seller Related Parties may enforce the terms
      and conditions of Section 8, above ..

             40.    COUNTERPARTS.

                    This Agreement may be executed in counterparts, each of which will be
      deemed an original document, but all of which will constitute a single document. This
      document will not be binding on or constitute evidence of a contract between the parties
      until such time as a counterpart of this document has been executed by each party and
      an original thereof delivered to the other party to this Agreement. Electronic signatures
      alone are not binding on either party.

             41.    EXHIBITS.




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                    All attachments and exhibits to this Agreement are incorporated herein for
      all purposes. The attachments and exhibits are as follows:

      Exhibit   "A ' 1   -   Property Description
      Exhibit   "B" -        Grant Deed/Environmental Restrictions
      Exhibit   "C" -        Non-foreign Affidavit/FIRPTA
      Exhibit   "D" -        Purchaser's Redevelopment Plans
      Exhibit   "E" -        Akron Transaction - Letter Agreement

                     EXECUTED IN TRIPLICATE ORIGINALS on the dates shown by the
      signatures below, to be effective on the date of the signature on behalf of Seller, which
      will be the Effective Date ("Effective Date") of this Agreement.




                                       [Signature pages follow.]




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             --~-------------~----~--~-------------'
..............




                                       SELLER:

                                       EXXONMOBIL OIL CORPORATION,
                                       a New York coc oration


                                       By; Mari       . Quezada
                                       Agent and Attorney-In-Fact

                                       Date:        "k~~        3
                                                     (Effectivate)
                                                                          ,20UI)



                                       PURCHASER:

                                       PACIFIC COLLECTIVE, LLC,
                                       a Delaware limited liability company



                                       By:   J?P4=;Q Rahul Palh,yal
                                             Maoa~ng Director     [name and title]
                                       Date:         ovember 5            • 2019




                                      Paga 270143




                                                                  ----- _____    .~   ...__
                                                                                      !


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           The Title Company executes this Agreement to aek11owledge I eceiµL of ti 1e Eamest
          -Maney 3nd te evidence its agreement to handle and dispose of the Earnest Money and
          otherwise to perform the duties of the Titre Company in accordance with the tenns and
          conditions of this Agreement.




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                                           EXHIBIT "A"

                        To Sale and Purchase Agreement between
        ExxonMobil Oil Corporation, as Seller, and PC Venice and Sepulveda LLC, as
                                        Purchaser


                                    PROPERTY DESCRIPTION

      That portion of Lot 15 as shown on map of the 120.71 acre tract, belonging to the Estate
      of Pedro Talamantes, deceased, in the Rancho La Ballona, in the City of Culver City,
      County of Los Angeles, State of California, filed in Case No. 7078 of the Superior Court,
      described as follows:

      Beginning at the Point of Intersection of the Southwesterly line of said Lot 15, with the
      Southeasterly line of the thirty (30) foot strip conveyed to the County of Los Angeles by
      deed recorded in Book 4224, Page 208 of Deeds, Records of said county; thence South
      33°13' East along said Southwesterly line, a distance of One Hundred Thirty (130) feet;
      Thence North 55°48'30" East, parallel with the Southeasterly line of the Thirty (30) foot
      strip conveyed to said County of Los Angeles· by deed hereinbefore referred to, a
      distance of One Hundred Fifty (150) feet; Thence North 33°13' West parallel with the
      Southwesterly line of said Lot 15, a distance of One Hundred Thirty (130) feet to a point
      in the Southeasterly line of said Thirty (30) foot strip; Thence South 55°48'30" West
      along said Southeasterly line One Hundred Fifty (150} feet to the Point of Beginning.

      Excepting therefrom the Southwesterly Fifty (50) feet thereof included within the line of
      Sepulveda Boulevard.

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                                        EXHIBIT "B"
         To Sale and Purchase Agreement between EXXONMOBIL OIL CORPORATION,
                as Seller, and PC VENCIE AND SEPULVEDA LLC, as Purchaser.


                             GRANT DEED/ENVIRONMENTAL RESTRICTIONS
                                      SOUTHERN CALIFORNIA



     STATE OF CALIFORNIA                           §
                                                   §     KNOW ALL MEN BY THESE PRESENTS:
     COUNTY OF LOS ANGELES                         §



      Date:                                - - - - - - - - - - ' 2019

     Grantor:                               EXXONMOBIL OIL CORPORATION,
                                            a New York corporation

     Grantor's Mailing Address: 22777 Springwoods Village Parkway
                                W3.2B.481
                                Spring, Texas 77389

      Grantee:                              PC VENICE AND SEPULVEDA LLC


      Grantee's Mailing Address: 1507 7th Street #201
                                 Santa Monica, CA 90401

     Consideration:                         $10.00 cash and other valuable consideration, the receipt
                                            and sufficiency of which are hereby acknowledged.

      Property:                              The surface estate that certain .30 acre parcel of land,
                                             located in Culver City, County of Los Angeles, State of
                                             California, said parcel being further described on Appendix
                                             "A" attached hereto, together with all improvements,
                                             fixtures, and personal property, if any, located on or under
                                             the Property, and all of Grantor's rights, titles, interests,
                                           · licenses, privileges, hereditaments and appurtenances, if
                                             any inuring to the benefit of the Property including, without
                                             limitation, all right, title and interest of Grantor in and to all
                                             adjacent streets, alleys, rights of way, and, if any, benefiting
                                             and/or burdening the Property.



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      Reservations from and Exceptions to Conveyance and Warranty:

      1.       Permitted Encumbrances.        This Grant Deed/Environmental Restrictions is
               subject only to any and all (i) valid and subsisting easements, rights-of-way,
               conditions; covenants, restrictions, reservations, exceptions and other
               encumbrances of record (not including liens), (ii) all building and land use
               ordinances, laws, regulations and restrictions by municipal or other governmental
               authority applicable to the Property, and (iii) any rights in or encumbrances on
               the Property which are evident by a physical inspection or survey of the Property.

      2.       Taxes. Taxes and assessments for the current year are prorated as of the
               Effective Date above, and Grantee assumes the payment of such taxes and
               assessments after this Effective Date.

      3.       Use Restrictions:      No Residential Use.       No Use of Groundwater.         No
               Substructures. No Agricultural Use. To ensure the continued protection of the
               environment and the health and safety of current and future owners of the
               Property the following restrictive covenants and environmental covenants, which
               pursuant to California Civil Code Section 1471 (b), will be established and run
               with the land and will be binding on all current and future owners of the Property,
               and their respective heirs, successors and assigns, lessees, or other occupiers
               and users of the Property:

               a)       The Property may not be used for any "residential" construction;
                        development, use, or purpose, which shall without limitation be interpreted
                        to mean and include a prohibition against use for single or multi-family
                        residences, residences for children, the elderly or the infirm, churches and
                        places of worship, schools, nurseries and other pre-school facilities,
                        nursing or convalescent homes, hospitals, health clinics, or other medical
                        facilities, day care facilities, playgrounds, recreational parks, hotels,
                        motels, bed and breakfasts, parks, and any other "Residential land use"
                        restrictions or limitations set forth or described in any and all building,
                        zoning and land use ordinances, laws, regulations and restrictions by
                        municipal or other governmental authorities applicable to the Property.
                        Notwithstanding the above, the Property may be used for high density
                        residential as. long as there are no residential units on the ground floor and
                        ground floor uses are commercial only.

               b)       No groundwater in or under the surface of the Property may be used for
                        any potable purposes. The construction or installation of any water supply
                        well, whether for drinking, human consumption, or any other potable
                        purpose on the Property is prohibited.             ·

               c)       Grantee, at its sole cost and expense, shall use appropriately engineered
                        impervious vapor barriers or liners designed, constructed and maintained
                        to prevent the migration of hydrocarbon vapors, if any, from the soil to the



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                        interior of any structures to be constructed at or on the Property in areas
                        where a building will be constructed.

               d)       The restrictions, prohibitions and limitations contained in immediately
                        preceding subparagraphs "a," "b," and "c," above, are referred to as "Use
                        Restrictions."

               e)       Granter reserves for itself and Grantor's Related Parties, defined
                        hereinafter, a right of access to the Property, at no cost to Grantor, for the
                        sole purposes of remediation activities conducted to achieve a "No Further
                        Action" letter from the Regional Water Quality Control Board and to
                        abandon monitoring wells after receipt of a "No Further Action" letter from
                        the Regional Water Quality Control Board. Granter may also temporarily
                        store remediation wastes on the Property, in compliance with all laws,
                        generated pursuant to remediation activities and monitoring well
                        abandonment. Once a "No Further Action" letter is received from the
                        Regional Water Quality Control Board and all monitoring wells have been
                        abandoned, access rights hereunder will terminate. The access rights in
                        this paragraph are referred to as "Access Rights."

               f)       These Use Restrictions and Access Rights shall run with the land, are
                        binding on Grantor and Grantee and all their successors and assigns, as
                        well as all future occupants and owners of the Property and shall be
                        recognized in, and survive, all subsequent sales, transfers, leases,
                        assignments or other conveyances, in whole or part, of the Property. The
                        Use Restrictions shall be referenced in all deeds or other instruments
                        associated with any subsequent sale, transfer, lease, assignment or other
                        conveyance, in whole or in part, of the Property, and the failure to include
                        the Use Restrictions in any future deeds or instruments shall in no way
                        limit or impair the validity of the Use Restrictions. The Use Restrictions
                        will remain effective and in force permanently unless and until waived in
                        writing by Grantor, in its sole discretion.

      4.       "AS-IS" Conveyance. No Warranties. As a material part of the Consideration for
               this Special Warranty Deed, Grantor and Grantee acknowledge and agree that
               Grantee is taking the Property "AS IS, WHERE IS, WITH ALL FAULTS," with
               any and all latent and patent defects and that there is no warranty by Grantor that
               the Property has a particular financial value or is fit for a particular purpose.
               Grantee acknowledges and stipulates that Grantee is not relying on any
               representation, statement, agreement, inducement or other assertion with
               respect to the condition of the Property (to include, without limitation; the
               environmental or physical condition) but is relying solely on Grantee's
               examination of the Property. Grantee takes the Property with the express
               understanding and stipulation that there are no express or implied warranties
               or representations by Grantor of any kind. Grantee's acceptance of the
               Property is at the sole risk and liability of Grantee with respect to i) the



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               present status and condition of the Property, ii) the suitability, fitness or
               acceptability of the Property for Grantor's purposes and iii) the right of
               Grantee to access the Property or to ingress and egress to and from the
               Property. Further, Grantee acknowledges and stipulates that it has had access
               to the Property to conduct its own investigation and assessment and is well
               aware of the condition of the Property.

      5.       Release.
               a)    GRANTEE'S RELEASE. GRANTEE, FOR ITSELF AND ITS SUCCESSORS AND
               ASSIGNS. 1) AGREES AND COVENANTS NOT TO SUE GRANTOR'S RELATED PARTIES (AS
               DEFINED BELOW) FOR ANY AND ALL CLAIMS (AS DEFINED BELOW),UNLESS SUCH CLAIMS
               ARISE OUT OF THE GROSS NEGLIGENCE OR WILLFUL MISCONDUCT OF ANY GRANTOR'S
               RELATED PARTIES AND 11) AGREES TO ACQUIT, RELEASE AND FOREVER DISCHARGE
               GRANTOR'S RELATED PARTIES FROM ANY AND ALL CLAIMS, IN BOTH CASES, THAT ARISE
               OUT OF OR RELATE TO, IN ANY WAY, THE CONDITION, OWNERSHIP, USE, MAINTENANCE
               OR OPERATION OF THE PROPERTY AT ANY TIME, WHETHER BEFORE, ON OR AFTER THE
               DATE ABOVE NO MATTER HOW OR WHEN CAUSED, WHETHER KNOWN OR UNKNOWN, THAT
               ARE ASSERTED OR MADE BY ANY PERSON OR ENTITY, WHETHER PUBLIC OR PRIVATE,
               UNDER ANY LAW, UNLESS SUCH CLAIMS ARISE OUT OF THE GROSS NEGLIGENCE OR
               WILLFUL MISCONDUCT OF ANY GRANTOR'S RELATED PARTIES As USED HEREIN, THE
               TERM "LAW" SHALL MEAN ANY STATUTE, LAW, RULE, REGULATION OR ORDINANCE,
               WHETHER FEDERAL, STATE OR LOCAL, WHETHER AT LAW OR EQUITY, WHETHER BY
               STATUTE, COMMON LAW, ADMINISTRATIVE OR REGULATORY PROCEEDING OR
               OTHERWISE, WHETHER BASED ON THE NEGLIGENCE, , STRICT LIABILITY, OR OTHER
               CONDUCT OF ANY PARTY HERETO OR OTHERWISE, TO INCLUDE WITHOUT LIMITATION AND
               BY WAY OF EXAMPLE ONLY, THE COMPREHENSIVE ENVIRONMENTAL RESPONSE,
               COMPENSATION, AND LIABILITY ACT, THE RESOURCES CONSERVATION AND RECOVERY
               ACT, THE CLEAN AIR ACT, THE SAFE DRINKING WATER ACT, AND THE CLEAN WATER
               ACT, OR SIMILAR OR COUNTERPART STATE STATUTES. AS USED HEREIN, THE TERM
               "CLAIMS" SHALL MEAN ANY AND ALL LOSSES, DAMAGES, CLAIMS, CAUSES OF ACTION,
               CROSS-CLAIMS, COUNTERCLAIMS, RIGHTS OF CONTRIBUTION OR INDEMNITY, RIGHTS OF
               REIMBURSEMENT, LIENS, SUITS, LIABILITIES, DEMANDS, PAYMENTS, EXPENSES, COSTS
               AND FEES, TO INCLUDE WITHOUT LIMITATION AND BY WAY OF EXAMPLE ONLY,
               ATTORNEYS' AND EXPERT WITNESS FEES, COURT COSTS, CIVIL OR CRIMINAL PENALTIES
               OR FINES, TAXES AND ANY OTHER CHARGES OF ANY KIND OR NATURE WHATSOEVER.
               THE TERM "GRANTOR'S RELATED PARTIES" SHALL INCLUDE GRANTOR AND ITS
               AFFILIATES, SUBSIDIARIES, EMPLOYEES, OFFICERS, DIRECTORS AND AGENTS AND THEIR
               RESPECTIVE REPRESENTATIVES, SUCCESSORS AND ASSIGNS. GRANTEE WAIVES
               ALL RIGHTS OR BENEFITS WHICH IT NOW HAS OR IN THE FUTURE MAY
               HAVE UNDER THE TERMS OF SECTION 1542 OF THE CIVIL CODE OF THE
               STATE OF CALIFORNIA, WHICH READS:

                                  "A GENERAL RELEASE DOES NOT EXTEND TO
                                  CLAIMS WHICH THE CREDITOR DOES NOT
                                  KNOW OR SUSPECT TO EXIST IN HIS OR HER
                                  FAVOR AT THE TIME OF EXECUTING THE



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                                 RELEASE, WHICH IF KNOWN BY HIM OR HER
                                 MUST HAVE MATERIALLY AFFECTED HIS OR
                                 HER SETTLEMENT WITH THE DEBTOR."

               b)    GRANTOR'S RELEASE. GRANTOR, FOR ITSELF AND ITS SUCCESSORS AND
               ASSIGNS. 1) AGREES AND COVENANTS NOT TO SUE GRANTEE'S RELATED PARTIES (AS
               DEFINED BELOW) FOR ANY AND ALL CLAIMS (AS DEFINED BELOW),UNLESS SUCH CLAIMS
               ARISE OUT OF THE GROSS NEGLIGENCE OR WILLFUL MISCONDUCT OF ANY GRANTEE'S
               RELATED PARTIES AND 11) AGREES TO ACQUIT, RELEASE AND FOREVER DISCHARGE
               GRANTEE'S RELATED PARTIES FROM ANY AND ALL CLAIMS, IN BOTH CASES, THAT ARISE
               OUT OF OR RELATE TO, IN ANY WAY, THE CONDITION, OWNERSHIP, USE, MAINTENANCE
               OR OPERATION OF THE PROPERTY AT ANY TIME, WHETHER BEFORE, ON OR AFTER THE
               DATE ABOVE NO MATTER HOW OR WHEN CAUSED, WHETHER KNOWN OR UNKNOWN, THAT
               ARE ASSERTED OR MADE BY ANY PERSON OR ENTITY, WHETHER PUBLIC OR PRIVATE,
               UNDER ANY LAW, UNLESS SUCH CLAIMS ARISE OUT OF THE GROSS NEGLIGENCE OR
               WILLFUL MISCONDUCT OF ANY GRANTEE'S RELATED PARTIES As USED HEREIN, THE
               TERM "LAWn SHALL MEAN ANY STATUTE, LAW, RULE, REGULATION OR ORDINANCE,
               WHETHER FEDERAL, STATE OR LOCAL, WHETHER AT LAW OR EQUITY, WHETHER BY
               STATUTE, COMMON LAW, ADMINISTRATIVE OR REGULATORY PROCEEDING OR
               OTHERWISE, WHETHER BASED ON THE NEGLIGENCE, STRICT LIABILITY, OR OTHER
               CONDUCT OF ANY PARTY HERETO OR OTHERWISE, TO INCLUDE WITHOUT LIMITATION AND
               BY WAY OF EXAMPLE ONLY, THE COMPREHENSIVE ENVIRONMENTAL RESPONSE,
               COMPENSATION, AND LIABILITY ACT, THE RESOURCES CONSERVATION AND RECOVERY
               ACT, THE CLEAN AIR ACT, THE SAFE DRINKING WATER ACT, AND THE CLEAN WATER
               ACT, OR SIMILAR OR COUNTERPART STATE STATUTES. AS USED HEREIN, THE TERM
               "CLAIMS" SHALL MEAN ANY AND ALL LOSSES, DAMAGES, CLAIMS, CAUSES OF ACTION,
               CROSS-CLAIMS, COUNTERCLAIMS, RIGHTS OF CONTRIBUTION OR INDEMNITY, RIGHTS OF
               REIMBURSEMENT, LIENS, SUITS, LIABILITIES, DEMANDS, PAYMENTS, EXPENSES, COSTS
               AND FEES, TO INCLUDE WITHOUT LIMITATION AND BY WAY OF EXAMPLE ONLY,
               ATTORNEYS' AND EXPERT WITNESS FEES, COURT COSTS, CIVIL OR CRIMINAL PENAL TIES
               OR FINES, TAXES AND ANY OTHER CHARGES OF ANY KIND OR NATURE WHATSOEVER.
               THE TERM "GRANTEE'S RELATED PARTIES" SHALL INCLUDE GRANTEE AND ITS
               AFFILIATES, SUBSIDIARIES, EMPLOYEES, OFFICERS, DIRECTORS AND AGENTS AND THEIR
               RESPECTIVE REPRESENTATIVES, SUCCESSORS AND ASSIGNS. GRANTOR WAIVES
               ALL RIGHTS OR BENEFITS WHICH IT NOW HAS OR IN THE FUTURE MAY
               HAVE UNDER THE TERMS OF SECTION 1542 OF THE CIVIL CODE OF THE
               STATE OF CALIFORNIA, WHICH READS:

                                  "A GENERAL RELEASE DOES NOT EXTEND TO
                                  CLAIMS WHICH THE CREDITOR DOES NOT
                                  KNOW OR SUSPECT TO EXIST IN HIS OR HER
                                  FAVOR AT THE TIME OF EXECUTING THE
                                  RELEASE, WHICH IF KNOWN BY HIM OR HER
                                  MUST HAVE MATERIALLY AFFECTED HIS OR·
                                  HER SETTLEMENT WITH THE DEBTOR."




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      6.       ASSUMPTION OF RESPONSIBILITY.        GRANTEE, FOR ITSELF AND ITS SUCCESSORS AND
               ASSIGNS, ASSUMES, UNDERTAKES AND ACCEPTS ANY AND ALL RESPONSIBILITIES,
               OBLIGATIONS, RISKS AND LIABILITIES, IF ANY, FOR I) THE ENVIRONMENTAL AND/OR
               PHYSICAL CONDITION OF THE PROPERTY WHETHER EXISTING, CREATED OR SET IN PLACE
               BEFORE, ON OR AFTER THE DATE ABOVE, WHETHER KNOWN OR UNKNOWN, NO MATTER
               HOW OR WHEN CAUSED, WHETHER BASED ON PAST, PRESENT OR FUTURE CONDITIONS,
               OPERATIONS, ACTIVITIES OR EVENTS, ARISING UNDER OR RELATED TO ANY LAW, AND 11)
               THE ASSESSMENT, REMEDIATION, REMOVAL, TRANSPORTATION, DISPOSAL, TREATMENT
               OR OTHER DISPOSITION OF ANY AND ALL POLLUTANTS, CONTAMINANTS, WASTES,
               MATERIALS AND SUBSTANCES IN, ON OR UNDER THE PROPERTY OR WHICH ARE RELATED
               TO OR ARISING FROM THE PROPERTY AT ANY TIME, WHETHER BEFORE, ON OR AFTER THE
               DATE ABOVE, WHETHER HAZARDOUS OR NOT, THAT IS OR MAY BE REQUIRED UNDER ANY
               LAW.

            The release and assumption of responsibility obligations, as set forth in
      paragraphs 5.a. and 7, above, are hereinafter referred collectively as "Grantee
      Obligations."

             TO HAVE AND TO HOLD the Property, subject to the Reservations and
      Permitted Encumbrances as aforesaid, unto Grantee, and Grantee's successors and
      assigns, forever; and Grantor does hereby bind Granter, and Grantor's successors and
      assigns, to WARRANT and FOREVER DEFEND, all and singular, the Property, subject
      to the Reservations from and Exceptions to Conveyance and Warranty, unto Grantee,
      and Grantee's successors and assigns, against every person whomsoever lawfully
      claiming or to claim the same or any part thereof, by, through or under Grantor, but not
      otherwise.

              The parties acknowledge and agree that i) any recitals set forth above are
      incorporated herein for all purposes, ii) the captions beside the numbered paragraphs of
      this instrument are for convenience only and will not limit, enlarge, modify, or otherwise
      affect this Special Warranty Deed, and iii) when the context requires, singular nouns
      and pronouns include the plural.

               This Grant Deed is made effective as of the Date above.

              Grantee and Granter acknowledge and agree that the reservations, covenants,
      restrictions and obligations contained in the Reservations from and Exceptions to
      Conveyance and Warranty, and in the Grantee Obligations, as set forth in this Grant
      Deed: i) are reasonable in their purpose, ii) touch and concern the Property, iii) shall
      run with the land making up the Property, and iv) shall be binding on Grantee, and its
      successors and assigns, forever.


                                            [Signature pages follow.]




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                                                      Grantor:

                                                      EXXONMOBIL OIL CORPORATION



                                                      By: _ _ _ _ _ _ _ _ __

                                                           Maria M. Quezada
                                                           Agent and Attorney-in-Fact


      STATE OF TEXAS                                  §
                                                      §
      COUNTY OF HARRIS                                §

           This instrument was acknowledged before me on _ _ _ _ _ _ , 2019 by
      Maria M. Quezada, as Agent and Attorney-in-Fact of EXXONMOBIL OIL
      CORPORATION, a New York corporation, on behalf of said corporation.



                                                      Notary Public, State of Texas




                                            [Signature pages continue.]




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                                             Grantee:

                                             PC VENICE AND SEPULVEDA LLC



                                                          By: _ _ _ _ _ _ _ __

                                                          [-------------------------------]
                                                          [-------------------------------]


      STATE OF CALIFORNIA                    §
                                             §
      COUNTY OF LOS ANGELES                  §

             On _ _ _ _ _ _ _ _ _ _ _ before me, _ _ _ _ _ _ _ _ _ _ _,
      Notary Public, personally appeared _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ who
      proved to me on the basis of satisfactory evidence to be the person(s) whose name(s}
      is/are subscribed to the within instrument and acknowledged to me that he/she/they
      executed the same in his/her/their authorized capacity(ies}, and that by his/her/their
      signature(s) on the instrument the person(s), or the entity upon behalf of which the
      person(s) acted, executed the instrument.

      I certify under PENALTY OF PERJURY under the laws of the State of California that the
      foregoing paragraph is true and correct.

      WITNESS my hand and official seal.

                                                          Notary Public for the
                                                          State of California
                                                          My Commission expires on
                                                          _ _ _ _ _ _ _ _ ,2_ _




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                                       APPENDIX "A"
               To GRANT DEED/ENVIRONMENTAL RESTRICTION between
        ExxonMobil Oil Corporation, as Granter, and PC Venice and Sepulveda LLC, as
                                          Grantee


                                            PROPERTY DESCRIPTION

      That portion of Lot 15 as shown on map of the 120. 71 acre tract, belonging to the Estate
      of Pedro Talamantes, deceased, in the Rancho La Ballona, in the City of Culver City,
      County of Los Angeles, State of California, filed in Case No. 7078 of the Superior Court,
      described as follows:

      Beginning at the Point of Intersection bf the Southwesterly line of said Lot 15, with the
      Southeasterly line of the thirty (30) foot strip conveyed to the County of Los Angeles by
      deed recorded in Book 4224, Page 208 of Deeds, Records of said county; thence South
      33°13' East along said Southwesterly line, a distance of One Hundred Thirty (130) feet;
      Thence North 55°48'30" East, parallel with the Southeasterly line of the Thirty (30) foot
      strip conveyed to said County of Los Angeles by deed hereinbefore referred to, a
      distance of One Hundred Fifty (150) feet; Thence North 33°13' West parallel with the
      Southwesterly line of said Lot 15, a distance of One Hundred Thirty (130) feet to a point
      in the Southeasterly line of said Thirty {30) foot strip; Thence South 55°48'30" West
      along said Southeasterly line One Hundred Fifty (150) feet to the Point of Beginning.

      Excepting therefrom the Southwesterly Fifty (50) feet thereof included within the line of
      Sepulveda Boulevard.

      APN: 4213-018-014




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                                                   EXHIBIT "C"

           To Sale and Purchase Agreement between EXXONMOBIL OIL CORPORATION,
                  as Seller, and PC VENICE AND SEPULVEDA LLC, as Purchaser.

                                           NON FOREIGN AFFIDAVIT
                                       (PURSUANT TO 26 U.S.C. SEC. 1445)


      DATE:                      _ _ _ _ _ _ _ _ ,2019

      TRANSFEROR:                EXXONMOBIL OIL CORPORATION, a New York corporation
                                 formerly known as Mobil Oil Corporation

      TRANSFEROR'S MAILING ADDRESS:
                    22777 Springwoods Village Parkway
                    W3.2B.481
                    Spring, Texas 77389

      TRANSFEROR'S U.S. TAXPAYER IDENTIFICATION NUMBER:
                     XX-XXXXXXX

      TRANSFEREE:                 PC VENICE AND SEPULVEDA LLC

      PROPERTY:                   The surface estate of that .30 acre parcel of land, located in Culver
                                  City, County of Los Angeles, State of California, said parcel being
                                  further described on Appendix "A" attached hereto.


      Section 1445 of the Internal Revenue Code provides that a transferee of a U.S. real
      property interest must withhold tax if the transferor is a foreign person. For U.S. tax
      purposes, including purposes of section 1445, the owner of a disregarded entity that
      has legal title to a U.S. real property interest under local law will be the transferor of the
      property and not the disregarded entity. To inform Transferee that withholding of tax is
      not required on the disposition of a U.S. real property interest by Transferor, I certify on
      behalf of Transferor that the contents of this affidavit are true.

      1.       Transferor is not a foreign corporation (as this term is defined in the Internal
               Revenue Code and Income Tax Regulations).

      2.       Transferor is not a disregarded entity as defined in Treasury Regulation §
               1.1445-2(b)(2)(iii).

      3.       Transferor understands that this certification may be disclosed to the Internal
               Revenue Service by Transferee and that any false statement contained in this
               affidavit could be punished by fine, imprisonment, or both.




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      4.       Transferor understands that Transferee must retain this affidavit and that it may
               be disclosed to the Internal Revenue Service.

      5.       Under penalties of perjury I declare that I have examined this affidavit and to the
               best of my knowledge and belief it is true, correct, and complete, and I further
               declare that I have authority to sign this document on behalf of Transferor.


                                                 TRANSFEROR:


                                                 EXXON MOBIL OIL CORPORATION
                                                 By: _ _ _ _ _ _ _ _ _ _ _ __
                                                 Name: Maria M. Quezada
                                                       Agent and Attorney-in-Fact

      STATE OF TEXAS                             §
      COUNTY OF HARRIS                           §

           Sworn to and subscribed before me on _ _ _ _ _ _ _ , 2019 by Maria M.
      Quezada, as Agent and Attorney-in-Fact of EXXONMOBIL OIL CORPORATION, a
      New York corporation, on behalf of said corporation.




                                                          Notary Public, State of Texas




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                                               APPENDIX "A"

                          To NON-FOREIGN AFFIDAVIT between
      ExxonMobil Oil Corporation, as Transferor, and PC Venice and Sepulveda LLC, as
                                        Transferee


                                           PROPERTY DESCRIPTION

      That portion of Lot 15 as shown on map of the 120.71 acre tract, belonging to the Estate
      of Pedro Talamantes, deceased, in the Rancho La Ballona, in the City of Culver City,
      County of Los Angeles, State of California, filed in Case No. 7078 of the Superior Court,
      described as follows:

      Beginning at the Point of Intersection of the Southwesterly line of said Lot 15, with the
      Southeasterly line of the thirty (30) foot strip conveyed to the County of Los Angeles by
      deed recorded in Book 4224, Page 208 of Deeds, Records of said county; thence South
      33°13' East along said Southwesterly line, a distance of One Hundred Thirty (130) feet;
      Thence North 55°48'30" East, parallel with the Southeasterly line of the Thirty (30) foot
      strip conveyed to said County of Los Angeles by deed hereinbefore referred to, a
      distance of One Hundred Fifty (150) feet; Thence North 33°13' West parallel with the
      Southwesterly line of said Lot 15, a distance of One Hundred Thirty (130) feet to a point
      in the Southeasterly line of said Thirty (30) foot strip; Thence South 55"48'30" West
      along said Southeasterly line One Hundred Fifty (150) feet to the Point of Beginning.

      Excepting therefrom the Southwesterly Fifty (50) feet thereof included within the line of
      Sepulveda Boulevard.

      APN: 4213-018-014




      SJDI 30853-00021673138.3 7/25/2019




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                                                    EXHIBIT "D"

         To Sale and Purchase Agreement between EXXONMOBIL OIL CORPORATION,
                as Seller, and PC VENICE AND SEPULVEDA LLC, as Purchaser.

                                           Purchaser's Redevelopment Plans




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                                                 EXHIBIT "E"

         To Sale and Purchase Agreement between EXXONMOBIL OIL CORPORATION,
                as Seller, and PC VENICE AND SEPULVEDA LLC, as Purchaser.

                                     Akron Transaction - Letter Agreement




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     ExxonMobil                                                Maria M. Quezada
     Environmental and Property Solutions                      US Americas South Commercial Manager
     22777 Sprlngwoods VIiiage Parkway
     Wellness 3, 2A.342
     Spring, Texas 77389

                                                                       E)f(onMobil


     November 1, 2019


     Mr. Rahul Paliwal
     Pacific Collective
     1507 7th Street #201
     Santa Monica, CA 90401


     Re:        Surface Fee Property Sale of 4.1109 acres ofland in Akron, Summit County,
                State of Ohio; APN: 6813145

     Dear Mr. Paliwal:

     Pursuant to the negotiations between EXXONMOBIL OIL CORPORATION, a New York
     corporation ("Seller") and PACIFIC COLLECTIVE, LLC, a Delaware limited liability company,
     or its assignee ("Purchaser"), the purpose of this letter agreement ("Agreement") is to memorialize
     the tenns and conditions upon which Seller, agrees to sell the Property to Purchaser, as follows:

     PROPERTY

     Seller will sell and convey, and Purchaser will purchase and pay for the surface fee title to the
     Property, which is more fully described on the attached Exhibit "A". Concurrently herewith Seller
     and Purchaser have executed a Sale and Purchase Agreement with respect to certain real property in
     Culver City, California ("Culver City Property").

     PURCHASE PRICE

     The Purchase Price for the Property is Twenty Thousand and 00/100 Dollars ($20,000.00). The
     Purchase Price will be paid in cash by Cashier's Check or wire transfer at Closing.

     TITLE COMPANY

     The title company for this transaction will be First American Title Company, with an address of
     1790 Hughes Landing Blvd., Suite 110, The Woodlands, Texas, 77380. ("Title Company").




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      CLOSING

      The closing of the purchase of the Prope1iy (the "Closing") will be on or before November 18,
      2019, unless agreed to othe1wise in writing by the Parties. The Closing will take place at the offices
      of the Title Company or by counterpart via mail. The Property will be conveyed by Special
      WatTanty Deed ("Deed") attached hereto as Exhibit "B", subject to those exceptions to title which
      are approved or deemed to be approved by Purchaser. The Parties agree to execute and deliver to
      the Title Company any documents that may reasonably be required by Title Company to close on
      the Property in accordance with this Agreement.

      REVIEW PERIOD

     For a period conu11encing upon the full execution of this Agreement ("Effective Date") and expiring
     fifteen days after the Effective Date (the "Review Period"), Purchaser, and Purchaser's employees,
     contractors, agents and representatives (collectively "Purchaser's Representatives") at Purchaser's
     sole risk, cost and expense, may enter the Property to generally inspect and survey the Property and
     to conduct non-invasive tests and studies including a Phase I environmental assessment of the
     Property, if desired by Purchaser. Should Purchaser desire to conduct any invasive tests,
     assessments, survey, investigation or other study of the soil and/or groundwater at the Property
     which would require breaking the plain of the surface of the Property ("Environmental Testing")
     during the Review Pe1iod, such Environmental Testing will be governed by a separate access and
     indemnity agreement to be entered into between parties.

      SELLER SUPPLIED DOCUMENTS

     Prior to the date hereof, ExxonMobil shared certain documents relating to the condition of the
     Property and title infonnatfon, including a Title Commitment. A list of documents provided to
     Purchaser is attached hereto as Exhibit "C". SELLER DOES NOT REPRESENT OR wARRANT AND
     HEREBY EXPRESSLY DISCLAIMS ANY AND ALL EXPRESS OR IMPLIBD WARRANTIBS AND
     REPRESENTATIONS AS TO THE ACCURACY OR COMPLETENESS OF ANY SUCH DOCUMENT, REPORT
      OR RECORD, ITS PREPARATION, OR ANY INFORMATION UPON WIDCH IT IS BASED.


     SURVEY, TITLE COMMITMENT, CLOSING COSTS, AND TAX PRORATIONS

     Prior to the date hereof, Seller has provided a survey and Title Commitment for the Property. Seller
     will be responsible for the cost of the Owner's Title Policy. Other Closing costs are to be paid by
     the party customarily responsible for such costs in the jurisdiction where the Property lies.

     Property taxes will be prorated as of the date of the Closing. Purchaser is responsible for any "roll-
     back" taxes that may affect the Property due to post-Closing change in use or zoning. Each party is
     responsible for its own legal fees and expenses. Purchaser is solely responsible for all transfer or
     conveyance taxes and assessments on the transfer, including any recording fees, taxes and
     assessments based on any mortgage placed against the Property by Purchaser. Seller is responsible




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      for expenses associated with clearing title encumbrances to the Propetty; provided that Seller is not
      obligated to clear every encumbrance from title.

      PURCHASER'S RELEASE, INDEMNITY, AND ASSUMPTION OF RESPONSIBILITY

      At Closing, Purchaser will (a) release, indemnify and hold harmless Seller from certain claims, as
      further provided in the Deed, and (b) assume and be responsible for the environmental condition
      of the Prope1ty, as further provided in the Deed.

      REPRESENTATIONS AND WARRANTIES

      Each party represents and wmrants that (a) it has, and will have, full power and authority to
      perform the terms and conditions of this Agreement and execute all documents which are
      contemplated by this Agreement, (b) the person signing on its behalf has been duly authorized to
      do so and his or her signature is valid and binding on such party, and (c) it is not regarded as a
      "blocked person" on the Treasury Department's Office of Foreign Asset Control's list, issued
      under 31 Code of Federal Regulations, Section 594 and is not a "foreign person" as defi11ed in
      Section 1445 of the United States Internal Revenue Code of 1986, as amended, and the
      regulations promulgated thereunder.

      The Property is to be sold "AS IS, WHERE IS, WITH ALL FAULTS" with no warranties other
      than watTanty of title, and SELLER HEREBY DISCLAIMS ANY AND ALL OTHER wARRANTIES,
      EXPRESS     OR    IM:PLIED,   INCLUDING,     WITHOUT        LIMITATION,    THE    WARRANTIES       OF
      MERCHANTABILITY, FITNESS FOR PURPOSE, HABITABILITY, AND SUITABILITY.


      REMEDIES

      In the event of Purchaser's default, Seller's sole and exclusive remedy will be to terminate this
      Agreement. In the event of Seller's default, Purchaser's sole and exclusive remedies are to (a)
      terminate this Agreement or (b) seek specific performance by Seller (provided that Seller will not, in
      any event, be required to cure any uncured title objections as part of specific performance).

      CONFIDENTIALITY AGREEMENT

      The parties agree that the terms of this Agreement are confidential information and will not be
      disclosed without the other party's prior written consent, except to each party's authorized agents,
      representatives, legal counsel, tax, environmental and other consultants having a business related
      need to know.

      COMMISSIONS

      Each party covenants, represents, and acknowledges that it did not use any broker to facilitate this
      Agreement.




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      GOVERNING LAW; WANER OF TRIAL BY JURY

      The law of the state in which the Property is situated governs this Agreement, without regard to
      its choice of laws or conflict of laws principles. The parties irrevocably consent to the
      exclusive venue and jurisdiction of any federal or state court sitting in Summit County, Ohio,
      in any action arising out of or in any way related to this Agreement, unless local law requires
      venue to be in the county or parish in which the Property is situated. SELLER AND PURCHASER
      WAIVE TRIAL BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM BROUGHT BY EITHER
      OF THEM AGAINST THE OTHER ON ANY MATTER ARISING OUT OF OR IN ANY WAY RELATED TO
      THIS AGREEMENT.


      BINDING EFFECT AND ASSIGNMENT

      This Agreement will bind and inure to the benefit of the parties and their respective heirs,
      successors, and permitted assigns; however, this Agreement may not be assigned by Purchaser
      without Seller's prior written consent, and any approved assignee of Purchaser must assume in
      writing all of Purchaser's obligations hereunder. Any assignment without Seller's written consent
      will be void and without effect. In no event will any consent to assignment by Seller or any such
      assumption by any assignee release or relieve Purchaser from its obligations under this Agreement.

      GROSS NEGLIGENCE AND WILLFUL MISCONDUCT

      Notwithstanding anything to the contrary in this Agreement, each party (each, a "Responsible
      Party") bears full responsibility, without limit, for gross negligence and/or willful misconduct
      attributable to its managerial and/or senior supervisory personnel related to this Agreement and in
      no event will a party be required to release or indemnify a Responsible Party for gross negligence or
      willful misconduct attributable to a Responsible Party's managerial and/or senior supervisory
      personnel arising out of this Agreement. The provision survives the expiration or sooner
      termination of this Agreement.

      NOTICES

      All notices must be in writing and delivered to the recipient's address shown beneath its signature
      herein below.

      TIME OF ESSENCE

      Time is of the essence to both Seller and Purchaser in connection with this Agreement and the
      performance of obligations under it.

      SURVIVAL

      The terms and conditions of this Agreement will survive Closing and will not merge into the
      Deed.




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     ENTIRE AGREEMENT

     This AgTeement and all of its attachments, exhibits a11d referenced agreements constitute the
     entire agreement between Seller and Purchaser with regard to the subject matter hereof, and all
     prior agreements and unde1iakings, both written and oral, are merged in it.

     COUNTERPARTS

     This Letter Agreement may be executed in multiple counterparts, each of which will be deemed
     an original document, but all of which together will constitute a single document.

     NOTIFICATION:

     Purchaser acknowledges that neither the submission of this letter or any information concerning
     the Property for Purchaser's examination, nor discussions or negotiations between the parties
     constitute an offer to sell, a reservation of, or an option for the Property, and this letter and the
     underlying transaction will become enforceable and binding between the parties only upon its
     execution and delive1y by the authorized representatives ofeach party.


     If this Agreement accµrately sets forth your understanding of the tem1s of sale of the Property,
     then please deliver three fully signed originals of this letter to the Title Company.

     If you have any questions regarding this letter, please let me know. We look forward to closing the
     sale of the Property to you.


                                                           Very truly yours,


                                                           EXXONMOBIL OIL CORPORATION

                                                           By:
                                                           Name: Maria M. Quezada
                                                           Title: Agent and Attorney-in-Fact



                                                           ADDRESS OF SELLER:

                                                           22777 Springwoods Village Parkway
                                                           W3.2B.481
                                                           Spring, Texas77389




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      ACKNOWLEDGED AND AGREED
      on this -5th day of November   , 2019:

      "Purchaser":

      PACIFIC COLLECTIVE, LLC

      By:
      Name:
               ~d PIWal
               ahul -~
      Title:   Managing· Director
      ADDRESS OF PURCHASER:

      1507 7th Street #201
      Santa Monica, CA 90401




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      TI1e Title Company executes this Letter Agreement to acknowledge receipt of the Earnest Money
      and to evidence its agreement to handle and dispose of the Earnest Money and otherwise to
      perform the duties of the Title Company in accordance with the terms of this Agreement.


                                  FIRST AMERICAN TITLE COMPANY



                                  By:-----------
                                  Name: Sharon Mork
                                  Title: Vice President/Manager

                                  Date: _ _ _ _ _ _ _ _ _~ 2019




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                                                      Exhibit A

                                          Legal Description of Property

      A certain parcel of land situated in the City of Akron, County of Summit, State of Ohio. Known as being
      part of Lots 1, 2, 4, 5 and 6 of the "Subdivision of C. Oberholtz Estates in Tract 7 Portage", as recorded in
      Plat Book 2, Page 43, Summit County Records. Being all of that certain portion of vacated Jewett Street
      (40' wide) (vacated May 22, 1912, per Akron City Counc11 Ordinance No. 3214) lying North of the South
      line of said Subdivision of C. Oberholtz Estates in Tract 7 Portage and lying South of the South line of
      land conveyed to the Wheeling and Lake Erie Railway Company (recording information unavailable). Less
      and excepting therefrom all of that certain portion of a Public Alley (20' wide) (dedicated February 6,
      1922). Said land being all of the same land conveyed from H. Muehlstein & Co. Inc., a Corporation
      incorporated under the laws of the State of New York, to Mobil Oil Corporation per that certain
      Warranty Deed dated February 7, 1996, recorded February 9, 1996, in Official Records Book 2108, Page
      1125, Summit County Records, and said land being more particularly described as follows:

      COMMENCING at a capped rebar stamped "C&A" found at the Northeast corner of land conveyed to
      Russell Products Co., Inc. (Document No. 56281235, Summit County Records), the same being the
      Northeast corner of Lot 7, aforesaid Subdivision of C. Oberholtz Estates in Tract 7 Portage, the same also
      being the intersection of the South line of a Public Alley (20' wide; date and source of dedication are
      unknown; right-of-way appears to be unimproved; said Public Alley also appears on said Subdivision of
      C. Oberholtz Estates in Tract 7 Portage) with the West line of aforesaid Public Alley (20' wide) (dedicated
      February 6, 1922);

      Thence South 87"52'13" East, along the North line of Lot 6, Subdivision of C. Oberholtz Estates in Tract 7
      Portage and the Northernmost line of said Public Alley {20' wide) (dedicated February 6, 1922), a
      distance of 20.00 feet to a 5/8" capped rebar stamped "FINKE 8392" set at the Northwest corner of the
      remainder of said Lot 6, said point also being the true POINT OF BEGINNING for the herein described
      parcel of land;

      Thence South 87°52'13" East, continuing along the North line of Lot.6 and along the South line of said
      Public Alley (20' wide; date and source of dedication are unknown; right-of-way appears to be
      unimproved; said Public Alley also appears on said Subdivision of C. Oberholtz Estates in Tract 7
      Portage), a distance of 120.01 feet to a drill hole set in concrete at the Northwest corner of Lot 5, said
      subdivision;

      Thence North 87°20'52" East, continuing along the South line of said Public Alley and along the North
      line of said Lot 5, a distance of 54.49 feet to a 5/8" capped rebar stamped "FINKE 8392" set at a Western
      corner of aforesaid land of Wheeling and Lake Erie Railway Company;

      Thence South 68°58'09" East, departing the South line of said Public Alley and departing the North line
      of said Lot 5, running through said Lot 5, and with the South line of aforesaid land of Wheeling and Lake
      Erie Railway Company, a distance of 36.53 feet to a drill hole set in concrete at an angle point therein,
      said point also being the arc of a curve;

      Thence still running through Lot 5 and also through Lot 4, said subdivision, and with the South lines of
      aforesaid lands of Wheeling and Lake Erie Railway Company, and also running through aforesaid vacated
      Jewett Street, and along the arc of a non-tangent curve to the left having a radius of 814.49 feet, having



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      an arc length of 251.89 feet, a central angle of 17°43'09", a chord bearing South 73°15'03" East, and
      having a chord length of 250.88 feet to a S/8/J capped rebar stamped "FINKE 8392/J set on the West line
      of Lot 2, said subdivision, the same being the East line of said vacated Jewett Street;

      Thence South 81°05'47" East, departing the East line of said vacated Jewett Street and continuing along
      the South line of said land of Wheeling and Lake Erie Railway Company and running through said Lot 2, a
      distance of 214.44 feet to a 5/8" capped rebar stamped "FINKE 8392/J set at an angle point therein;

      Thence North 89'16'08" East, continuing along and through the same, a distance of 70.00 feet to a 5/8/J
      capped rebar stamped "FINKE 8392" set on the East line of said Lot 2, the same being the West line of
      Lot 10, "Viall and Munson's Allotment of Block 20 Brown, Tract 7 Portage Township", as recorded in Plat
      Book 3, Page 25, Summit County Records, the same being the a West line of land conveyed to said land
      of Wheeling and Lake Erie Railway Company, said point lying South 00°43'52" East from the Northwest
      corner of said Lot 10;

      Thence South 00'43'52" East, along the East line of Lot 2 and Lot 1, said Subdivision of C. Oberholtz
      Estates in Tract 7 Portage, the West line of said Lot 10 (the same being the West line of said land of
      Wheeling and Lake Erie Railway Company), the Western terminus of Lorain Street (50' wide, public), the
      West line of Lot 11, said Viall and Munson's Allotment of Block 20 Brown, Tract 7 Portage Township (the
      same being the West line of land conveyed to W. Chaffin (Document No. 54620418, Summit County
      Records)), passing over a 5/8" rebar found at the intersection of the centerline of said Lorain Street with
      the Western terminus thereof at a distance of 114.00 feet, passing over a capped rebar stamped "5916"
      found at the Northeast corner of said Lot 11 at a distance of 139.00 feet, and also passing over a 3/4"
      iron pipe found on the West line of said Lot 11 at a distance of 186.42 feet, in all a distance of 196.00
      feet to a 5/8" capped re bar stamped "FINKE 8392/J set at the Southeast corner of said Lot 1, Subdivision
      of C. Oberholtz Estates in Tract 7 Portage, reference a capped rebar stamped "5618" found North
      23°34'59" West a distance of 2.21 feet from said corner;

      Thence North 89°45'18" West, along the South line of said Lot 1 and along the North llnes of land
      conveyed to Vernelle McGlumphy, Trustee (Document No. 56238603, Summit County Records), land
      conveyed to Vernelle McGlumphy, Trustee (Document No. 55978855, Summit County Records), land
      conveyed to Catherine Laverne Rohn (Document No. 54128592), land conveyed to Scott M. Heckel
      (Document No. 55150423} and land conveyed to Kelley Properties Inc. (Document No. 54194115,
      Summit County Records), a distance of 285.03 feet to a 5/8" capped rebar set at the Southwest corner
      of the remainder of said Lot 1, the same being the Southeastern most corner of aforesaid Public Alley
      (20' wide) (dedicated February 6, 1922), the same also being the East line of Jewett Street (40' wide,
      public);

      Thence North 00°10'11" East, along said West line of the remainder Lot 2, the Easternmost line of said
      Public Alley dedication and also along the East line of said Jewett Street, a distance of 20.00 feet to a
      5/8" capped rebar stamped "FINKE 8392" set at the Southeast corner of aforesaid vacated Jewett Street,
      the same being a Northeastern corner of said Public Alley dedication;

      Thence South 89°02'04" West, along the South lines of the remainders of aforesaid Lots 4 and 5,
      Subdivision of C. Oberholtz Estates in Tract 7 Portage, and with a Northern line of said Public Alley
      dedication, a distance of 456.89 feet to a 5/8" capped rebar set at the Southwest corner of the
      remainder of said Lot 5;




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     Thence North 01 °39'32" East, along an Eastern line of said Public Alley dedication and with the West line
     of the remainder of said Lot 5, a distance of 302.23 feet to the POINT OF BEGINNING.

     Containing 179,071 square feet, or 4.1109 acres of land, more or less, as surveyed in December of 2017
     by Timothy A. Finke, PS, Ohio Registered Professional Land Surveyor No. 8392, for and on behalf of
     Avalon Land Surveying LLC, and is subject to all legal highways and easements of record.

     The Basis of Bearing for this survey is Grid North of the Ohio State Plane Coordinate System, North Zone
     (FIPS Zone 3401), on the North American Datum of 1983(2011). GPS Observations were used to
     establish a bearing of South 01 °39'32" West for the East line of land shown hereon as being conveyed to
     Russel! Products Co., Inc., per Document No. 56281235, Summit County Records.




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                                            Exhibit "B"


                            FORM OF SPECIAL WARRANTY DEED

     NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU
     MAY REMOVE OR STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION
     FROM THIS INSTRUMENT BEFORE IT IS FILED FOR RECORD IN THE PUBLIC
     RECORDS: YOUR SOCIAL SECURITY NUMBER AND YOUR DRIVER'S LICENSE
     NUMBER.

                                  SPECIAL WARRANTY DEED


     Date:              - - - - - - - - ' 2019
     Grantor:            EXXONMOBIL OIL CORPORATION, a New York corporation

     Grantor's Mailing Address:

                         22777 Springwoods Village Parkway
                         Spring, Texas 77389

     Grantee:            PACIFIC COLLECTIVE, LLC,
                         a Delaware limited liability company

     Grantee's Mailing Address:

                         1507 7th Street #201
                         Santa Monica, CA 90401

     Consideration:      $10.00 cash and other valuable consideration, the receipt and
                         sufficiency of which are hereby acknowledged.

     Property:           All that certain 4.1109 acres, more or less, tracts or parcels of land,
                         which is further described on Exhibit A attached hereto and
                         incorporated herein, together with all improvements, structures, and
                         fixtures; if any, located in, on or under the Property, and all and
                         singular the rights, privileges, hereditaments and appurtenances, if
                         any, inuring to the benefit of the Property including, without
                         limltation, all right, title and interest of Granter in and to all adjacent
                         streets, alleys, rights*of-way, and easements, if any, benefiting
                         and/or burdening the Property, subject to the Reservations from
                         and Exceptions to Conveyance and Warranty herein.




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      ReseNations from and Exceptions to Conveyance and Warranty:

      1.    GRANTEE ACKNOWLEDGES THAT: 1) THE PROPERTY WAS PREVIOUSLY USED FOR
            INDUSTRIAL USES, 2) THAT HAZARDOUS SUBSTANCES MAY HAVE BEEN USED AT THE
            PROPERTY HISTORICALLY AND SPILLED, LEAKED, RELEASED OR OTHERWISE
            DISCHARGED ONTO, INTO OR UNDER THE PROPERTY AND MAY HAVE IMPACTED THE SOIL
            AND/OR GROUNDWATER ON, IN OR UNDER THE PROPERTY; AND 3) THAT THERE ARE
            NUMEROUS TIRES LOCATED ON THE PROPERTY.

      2.    Permitted Exceptions. This Special Warranty Deed is subject to (i) any and all
            valid and subsisting easements, rights-of-ways, conditions, covenants,
            restrictions, reseNations, exceptions and other encumbrances of record, (ii) all
            building and land use ordinances, laws, regulations and restrictions by municipal
            or other governmental authority applicable to the Property, and (iii) any other
            rights in or encumbrances on the Property which are evident by a physical
            inspection or survey of the Property.

      3.    Taxes. Taxes and assessments for the current year are prorated as of the Date
            above, and Grantee assumes the payment of such taxes and assessments after
            this Date, including, but not limited to, all subsequent assessments for prior years
            to do a change in ownership or change in land usage or zoning.

      4.    Use Restrictions, Institutional Controls and Engineering Controls. To ensure the
            continued protection of the environment and the health and safety of current and
            future owners of the Property the following restrictive covenants will be
            established and run with the land and will be binding on all current and future
            owners of the Property, and their respective heirs, successors and assigns,
            lessees, or other occupiers and users of the Property:

            a) The Property may not be used for any "residential" construction,
               development, use, or purpose, which shall without limitation be interpreted to
               mean and include a prohibition against use for single or multi-family
               residences, residences for children, the elderly or the infirm, churches and
               places of worship, schools, nurseries and other pre-school facilities, nursing
               or convalescent homes, hospitals, health clinics, or other medical facilities,
               day care facilities, playgrounds, recreational parks, hotels, motels, bed and
               breakfasts, parks, and any other "Residential land use" restrictions or
               limitations set forth or described in any and all building, zoning and land use
               ordinances, laws, regulations and restrictions by municipal or other
               governmental authorities applicable to the Property.

            b) No groundwater in or under the surface of the Property may be used for any
               potable purposes. The construction or installation of any water supply well,




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              whether for drinking, human consumption, or any other potable purpose on
              the Property is prohibited.
           c) Grantee, at its sole cost and expense, shall use appropriately engineered
              impervious vapor barriers or liners designed, constructed and maintained to
              prevent the migration of hydrocarbon vapors, if any, from the soil to· the
              interior of any structures to be constructed at or on the Property in areas
              where site conditions dictate that the use of a vapor barrier is appropriate to
              protect human health.

           d) Excavation of the subsurface of the Property for development or construction
              of underground parking, basements or substructures is prohibited. Excavation
              of the subsurface of the Property for storage spaces or utility conduits where
              hydrocarbon vapors may accumulate is prohibited.

           e) The Property may not be used for "agricultural" purposes, as such term is
              defined in all building, zoning and land use ordinances, laws, regulations and
              restrictions by municipal or other governmental authorities applicable to the
              Property.

           f) The restrictions, prohibitions and limitations contained in immediately
              preceding subparagraphs "a," "b," "c," "d," and "e," above, are referred to as
              "Use Restrictions."

           g) These Use Restrictions shall run with the land, are binding on Granter and
              Grantee and all their successors and assigns, as well as all future occupants
              and owners of the Property and shall be recognized in, and survive, all
              subsequent sales, transfers, leases, assignments or other conveyances, in
              whole or part, of the Property. The Use Restrictions shall be referenced in all
              deeds or other instruments associated with any subsequent sale, transfer,
              lease, assignment or other conveyance, in whole or in part, of the Property,
              and the failure to include · the Use Restrictions in any future deeds or
              instruments shall in no way limit or impair the validity of the Use Restrictions.
              The Use Restrictions will remain effective and .in force permanently unless
              and until waived in writing by Granter, in its sole discretion.


      5.   "AS-IS" Conveyance.      No Warranties.     As A MATERIAL PART OF THE
           CONSIDERATION FOR THIS SPECIAL WARRANTY DEED, GRANTOR AND GRANTEE
           ACKNOWLEDGE AND AGREE THAT GRANTEE IS TAKING THE PROPERTY "AS IS,
           WHERE IS, WITH ALL FAULTS,'1 WITH ANY AND ALL LATENT AND PATENT DEFECTS
           AND THAT THERE IS NO WARRANTY BY GRANTOR THAT THE PROPERTY HAS A
           PARTICULAR FINANCIAL VALUE OR 15 FIT FOR A PARTICULAR PURPOSE. GRANTEE
           ACKNOWLEDGES AND STIPULATES THAT GRANTEE IS NOT RELYING ON ANY
           REPRESENTATION, STATEMENT, AGREEMENT, INDUCEMENT OR OTHER ASSERTION WITH
           RESPECT TO THE CONDITION OF THE PROPERTY (TO INCLUDE, WITHOUT LIMITATION, THE
           ENVIRONMENTAL OR PHYSICAL CONDITION) BUT IS RELYING SOLELY ON GRANTEE'S




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           EXAMINATION OF THE PROPERTY. GRANTEE TAKES THE PROPERTY WITH THE EXPRESS
           UNDERSTANDING AND STIPULATION THAT, EXCEPT AS SET FORTH HEREIN, THERE ARE
           NO EXPRESS OR IMPLIED WARRANTIES OR REPRESENTATIONS BY GRANTOR OF ANY
           KIND. GRANTEE'S ACCEPTANCE OF THE PROPERTY IS AT THE SOLE RISK AND LIABILITY
           OF GRANTEE WITH RESPECT TO I) THE PRESENT STATUS AND CONDITION OF THE
           PROPERTY AND II) THE SUITABILITY, FITNESS OR ACCEPTABILITY OF THE PROPERTY FOR
           GRANTOR'S PURPOSES. FURTHER, GRANTEE ACKNOWLEDGES AND STIPULATES THAT
           IT HAS HAD ACCESS TO THE PROPERTY TO CONDUCT ITS OWN INVESTIGATION AND
           ASSESSMENT AND IS WELL AWARE OF THE CONDITION OF THE PROPERTY.

      6.   Release and Indemnity.      GRANTEE, FOR ITSELF AND ITS SUCCESSORS AND
           ASSIGNS. 1) AGREES AND COVENANTS NOT TO SUE GRANTOR'S RELATED PARTIES (AS
           DEFINED BELOW) FOR ANY AND ALL CLAIMS {AS DEFINED BELOW), 11) AGREES TO
           ACQUIT, RELEASE AND FOREVER DISCHARGE; AND Ill) AGREES TO DEFEND, INDEMNIFY
           AND HOLD HARMLESS GRANTOR'S RELATED PARTIES FROM ANY AND ALL CLAIMS,
           THAT ARISE OUT OF OR RELATE TO, IN ANY WAY, THE CONDITION, OWNERSHIP, USE,
           MAINTENANCE OR OPERATION OF THE PROPERTY AT ANY TIME, WHETHER BEFORE, ON
           OR AFTER THE DATE ABOVE NO MATTER HOW OR WHEN CAUSED, WHETHER KNOWN OR
           UNKNOWN, THAT ARE ASSERTED OR MADE BY ANY PERSON OR ENTITY, WHETHER
           PUBLIC OR PRIVATE, UNDER ANY LAW, EXCEPT TO THE EXTENT ATTRIBUTABLE TO
           GROSS NEGLIGENCE OR WILLFUL MISCONDUCT OF GRANTOR'S RELATED PARTIES. As
           USED HEREIN, THE TERM "LAW" SHALL MEAN ANY STATUTE, LAW, RULE, REGULATION
           OR ORDINANCE, WHETHER FEDERAL, STATE OR LOCAL, WHETHER AT LAW OR EQUITY,
           WHETHER BY STATUTE, COMMON LAW, ADMINISTRATIVE OR REGULATORY PROCEEDING
           OR OTHERWISE, TO INCLUDE WITHOUT LIMITATION AND BY WAY OF EXAMPLE ONLY, THE
           COMPREHENSIVE ENVIRONMENTAL RESPONSE, COMPENSATION, AND LIABILITY ACT,
           THE RESOURCES CONSERVATION AND RECOVERY ACT, THE CLEAN AIR ACT, THE SAFE
           DRINKING WATER ACT, AND THE CLEAN WATER ACT, OR SIMILAR OR COUNTERPART
           STATE STATUTES. As USED HEREIN, THE TERM "CLAIMS" SHALL MEAN ANY AND ALL
           LOSSES, CLAIMS, DAMAGES, DEMANDS, LIABILITIES, SUITS, CAUSES OF ACTION, CROSS-
           CLAIMS AND COUNTERCLAIMS; ANY AND ALL RIGHTS OF CONTRIBUTION, SUBROGATION,
           INDEMNITY AND REIMBURSEMENT; ANY AND ALL LIENS, PAYMENTS, PENALTIES AND
           FINES (CIVIL OR CRIMINAL) AND TAXES; AND ANY AND ALL EXPENSES, COSTS AND FEES,
           TO INCLUDE WITHOUT LIMITATION AND BY WAY OF EXAMPLE ONLY, ATTORNEYS' AND
           EXPERT WITNESS FEES AND COURT COSTS, AND ANY OTHER CHARGES OF ANY KIND OR
           NATURE WHATSOEVER. THE TERM uGRANTOR'S RELATED PARTIES" SHALL INCLUDE
           GRANTOR AND ITS AFFILIATES, SUBSIDIARIES, EMPLOYEES, OFFICERS, DIRECTORS AND
           AGENTS AND THEIR RESPECTIVE REPRESENTATIVES, SUCCESSORS AND ASSIGNS. ANY
           CLAIMS NOT HEREIN RELEASED OR DISCHARGED BY GRANTEE ARE HEREBY
           IRREVOCABLY AND WITHOUT RECOURSE ASSIGNED AND TRANSFERRED IN FULL TO
           GRANTOR.

      7.   Assumption of Responsibility.     Grantee, for itself and its successors and
           assigns, ASSUMES, UNDERTAKE AND ACCEPTS ANY AND ALL RESPONSIBILITIES,
           OBLIGATIONS, RISKS AND LIABILITIES, if any, for i) the environmental and/or physical
           condition of the Property whether existing, created or set in place before, on or



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            after the Date above, whether known or unknown, no matter how or when
            caused, whether based on past, present or future conditions, operations,
            activities or events, arising under or related to any Law, and ii) the assessment,
            remediation, removal, transportation, disposal, treatment or other disposition of
            any and all pollutants, contaminants, wastes, materials and substances in, on or
            under the Property or which are related to or arising from the Property at any
            time, whether before, on or after the Date above, whether hazardous or not, that
            is or may be required under any Law, and iii) without in any way limiting the
            breadth or scope of the foregoing subclauses i) and ii), those prior uses and site
            conditions identified in paragraph 1 above.

             The release, indemnity and assumption of responsib[lity obligations, as set forth
             in paragraphs 6 and 7 above are hereinafter referred collectively as "Grantee
             Obligations."

            TO HAVE AND TO HOLD, all and singular, the Property unto Grantee and
      Grantee's heirs, successors and assigns forever.

              Grantor, for the Consideration and subject to the Reservations from and
      Exceptions to Conveyance and Warranty, and subject to and conditioned upon
      Grantee's acceptance and agreement to undertake the Grantee Obligations as set forth
      above, grants, bargains, sells and conveys to Grantee the Property, together with all
      and singular the rights and appurtenances thereto in any way belonging, to have and to
      hold it to Grantee and its successors and assigns forever. Grantor binds Grantor and its
      successors and assigns to warrant and forever defend title to the Property unto
      Grantee, Grantee's heirs, successors and assigns against every person whomsoever
      lawfully claiming or to claim the same or any part thereof, subject to the matters stated
      herein, when the claim is by, through, or under Grantor, but not otherwise.

              The parties acknowledge and agree that i) any recitals set forth above are
      incorporated herein for all purposes, ii) the captions beside the numbered paragraphs of
      this instrument are for convenience only and will not limit, enlarge, modify, or otherwise
      affect this Special Warranty Deed, and iii) when the context requires, singular nouns
      and pronouns include the plural.

               Grantee and Grantor acknowledge and agree that the reservations, covenants,
      restrictions and obligations contained in the Reservations from and Exceptions to
      Conveyance and Warranty, and in the Grantee Obligations, as set forth in this Special
      Warranty Deed: i) are reasonable in their purpose, ii) touch and concern the Property,
      iii) are covenants running with the land making up the Property, and iv) shall be binding
      on Grantee and its successors and assigns, forever.

            For purposes of this Deed, the Effective Date hereof will be the date and time this
      Deed is executed by both parties ("Effective Date").




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                                    [Signature pages follow.]




     [Special Warranty Deed signature pages - 1 of 2]




                                                    Grantor:

                                                    EXXONMOBIL OIL CORPORATION,
                                                    a New York corporation



                                                    By: _ _ _ _ _ _ _ _ __

                                                    Name: Maria M. Quezada
                                                    Title: Agent and Attorney-in-Fact


     STATE OF TEXAS           .§
                               §
     COUNTY OF HARRIS          §

          This instrument was acknowledged before me on _ _ _ _ _ _, 2019, by
     Maria M. Quezada, as Agent and Attorney-in-Fact of EXXONMOBIL OIL
     CORPORATION, a New York corporation, on behalf of said corporation.



                                             Notary Pub He, State of Texas




                                   [Signature pages continue.]




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      [Special Warranty Deed Signature Pages - 2 of 2]



                                                      Grantee:

                                                      PACIFIC COLLECTIVE, LLC,
                                                      a Delaware limited liabillty company

                                                      By: _ _ _ _ _ _ _ __
                                                      Name:. _ _ _ _ _ _ _ __
                                                      Title:
                                                           ---------

     STATE OF CALIFORNIA                     §
                                             §
     COUNTY OF LOS ANGELES                   §

         This instrument was acknowledged before me on this _ _. day of
     _ _ _ _ _ _,     2019, by _ _ _ _ _               as _ _ _ _ of PACIFIC
     COLLECTIVE LLC, a Delaware limited liability company, on behalf of said company.




                                                      Notary Public, State of _ __




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                                             EXHIBIT A

                                    PROPERTY DESCRIPTION


      A certain parcel of land situated ln the City of Akron, County of Summit, State of Ohio.
      Known as being part of Lots 1, 2, 4, 5 and 6 of the "Subdivision of C. Oberholtz Estates
      in Tract 7 Portage", as recorded in Plat Book 2, Page 43, Summit County Records.
      Being all of that certain portion of vacated Jewett Street (40' wide) (vacated May 22,
      1912, per Akron City Council Ordinance No. 3214) lying North of the South line of said
      Subdivision of C. Oberholtz Estates in Tract 7 Portage and lying South of the South line
      of land conveyed to the Wheeling and Lake Erie Railway Company (recording
      information unavailable). Less and excepting therefrom all of that certain portion of a
      Public Alley (20' wide) (dedicated February 6, 1922). Said land being all of the same
      land conveyed from H. Muehlstein & Co. Inc., a Corporation incorporated under the
      laws of the State of New York, to Mobil Oil Corporation per that certain Warranty Deed
      dated February 7, 1996, recorded February 9, 1996, in Official Records Book 2108,
      Page 1125, Summit County Records, and said land being more particularly described
      as follows:

      COMMENCING at a capped rebar stamped "C&A" found at the Northeast corner of land
      conveyed to Russell Products Co., Inc. (Document No. 56281235, SummitCounty
      Records), the same being the Northeast corner of Lot 7, aforesaid Subdivision of C.
      Oberholtz Estates in Tract 7 Portage, the same also being the intersection of the South
      line of a Public Alley (20' wide; date and source of dedication are unknown; right-of-way
      appears to be unimproved; said Public Alley also appears on said Subdivision of C.
      Oberholtz Estates in Tract 7 Portage) with the West line of aforesaid Public Alley (20'
      wide) (dedicated February 6, 1922);

      Thence South 87°52'13" East, along the North line of Lot 6, Subdivision of C. Oberholtz
      Estates in Tract 7 Portage and the Northernmost line of said Public Alley (20' wide)
      (dedicated February 6, 1922), a distance of 20.00 feet to a 5/8" capped rebar stamped
      "FINKE 8392" set at the Northwest corner of the remainder of said Lot 6, said point also
      being the true POINT OF BEGINNING for the herein described parcel of land;

      Thence South 87°52'13" East, continuing along the North line of Lot 6 and along the
      South line of said Public Alley (20' wide; date and source of dedication are unknown;
      right-of-way appears to be unimproved; said Public Alley also appears on said
      Subdivision of C. Oberholtz Estates in Tract 7 Portage), a distance of 120.01 feet to a
      drill hole set in concrete at the Northwest corner of Lot 5, said subdivislon;

      Thence North 87°20'52" East, continuing along the South line of said Public Alley and
      along the North line of said Lot 5, a distance of 54.49 feet to a 5/8" capped rebar
      stamped "FINKE 8392" set at a Western corner of aforesaid land of Wheeling and Lake
      Erie Railway Company;



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                               11
      Thence South 68°58'09 East, departing the South line of said Public Alley and
      departing the North line of said Lot 5, running through said Lot 5, and with the South line
      of aforesaid land of Wheeling and Lake Erie Railway Company, a distance of 36.53 feet
      to a drill hole set in concrete at an angle point therein, said point also being the arc of a
      curve;

      Thence still running through Lot 5 and also through Lot 4, said subdivision, and with the
      South lines of aforesaid lands of Wheeling and Lake Erie Railway Company, and also
      running through aforesaid vacated Jewett Street, and along the arc of a non-tangent
      curve to the left having a radius of 814.49 feet, having an arc length of 251.89 feet, a
      central angle of 17°43'09", a chord bearing South 73°15'03" East, and having a chord
      length of 250.88 feet to a 5/8" capped rebar stamped "FINKE 8392" set on the West line
      of Lot 2, said subdivision, the same being the East line of said vacated Jewett Street;

      Thence South 81 °05'47" East, departing the East line of said vacated Jewett Street and
      continuing along the South line of said land of Wheeling and Lake Erie Railway
      Company and runntng through satd Lot 2, a distance of 214.44 feet to a 5/8" capped
      rebar stamped "FINKE 8392" set at an angle point therein;
                              11
      Thence North 89°16'08 East, continuing along and through the same, a distance of
      70.00 feet to a 5/8" capped rebar stamped "FINKE 8392" set on the East line of said Lot
      2, the same being the West line of Lot 10, "Viall and Munson's Allotment of Block 20
      Brown, Tract 7 Portage Township", as recorded in Plat Book 3, Page 25, Summit
      County Records, the same being the a West line of land conveyed to said land of
      Wheeling and Lake Erie Railway Company, said point lying South 00°43'52" East from
      the Northwest corner of said Lot 10;

      Thence South 00°43'52" East, along the East line of Lot 2 and Lot 1, said Subdivision of
      C. Oberholtz Estates in Tract 7 Portage, the West line of said Lot 10 (the same being
      the West line of said land of Wheeling and Lake Erie Railway Company), the Western
      terminus of Lorain Street (50' wide, public), the West line of Lot 11, said Viall and
      Munson's Allotment of Block 20 Brown, Tract 7 Portage Township (the same being the
      West line of land conveyed to W. Chaffin (Document No. 54620418, Summit County
      Records)), passing over a 5/8" rebar found at the intersection of the centerline of said
      Lorain Street with the Western terminus thereof at a distance of 114.00 feet, passing
      over a capped rebar stamped "5916" found at the Northeast corner of said Lot 11 at a
      distance of 139.00 feet, and also passing over a 3/4" iron pipe found on the West line of
      said Lot 11 at a distance of 186.42 feet, in all a distance of 196.00 feet to a 5/8" capped
      rebar stamped "FINKE 8392" set at the Southeast corner of said Lot 1, Subdivision of C.
      Oberholtz Estates in Tract 7 Portage, reference a capped rebar stamped "5618" found
      North 23°34'59" West a distance of 2.21 feet from said corner;

      Thence North 89°45'18" West, along the South line of said Lot 1 and along the North
      lines of land conveyed to Vernelle McGlumphy, Trustee (Document No. 56238603,
      Summit County Records), land conveyed to Vernelle McGlumphy, Trustee (Document



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      No. 55978855, Summit County Records), land conveyed to Catherine Laverne Rohn
      (Document No. 54128592), land conveyed to Scott M. Heckel (Document No.
      55150423) and land conveyed to Kelley Properties Inc. (Document No. 54194115,
      Summit County Records), a distance of 285.03 feet to a 5/8" capped rebar set at the
      Southwest corner of the remainder of said Lot 1, the same being the Southeastern most
      corner of aforesaid Public Alley (20' wide) (dedicated February 6, 1922), the same also
      being the East line of Jewett Street (40' wide, public);

      Thence North 00°10'11" East, along said West line of the remainder Lot 2, the
      Easternmost line of said Public Alley dedication and also along the East line of said
      Jewett Street, a distance of 20.00 feet to a 5/8" capped rebar stamped "FINKE 8392"
      set at the Southeast corner of aforesaid vacated Jewett Street, the same being a
      Northeastern corner of said Public Alley dedication;

     Thence South 89°02'04" West, along the South llnes of the remainders of aforesaid Lots
     4 and 5, Subdivision of C. Oberholtz Estates in Tract 7 Portage, and with a Northern line
     of said Public Alley dedication, a distance of 456.89 feet to a 5/8" capped rebar set at
     the Southwest corner of the remainder of said Lot 5;

      Thence North 01 °39'32" East, along an Eastern line of said Public Alley dedication and
      with the West line of the remainder of said Lot 5, a distance of 302.23 feet to the POINT
      OF BEGINNING.

      Containing 179,071 square feet, or 4.1109 acres of land, more or less, as surveyed in
      December of 2017 by Timothy A. Finke, PS, Ohio Registered Professional Land
      Surveyor No. 8392, for and on behalf of Avalon Land Surveying LLC, and is subject to
      all legal highways and easements of record.

      The Basis of Bearing for this survey is Grid North of the Ohio State Plane Coordinate
      System, North Zone (FIPS Zone 3401 ), on the North American Datum of 1983(2011 ).
      GPS Observations were used to establish a bearing of South 01 °39'32" West for the
      East line of land shown hereon as being conveyed to Russell Products Co., Inc., per
      Document No. 56281235, Summit County Records.




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                                             Exhibit "C"

                                     Seller Supplied Documents


        Environmental: Phase IESA (November 2009)

        Environmental: Phase I Appendix - EDR Certified Sanborn Map Report (08/26/2009)

        Environmental: Phase I Appendix - EDR Aerials (09/02/2009)

        Environmental: Phase 1 Appendix - City of Akron Building Department Records

        Environmental: Phase I Appendix - Figure 2 - Jewett Site Plan

        Environmental: Phase 1 Appendix - XOM Site Photos

        Commercial Due Diligence Services: Final Survey (03/18/2018)

        Commercial Due Diligence Services: Survey As Measured Description (03/18/2018)

        First American Title Company: Title Commitment (Updated: 04/05/2018)

        Vesting Deed

        Exceptions 10_859_121

        Exceptions 11_1150_592

        Exceptions 12_ 1186_ 328

        Exceptions 13_2540_98

        Plat Book 2, Page 43




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                     EXHIBIT 2




                     EXHIBIT 2

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                    FIRST AMENDMENT OF SALE AND PURCHASE AGREEMENT

               THIS FIRST AMENDMENT OF SALE AND PURCHASE AGREEMENT
       ("'Amendment"), is made lh of this 71h day of February 2020 by and between EXXONMOBIL
       OIL CORPORATION, a New York corporation, fonnerly known as Mobil Oil Corporation
       "Seller··). and PACIFIC COLLECTIVE, LLC, a Delaware limited liability company
       ("'Purchaser .. ) (Seller and Purchaser arc sometimes referred herein, col\ectivcl>, as the "Parties").
       All initially capitalized terms used herein which are not otherwise defined herein shall have the
       meanings ascribed to them in the Sale and Purchase Agreement (as such term is defined below).



                                                   RECITALS


              A.      Seller and Purchaser have entered into that certain Sale and Purchase Agreement
       ("Purchase Agrccmenf'). dated effective as of February 3, 2020, for the sale of the property
       described in the Purchase Agreement (collectively. the '"Propcrtv").

              B.    The Parties desire to amend the Purchase Agreement to modify the Closing Date
       and Review Period and clarify Earnest l\foneyDeposit terms in the Purchase Agreement.

                                                 AGREEMENT:

              NOW. THEREFORE, for valuable consideration, the receipt and sufficiency of which arc
       hereby acknowledged. the Parties agree as follows:

               l.     The Recitals are incorporated herein as tf fully stated.

               '      Paragraph 3 A. oC the Purchase Agreement 1s hereby deleted in Its entirety and .
       replaced with the lollowing. '"As of September 28. 20 I 8. pursuant to the Limited Option to
       Purchase between Seller and Purchaser, dated September 24, 20 l 8. Purchaser deposited with Seller
       the amount 01"$50.000.00 ("Option Deposit .. ), \\b1ch is nonrefundable. but will be applied towards
       tht: Purchase Price at Closing··.

              3.      Paragraph 3.B. of the Purchase Agreement pn)\ ides that Earnest Mone:, is to be
       deposited with the Tttle Company \\ ithin 3 business days of the Effccti\e Date, \Vhich was
       February 3, 2020. Notwithstanding anything to the contrary in the Purchase Agreement, the Parties
       hereby agree that Purchaser's depostl of the Earnest Money by 5 00 pm Puctfic Time un February
       7, 2020 will be considered timely.

              4.      Paragraph 4 of the Purchase Agreement provides that .. Closing \\ill occur nn later
       than November 18. 2019 .. The Effective :)ate of the Purchast! Agreement is Fcbrnar) 3. 2020.
       which is after the prescribed Closing Date. Paragraph 18 of the Purchase Agreement further
       provides "Time is of the essence to both Seller and Purchaser . .The parties have agreed that strict
       compliance by both of them is required as to all dates and time periods set out herein ... Gi,en that

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        time is of the essence, the parties hereby amend the Closing Date to be no later than March 31,
        2020_

                5.      Paragraph 11 of the Purchase Agreement provides for a Review Period of90 days,
        however given the original Closing Date and time being of the essence, the Purchaser hereby
        agrees to waive the Review Period. Purchaser acknowledges and agrees that it was able to conduct
        desired due diligence activities prior to the Effective Date.

               6.    All capitalized terms in this Amendment will have the meaning set forth in the
        Purchase Agreement.

               7.       Except as expressly amended and modified under this Amendment, the Parties
        hereby ratify and affirm the terms and provisions of the Purchase Agreement in their entirety.

                8.     This Amendment may be' executed in counterparts, including facsimile
        counterparts, each of which will be deemed an original document, but all of which will constitute
        a single document.

                 IN WITNESS WHEREOF, the Parties have executed this Amendment as of the day and
        year first above written.




         PURCHASER:                                      PACIFIC COLLECTIVE, LLC
                                                                vO 1 /-,
                                                         By: <1.rr"-u-   _,.L....-/

                                                         Namc:Rahul 'Paliwal
                                                         Title: Managing Director


         SELLER:                                         EXXONMOBIL OIL CORPORATION


                                                         Name: Maria
                                                         Title: Agent,




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                     EXHIBIT 3




                     EXHIBIT 3

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    Buchalter                                                                              1000 Wilshire Boulevard
                                                                                           Suite 1500
                                                                                           Los Angeles, CA 90017
                                                                                           213.891.0700 Phone
                                                                                           213.896.0400 Fax
                                                                                           File Number: P0339-0002
                                                                                           213.891.5029 Direct
     March 30, 2020                                                                        ggreen@buchalter.com




     VIA FEDEX AND E-MAIL (BRIAN.STEELMAN@EXXONMOBIL.COM;
     ANNETTE@MOOREENVIROLAW.COM)

     Brian Steelman
     Commercial Portfolio Manager
     Exxon Mobil Corporation
     22777 Springwoods Village Parkway,
     W3.2b.481
     Spring, TX 77389

     Annette Moore
     Counsel
     Exxon Mobil Corporation
     P.O. Box 812
     Kittredge, Colorado 80457

              Re:    SALE AND PURCHASE AGREEMENT (the "Agreement") dated February 3,
                     2020, by and between EXXONMOBIL OIL CORPORATION, a New York
                     Corporation f/k/a Mobil Oil Corporation ("Seller") and PACIFIC COLLECTIVE,
                     LLC, a Delaware limited liability company ("Buyer").

     Dear Mr. Steelman and Ms. Moore:

            This firm represents Buyer in connection with the purchase of the property (the
     "Property") contemplated by the Agreement. Pursuant to the Agreement, the close of escrow is
     currently scheduled for March 31, 2020 (the "Closing").

              Section 38 of the Agreement states:

                            "The deadline for performance of any obligation of a party
                     here under shall be automatically extended one day such
                     performance is delayed on account of force majeure, which as used
                     herein means acts of God, strikes, lockouts, sit-downs, material or


                                                                                              buchalter.com
                                                                                              Los Angeles
                                                                                              Napa Valley
                                                                                              Orange County
                                                                                              Portland
                                                                                              Sacramento
                                                                                              San Diego
                                                                                              San Francisco
                                                                                              Scottsdale
                                                                                              Seattle
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     Brian Steelman
     Annette Moore
     March 30, 2020
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                     labor restrictions, earthquakes, fires, storms, acts of the public
                     enemy, acts of terrorism, wars, insurrections, defaults by the other
                     party and any other cause not reasonably within the control of the
                     party whose performance is delayed by force majeure and which,
                     by the exercise of due diligence, the claiming party is unable,
                     wholly or in part, to prevent or overcome."

              The ongoing COVID-19 pandemic is a force majeure that prevents Buyer from meeting
     its obligations under the Agreement by the Closing. As you are aware, the City of Los Angeles,
     County of Los Angeles, and State of California each issued "Safer at Home" orders on March 19,
     2020. The City of Culver City issued its own "Safer at Home" order on March 20, 2020.
     Among other restrictions, the "Safer at Home" orders (1) require all persons to remain at least 6
     feet away from one another, and (2) close all "Non-Essential Retail Businesses."

             While our client fully intends to proceed with its purchase of the Property, the
     aforementioned orders and restrictions inhibit our client's ability to close escrow while the
     governmental orders and restrictions remain in force. The "Safer at Home" orders will be in
     effect until at least April 19, 2020, a minimum period of thirty-one days, unless further extended.
     Unfortunately, the "Safer at Home" orders are expected to remain in effect for an unknown
     additional period of time.

             Because Buyer is unable to proceed with the Closing while the "Safer at Home" orders
     remain in effect, we are hereby providing notice on behalf of Buyer that, pursuant to Section 38
     of the Agreement, Buyer extends the Closing one day for each day any applicable "Safer at
     Home" order remains in effect. Accordingly, as of the date of this letter, the Closing can occur
     no sooner than May 1, 2020.

                                                  Respectfully,

                                                  BUCHALTER
                                                  A Professional Corporation




                                                  Gabriel G. Green
                                                  Shareholder
     GG:dlb




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     Brian Steelman
     Annette Moore
     March 30, 2020
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     cc:     Sharon P. Mork




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                     EXHIBIT4




                     EXHIBIT4

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                                                                            Annette M. Moore
                                                                            Counsel
                                                                            Moore Environmental Law Group, LLC
                                                                            P.O. Box 812
                                                                            Kittredge, CO 80457

                                                                            T 303-670-3683
                                                                            annette(a,mooreenvirolaw.com




        March 31, 2020


        VIA ELECTRONIC MAIL


        Pacific Collective, LLC
        Attention: Rahul Paliwal
        1507 7th Street #201
        Santa Monica, California 90401
        Email: rp@pacificcollective.com

        Mr. Gabriel Green
        Buchalter
        1000 Wilshire Boulevard
        Suite 1500
        Los Angeles, CA 9001 7
        Email: ggreen@buchalter.com


        SUBJECT: Sale and Purchase Agreement, dated February 3, 2020
        ("Agreement"), by and between ExxonMobil Oil Corporation ("Seller") and Pacific
        Collective, LLC ("Purchaser"); Response to Purchaser's Notice of delay of closing,
        dated March 30, 2020.

        Dear Mr. Paliwal and Mr. Green:

                Seller is in receipt of Purchaser's Notice of delay of closing, dated March 30,
        2020 ("Purchaser's Notice"). In the Notice, Purchaser invokes the Force Majeure clause
        in Section 18 of the Agreement citing "Safer at Home" orders issued in connection with
        COVID-19 as a force majeure that prevents Closing from occurring before May 1, 2020.

                Purchaser's Notice references the "Safer at Home" Orders issued on March 19,
        2020 by the City and County of Los Angeles and the State of California and on March
        20, 2020 by the City of Culver City as precluding the Purchaser from fulfilling its
        obligation under the Agreement to close on March 31, 2020.




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                The County of Los Angeles "Safer at Home" Order requires "all businesses to
        cease in-person operations and close to the public, unless the business is defined as an
        Essential Business by this Order." The City of Culver City "Safer at Home" order
        incorporates by reference the City of Los Angeles' "Safer at Home" order, which requires
        businesses to "cease operations that require in-person attendance by workers at a
        workplace ... To the extent that business operations may be maintained by telecommuting
        or other remote means, while allowing all individuals to maintain shelter in their
        residences, this order shall not apply to limit such business activities." Both Cities of
        Culver City and Los Angeles and County of Los Angeles "Safer at Home" Orders further
        provide that the following are "Essential Businesses" that are exempt from the Orders to
        cease in-person operations: "Banks, Credit Unions, financial institutions, and insurance
        companies; and businesses providing mailing and shipping services, including post office
        boxes". In addition, the County of Los Angeles "Safer at Home" Order includes "the
        permitting, inspection, construction, transfer and recording of ownership of housing,
        including residential and commercial real estate and anything incidental thereto." At this
        time, all of the "Safer at Home" Orders expire on April 19, 2020.

                While Purchaser's business is not an "Essential Business" under the "Safer at
        Home" Orders, it is allowed to continue business operations and the services required to
        close the transaction are "Essential Businesses" and functional at this time. These are the
        same circumstances in which Seller is operating, and Seller remains willing and prepared
        to close this transaction. The Title Company has also confirmed that, at this time, it is
        able to close the transaction. There are no other conditions to closing that exist in the
        Agreement that cannot be met.

               At this time, the "Safer at Home" Orders do not prevent or prohibit Purchaser's
        performance of its obligations under the Agreement nor do they prevent or prohibit
        Closing. Therefore, Seller rejects Purchaser's assertion that it is unable to perform due to
        a force majeure event and demands Purchaser perform its obligations as stated in the
        Agreement and First Amendment to Sale and Purchase Agreement.

                Throughout the almost two-year timeline of this transaction, including Limited
        Option to Purchase and amendments thereto, and negotiation, execution and amendment
        of the Agreement, Seller has acted in good faith and adjusted Earnest Money amounts
        and extended the Closing Date to accommodate Purchaser's inability to meet Earnest
        Money amounts and Closing dates. The First Amendment to Sale and Purchase
        Agreement, dated February 3, 2020, provides for a Closing Date of March 31, 2020. The
        Agreement further provides that "Time is of the Essence" and all deadlines for
        obligations are to be strictly observed. If Purchaser cannot close on the transaction as
        provided in the First Amendment to Sale and Purchase Agreement, Seller will terminate
        the Agreement as is its right pursuant to the Agreement.




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        Please contact me should you desire to discuss this matter further.



        Regards,




        Annette M. Moore




        Cc:      File
                 B. Steelman, ExxonMobil Environmental and Property Solutions Company
                 S. Mork, First American Title Company




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                     EXHIBIT 5




                     EXHIBIT 5

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                                                                                          1000 Wilshire Boulevard
                                                                                          Suite 1500
                                                                                          Los Angeles, CA 90017
                                                                                          213.891.0700 Phone
                                                                                          213.896.0400 Fax
                                                                                          File Number: P0339-0002
                                                                                          213.891.5029 Direct
April 2, 2020                                                                             ggreen@buchalter.com




VIA FEDEX AND E-MAIL (BRIAN.STEELMAN@EXXONMOBIL.COM;
ANNETTE@MOOREENVIROLAW.COM)

Brian Steelman
Commercial Portfolio Manager
Exxon Mobil Corporation
22777 Springwoods Village Parkway,
W3.2b.481
Spring, TX 77389

Annette Moore
Counsel
Exxon Mobil Corporation
P.O. Box 812
Kittredge, Colorado 80457

        Re:     SALE AND PURCHASE AGREEMENT (the "Agreement") dated February 3,
                2020, by and between EXXONMOBIL OIL CORPORATION, a New York
                Corporation f/k/a Mobil Oil Corporation ("Seller") and PACIFIC COLLECTIVE,
                LLC, a Delaware limited liability company ("Purchaser"); Response to Seller’s
                letter dated March 31, 2020 (“Seller’s Response”)

Dear Ms. Moore:

        Seller has received the Response to Purchaser’s Notice, dated March 31, 2020. Purchaser
reaffirms that a force majeure event is ongoing. Accordingly, Purchaser properly extended the
closing to no sooner than May 1, 2020, as permitted under Section 38 of the Agreement.

        The substantial and disruptive impact of the COVID-19 pandemic is not just limited to
closure of non-essential businesses, whether non-essential businesses are permitted to carry out
their business activities, or the ability of title companies to record deeds and issue title insurance.
The COVID-19 pandemic, including but not limited to the “Safer at Home” orders have created a
pervasive environment of uncertainty, delay, and disruptive that prevented Purchase from closing




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Annette Moore
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on March 31, 2020 and continues to prevent the Closing from occurring while the COVID-19
pandemic and the specifically referenced “Safer at Home” orders remain in force.

       We understand that you are out of state and, thus, may not be aware of the significant
impact that the COVID-19 pandemic is causing to California residents, our economy, and our
governmental system. Indeed, the day before the targeted March 31, 2020 closing date, the
Chief Justice of California’s Supreme Court and Chair of the Judicial Council, the Honorable
Tani G. Cantil-Sakauye, issued a Statewide Emergency Order significantly limiting almost all of
California Courts for a temporary period while the United States deals with this unprecedented
pandemic. A copy of the Honorable Judge Cantil-Sakauye’s Emergency Order is enclosed for
your reference.

        As the closing was properly extended pursuant to the terms of the Agreement, the
Agreement remains in effect. Seller has no grounds to terminate the Agreement. Seller’s
threatened improper termination of the Agreement constitutes an anticipatory breach of the
Agreement and if Seller attempts to prematurely terminate the Agreement, Purchaser will take
whatever legal actions it deems necessary to protect its rights. Seller is on notice of Purchaser’s
exercise of its right to extend the Closing based on the mutually beneficial force majeure clause
that the Purchaser and Seller bargained to include in the Agreement.

        Your accusations regarding the parties’ interaction over the past two years are inaccurate
and not well taken. As your client well knows, Purchaser has earnestly pursued the Closing in
good faith throughout its nearly two year relationship with Seller. We note that Purchaser has
endured several response lag times of several months as well as further delays due to changes in
Seller personnel, which taken together pushed the original scheduled Closing into this force
majeure event. If either side is to be faulted for any prior delays in the transaction, it is the Seller
that bears the primary blame.

       Notwithstanding the foregoing and despite the on-going force majeure issues created by
the COVID-19 pandemic, Purchaser remains open to discussing a solution with Seller that will
address all parties’ concerns while we all deal with this pandemic. I would invite a call among
counsel and our respective clients to discuss these issues and a potential solution. Please let me
know by 5PM Pacific Time on April 2, 2020 if Seller is willing to engage in further discussions.

        Nothing herein is intended to be a complete recitation of Pacific Collective’s factual or
legal contentions. All rights are reserved, none are waived




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Brian Steelman
Annette Moore
April 2, 2020
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                                  Respectfully,

                                  BUCHALTER
                                  A Professional Corporation




                                  Gabriel G. Green
                                  Shareholder
GG:dlb

cc:      Sharon P. Mork




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                   EXHIBIT 6




                   EXHIBIT 6

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                                   #:110


                                                                             Annette M. Moore
                                                                             Counsel
                                                                             Moore Environmental Law Group, LLC
                                                                             P.O. Box 812
                                                                             Kittredge, CO 80457

                                                                             T 303-670-3683
                                                                             annette@mooreenvirolaw.com




      April 3, 2020


      VIA ELECTRONIC MAIL


      Pacific Collective, LLC
      Attention: Rahul Paliwal
      1507 7th Street #201
      Santa Monica, California 90401
      Email: rp@pacificcollective.com

      Mr. Gabriel Green
      Buchalter
      1000 Wilshire Boulevard
      Suite 1500
      Los Angeles, CA 90017
      Email: ggreen@buchalter.com


      SUBJECT: Sale and Purchase Agreement, dated February 3, 2020
      ("Agreement"), by and between ExxonMobil Oil Corporation ("Seller") and Pacific
      Collective, LLC ("Purchaser"), as amended by First Amendment to Sale and
      Purchase Agreement, dated February 7, 2020; SELLER'S NOTICE OF
      TERMINATION

      Dear Mr. Paliwal and Mr. Green:

              This Notice serves as Seller's termination of the Agreement pursuant to Section
      16 of the Agreement. Purchaser failed to meet the obligations of the Agreement and close
      the transaction on March 31, 2020. Therefore, as is Seller's right under the Agreement, it
      is terminating the Agreement and retaining the Earnest Money. Upon this Notice of
      Termination; Seller and Purchaser no longer have any rights or obligations under the
      Agreement.

               Seller understands that Purchaser was unable to close the transaction due to the
      loss of its tenant and financing. Seller further understands that the tenant withdrew from
      its lease prior to the "Safer at Home" Orders referenced in Purchaser's Notice and letter.

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      As communicated in its letter of March 31, 2020, Seller does not accept the "Safer at
      Home" Orders as a force majeure event under the Agreement as none of these Orders
      prevented or prohibited the Closing from occurring.


      Regards,




      Annette M. Moore




      Cc:      File
               B. Steelman, ExxonMobil Environmental and Property Solutions Company
               S. Mork, First American Title Company




      Seller's Notice of Termination
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